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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION


  THE STATE OF TEXAS, et al.,                   §
                                                §
         Plaintiffs,                            §
  v.                                            §        Civil Action No. 4:20-cv-00957-SDJ
                                                §
  GOOGLE LLC,                                   §
                                                §
         Defendant.                             §



                       DECLARATION OF ROBERT J. McCALLUM

 I, Robert J. McCallum, pursuant to 28 U.
                                       U.S.C.
                                          S.C. § 1746, hereby declare as follows:


        1.      I am Of Counsel at Freshfields Bruckhaus Deringer US LLP, which represents

 Defendant Google LLC ("Google")
                      (“Google”) in the above-captioned case.


        2.      I am an attorney admitted to practice in the State of New York and in the United

 States District Courts for the
                            the Southern District of New York and the Eastern District of New

 York. I have been admitted to appear pro
                                      pro hac vice in the above-captioned case.


        3.      I respectfully submit this Declaration in support of Google’s
                                                                     Google's Motion to Dismiss

 Plaintiffs’ Fourth Amended Complaint ("FAC"),
 Plaintiffs'                          (“FAC”), dated February 8, 2024.


        4.      Attached as Exhibit A to this Declaration is a true and correct copy of the March

 5, 2015 Digiday news article titled
                              titled "Google
                                     “Google sweetens deal
                                                      deal for publishers with dynamic price

 floors”
 floors" referenced by Plaintiffs. FAC 11535.
                                       ¶ 535.




                                                 1
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        5.        Attached as Exhibit B to this Declaration is a true and correct copy of a May 12,

       GoogleBlog
 2016 Google  Blog Post
                    Post titled
                          titled "Smarter
                                  “Smarter Optimizations
                                           Optimizations toto Support
                                                              Support aa Healthier
                                                                         Healthier Programmatic

 Market” referenced by Plaintiffs. FAC ¶ 536.
 Market"


        6.        Attached as Exhibit C to this Declaration is a true and correct copy of a March 6,

      Google Blog
 2019 Google Blog Post
                   Post titled
                         titled "Simplifying
                                 “Simplifying programmatic:
                                               programmatic: first
                                                              first price
                                                                    price auctions
                                                                          auctions for
                                                                                   for Google Ad

 Manager” referenced by Plaintiffs. FAC ¶ 587.
 Manager"


        7.        Attached as Exhibit D to this Declaration is a true and correct copy of the

 September 2014 article titled "Yield
                               “Yield Optimizations of
                                                    of Display
                                                       Display Advertising with Ad Exchange"
                                                                                   Exchange”

 referenced by Plaintiffs. FAC ¶ 551.


        8.        Attached as Exhibit E to this Declaration is a true and correct copy of a Google

 Privacy Policy from December 19, 2019 referenced by Plaintiffs. FAC ¶¶ 573, 574, 579.


        9.        Attached as Exhibit F to this Declaration is a true and correct copy of a Google

                                  “Learn the basics - How Open Bidding Works"
 Blog Post from April 2020 titled "Learn                               Works” referenced by

 Plaintiffs. FAC ¶ 587.


        10.       Attached as Exhibit G to this Declaration is a true and correct copy of a certified

                Aguadilla Paint
 translation of Aguadilla Paint Ctrs,
                                Ctr., Inc.
                                       Inc. v.v. Standard
                                                 Standard Oil,
                                                          Oil, 2011
                                                               2011 TSPR 194,
                                                                         194, 183
                                                                              183 P.R. Dec. 901,

 932-33 (2011).




                                                   2
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                                  EXHIBIT A
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                                                                                                          floors     PageID #: 5152
                                                                                                                  Digiday




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                                      NEWS            DIGIDAY +        PODCASTS         EVENTS    AWARDS




                                                                          MEDIA




                Google sweetens deal for publishers with dynamic price
                                        floors
                                                        March 5, 2015 • 4 min read • By Digiday
                                                                      




https://digiday.com/media/google-sweetends-deal-publishers-dynamic-price-floors/                                                           1/6
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                                                                                                                  Digiday
   turtix/Shutterstock.com




                Google is testing a new way for publishers to maximize
                their advertising revenue.

                The feature — called a “dynamic price floor” by a
                publishing executive briefed on the plans — would
                automatically change the minimum sell price for ads sold
                through Google’s DoubleClick Ad Exchange (AdX) based
                upon advertiser demand.

                A price floor is the lowest price at which an ad can be sold
                for through an ad exchange (a marketplace in which
                advertisers and publishers buy and sell ad inventory in real
                time). Publishers set price floors to ensure their ad
                inventory fetches at least a certain amount of money in a
                real-time auction. If a publisher sets a price floor of $2, it
                will only accept advertiser bids of $2 or more.

                Dynamic price floors, however, change in real time in order
                to reflect the bid history for a given piece of inventory and
                ensure that it is sold at a price that better reflects its
                market rate. For example, say a publisher routinely sells a
                given ad through an exchange at $5 CPM, but the ad has a
                price floor of $3. Now, say an advertiser that often buys                       MOST READ
                that ad at $5 decides to bid the minimum of $3. With a
                                                                                                01   GAMING & ESPORTS
                regular price floor, the ad would be sold at $3. But a
                                                                                                     Inside the breakdown of EA’s
                dynamic price floor would take an advertiser’s bid history                           revenue share deal for Apex
                                                                                                     Legends esports
                into consideration, pushing the minimum sell price up to
                $4 without the publisher having to change its settings.
                                                                                                02   THE COMMERCE MEDIA ERA

                                                                                                     Commerce media grows more
                In this sense, automating the price floor entry process                              dominant by the year, forcing
                helps publishers as it alleviates concerns that AdX will                             media agencies to keep pace
                                                                                                     with change
                depreciate their ad inventory. Although not as widely
                prevalent now, publishers have long worried that ad                             03   AWARDS

                exchanges — and programmatic ad buying, in general —                                 HARIBO, Twitch, Regeneron
                                                                                                     and WSJ’s The Trust are
                would exert downward pressure on the price of their
                                                                                                     among this year’s Digiday
                advertising.                                                                         Content Marketing Awards
                                                                                                     finalists


                But Google’s dynamic price floor feature comes with a
                caveat, according to industry executives with knowledge of


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                                                                                                                  Digiday
                                                                                                04   THE COMMERCE MEDIA ERA
                the feature: Certain settings within the feature will only be
                                                                                                     How live shopping is shaping
                available to publishers that use Google’s ad server and ad                           the future of retail
                exchange together. And that raises issues of whether
                Google is bundling the two products together so as to                           05   GAMING & ESPORTS

                further its dominance in the ad tech industry.                                       Why five prominent gaming
                                                                                                     influencers are teaming up to
                                                                                                     build the top Fortnite Creative
                Google’s dynamic price floor feature will have three                                 experience
                priority settings — “low,” “medium” and “high” — that will
                allow publishers to determine how aggressively they price
                their inventory, according to those with knowledge of the
                feature. The high setting would push the minimum sell
                price higher than the medium setting would have, for
                instance.

                Google has told publishers that the high and medium
                settings would only be available to those that use its
                exchange and ad server in conjunction, the executives told
                Digiday.


                “I would have grave concerns if the largest and arguably
                most important digital intermediary improperly used its
                market dominance to gain other deals,” Jason Kint, CEO of
                digital publishing trade group Digital Content Next.

                Google disputed that any parts of its product would be
                exclusive to publishers that use both its ad server and ad
                exchange.

                “That description doesn’t match anything in our current
                product suite or future roadmap. We have and are working
                on a number of publisher tools to help maximize revenues,”                      TRENDING IN
                spokeswoman Andrea Faville said in a statement. “For
                example, in DoubleClick for Publishers, we’ve had                               01   GAMING & ESPORTS

                                                                                                     Inside the breakdown of EA’s
                our dynamic allocation feature since 2010, integrated with                           revenue share deal for Apex
                the DoubleClick Ad Exchange. Separately, we’re                                       Legends esports

                experimenting with new ways to improve yield for our
                                                                                                02   THE COMMERCE MEDIA ERA
                publishers on the DoubleClick Ad Exchange, but nothing
                                                                                                     Commerce media grows more
                new has launched.”                                                                   dominant by the year, forcing
                                                                                                     media agencies to keep pace
                                                                                                     with change
                According to the executives briefed by Google, the
                dynamic price floor feature would function similarly to
                                                                                                03   AWARDS
                Google’s “enhanced dynamic allocation,” an ad tech feature
                                                                                                     HARIBO, Twitch, Regeneron
                that caused Google competitors to complain in spring 2013                            and WSJ’s The Trust are

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                                                                                                                  Digiday
                                                                                                    among this year’s Digiday
                to the Federal Trade Commission that Google was abusing
                                                                                                    Content Marketing Awards
                its market power.                                                                   finalists



                With enhanced dynamic allocation, a publisher’s ad server
                selects the highest bid for an ad, even if the publisher had
                previously sold that ad impression directly to an
                advertiser. But enhanced dynamic allocation only works
                with bids that come in through Google’s ad exchange
                instead of selecting the highest bid from across a variety of
                ad exchanges and ad optimization technologies, according
                to a Google customer support page.

                That Google was bundling its ad server, which was
                dominant in the industry, with its ad exchange was enough
                to elicit an FTC probe, according to a May 2013 Wall Street
                Journal report. The FTC raised similar questions again last
                year, but it’s unclear if the two examinations were
                connected.

                Using DFP and AdX together does offer the distinct
                advantage of simplifying the increasingly complex world of
                programmatic advertising.

                “There are advantages to having them coupled, especially
                with programmatic,” Kavata Mbondo, head of
                programmatic solutions at Time Inc., which used both AdX
                and DFP. ““It would be great to have an aggregator of the
                demand aggregators. That would be awesome. … But
                companies don’t work like that.”

                Image courtesy Getty Images



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                                                                                   SIGN UP




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   Digiday+ Research: Nielsen gets boost in NewFronts, upfront cycle —
   but Comscore wins as measurement provider
   Digiday's survey found that Comscore and Nielsen will be the dominant measurement
   providers during this year's NewFronts and upfronts. More than half of publishers said they
   will accommodate Comscore this year, and nearly half said they will accommodate Nielsen.




   NAVIGATING ECONOMIC INSTABILITY

   Gannett’s Q1 earnings report boasts optimism, despite ad declines and
   stagnant subscriptions
   Gannett's CEO Mike Reed is confident that tides will turn for the company as soon as Q2.




   THE COMMERCE MEDIA ERA

   Despite agencies’ investments in data tech, advertiser expectations still
   fall short
   The most insightful customer data sits at the heart of commerce media — but that doesn’t
   mean advertisers always get the insights they’re looking for.




   SPONSORED

   Acquisition, engagement and retention: Using marketing to take on
   streaming’s top challenges
   Sponsored by Wurl Streaming is having its moment in the spotlight. Last year, streaming
   surpassed cable viewing for the first time. Meanwhile, the number of adults accessing
   streaming video platforms has outpaced those with cable or satellite service. With audiences
   continuing to flock to Internet-enabled viewing, the opportunity for streamers and content
   publishers has never […]




   BUSINESS OF TV

   TikTok, Meta, Vevo announce new ad products and planning tools on
   NewFronts’ final day
   TikTok, Meta and Vevo announced new ad products and media planning tools, and Condé
   Nast highlighted its popular live events on the final day of the IAB NewFronts.




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     MEMBER EXCLUSIVE

   Media Briefing: Ad spending is slowing, but it’s a return to ‘normal’
   Publishers' ad revenue was still up on an average of 26% year over year in 2022, but outlook
   for 2023 more so resembles pre-pandemic realities.




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                                   EXHIBIT D
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Yield Optimization of Display Advertising with Ad Exchange
Author(s): Santiago R. Balseiro, Jon Feldman, Vahab Mirrokni and S. Muthukrishnan
Source: Management Science , December 2014, Vol. 60, No. 12 (December 2014), pp. 2886-
2907
Published by: INFORMS

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MANAGEMENT SCIENCE                                                                                                         inrE.
Vol. 60, No. 12, December 2014, pp. 2886--2907
ISSN 0025-1909 (print) I ISSN 1526-5501 (online)                                                   http://dx.doi.org/10.1287 /mnsc.2014.2017
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               Yield Optimi~ation of Display Advertising
                          with Ad Exchange
                                                        Santiago R. Balseiro
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                                                           srb43@duke.edu
                                Jon Feldman, Vahab Mirrokni, S. Muthukrishnan
                                             Google Research, New York, New York 10011
                                    ijonfeld@google.com, mirrokni@google.com, muthu@google.com}



      I t is clear from the growing role of ad exchanges in the real-time sale of advertising slots that Web publishers are
        considering a new alternative to their more traditional reservation-based ad contracts. To make this choice, the
      publisher must trade off, in real-time, the short-term revenue from ad exchange with the long-term benefits of
      delivering good spots to the reservation ads. In this paper we formalize this combined optimization problem as a
      multiobjective stochastic control problem and derive an efficient policy for online ad allocation in settings with
      general joint distribution over placement quality and exchange prices. We prove the asymptotic optimality of this
      policy in terms of any arbitrary trade-off between the quality of delivered reservation ads and revenue from the
      exchange, and we show that our policy approximates any Pareto-optimal point on the quality-versus-revenue
      curve. Experimental results on data derived from real publisher inventory confirm that there are significant
      benefits for publishers if they jointly optimize over both channels.
        Data, as supplemental material, are available at http://dx.doi.org/10.1287/mnsc.2014.2017.
      Keywords: dynamic programming-optimal control; Internet advertising; revenue management
      History: Received August 26, 2011; accepted May 26, 2014, by Dimitris Bertsimas, optimization. Published online
        in Articles in Advance October 17, 2014.



1. Introduction                                                              couple of years. Advertisers may now purchase ad
"Internet display advertising" refers generally to the                       placements through spot markets for the real-time
graphical and video ads that are now ubiquitous on the                       sale of online ad slots, called ad exchanges. Promi-
Web. These types of ads generated approximately 11 bil-                      nent examples of exchanges are Yahoo!'s RightMedia,
lion dollars in the United States in 2012, and analysts                      Microsoft's AdECN, and Google's DoubleClick and
see a clear rising trend (Internet Advertising Bureau                        OpenX. Although exchanges differ in their implementa-
2013). Traditionally, an advertiser would buy display                        tions, in a generic ad exchange (AdX), publishers post
ad placements by negotiating deals directly with a                           an ad slot with a reservation price, advertisers post bids,
publisher (the owner of the webpage) and signing an                          and an auction is run; this happens between the time a
                                                                             user visits a page and the ad is displayed (Muthukrish-
agreement, called a guaranteed contract. These deals
                                                                             nan 2009). Ad exchanges allow advertisers to bid in real
usually take the form of a specific number of ad impres-
                                                                             time and pay only for valuable customers, instead of
sions reserved over a particular time horizon (e.g.,
                                                                             bulk buying impressions and targeting large audiences.
one million impressions over a month). A publisher                              In the presence of AdX, publishers face the multiob-
can make many such deals with different advertisers,                         jective problem of maximizing the overall placement
with potentially sophisticated relationships between the                     quality of the impressions assigned to the reservations
advertisers' targeting criteria. The publisher would then                    together with the total revenue obtained from AdX,
need to assign arriving impressions to the matching                          while complying with contractual obligations. These
reservations so as to maximize the placement quality                         two objectives are potentially conflicting; in the short
of the contracts. Typically, the probability that a user                     term, the publisher might boost the revenue stream
clicks on an ad (known as click-through rate) is used as                     from AdX at the expense of assigning lower-quality
a metric of placement quality.                                               impressions to the advertisers. In the long term, how-
   Guaranteed contracts can suffer in efficiency: Since                      ever, it may be convenient for the publisher to prioritize
slots are booked in advance, both parties cannot react                       theadvertisers in view of attracting future contracts. So
to instantaneous changes in traffic patterns or mar-                         for a given piece of ad inventory, the publisher must
ket conditions. However, this has changed in the last                        quickly decide whether to send the inventory to AdX
                                                                      2886



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Balseiro et al.: Yield Optimization with Ad Exchange
Management Science 60(12), pp. 2886-2907, ©2014 INFORMS                                                                                     2887

(and at what price), or to assign it to an advertiser                       Table 1      Comparison of the Display Ad and Network Revenue
with a reservation. In this paper, we study the problem                                  Management Problems
faced by the publisher, jointly optimizing over AdX                                                           Network RM            Display Ad
and the reservations.
                                                                            Resources                             Seats            Impressions
1.1. Main Contributions                                                     Edges                              Flight legs          Contracts
The contributions of this paper are as follows:
                                                                            Capacity constraints                   :5                   =
                                                                            Objective                      Maximize revenue     Maximize placement
   First, we bring to bear techniques of revenue man-                                                                                  quality
agement (RM) and model the publisher's problem as a                         Decision                           Accept/reject      Determine best
combination of a capacity allocation problem to handle the                                                  itinerary request    matching contract
guaranteed contracts together with a dynamic pricing                        Spot market/dynamic pricing             No                 Yes
problem to handle the reserve price optimization in the
ad exchange. We tackle the publisher's multiobjective
                                                                            guaranteed contract a bid price (or dual variable),
problem by tal<ing a weighted sum of (i) the revenue
                                                                            which may be interpreted as the opportunity cost of
from AdX and (ii) the placement quality of the contracts,
                                                                            assigning one additional impression to the reservation.
and we show how to construct the Pareto-efficient
frontier of attainable objectives. Using data derived                       When a user arrives, the pricing function quotes a
from real publisher inventory, we show empirically                          reserve price to submit to the exchange that depends
that the Pareto-efficient frontier is highly concave and                    on the opportunity cost of assigning the impression
that there are significant benefits for publishers if they                  to an advertiser (and potentially on the impression's
jointly optimize over both channels.                                        attributes). If no AdX bid exceeds this reserve price, the
   The publisher's problem can be thought of as a                           impression is immediately assigned to the advertiser
parallel-flight network RM problem (see, e.g., Talluri                      whose placement quality exceeds its bid price by the
and van Ryzin 1998) in which users' click probabilities                     largest amount. A salient feature of our policy from the
are requests for itineraries, and advertisers are edges                     managerial standpoint is its simplicity: the publisher
in the network. As in the prototypical RM problem,                          only needs to keep track of a single pricing function
we look for a policy maximizing the ex ante expected                        for the exchange, and one bid price for each contract
revenue, which can be obtained by using dynamic pro-                        that is obtained, in turn, by solving a convex stochastic
gramming (DP). There are three differences, however,                        minimization problem.
with the traditional network RM problem. First, we                             The optimal policy always tests the exchange before
aim to satisfy all contracts, or completely deplete all                     assigning an impression to a guaranteed contract
resources by the end of the horizon. Second, in the                         because the loss of not assigning an impression of
traditional problem, requests are for only one itinerary                    high quality to the reservation can be compensated
(which can be accepted or rejected), whereas in our                         by choosing an adequately high reserve price. This
model each impression can be potentially assigned                           result implicitly hinges upon (i) the absence of a fixed
to any contract and the publisher needs to decide                           cost for accessing the exchange and (ii) the publisher's
to whom to assign the impression based on possi-                            ability to dynamically adjust the reserve price for each
bly correlated placement qualities. Finally, publishers                     impression based on user attributes. In the presence of
in display advertising may submit impressions to a                          a fixed cost, the publisher tests the exchange only if
spot market to increase their revenues, which adds a                        the contract's opportunity cost is less than or equal to
dynamic pricing dimension to the problem. To this end                       a fixed threshold; in the case of static pricing, the pub-
we introduce a general model of targeting based on the                      lisher tests the exchange when the expected revenue
user's attributes that takes into account the potential                     from AdX exceeds the contract's opportunity cost.
correlation between guaranteed contracts' placement                            Third, we introduce a novel probabilistic tie-breaking
quality and exchange's bids. Table 1 summarizes these                       rule to handle the possibility of multiple advertisers
points.                                                                     attaining the maximum bid-price adjusted placement
   Second, because of the so-called "curse of dimen-                        quality. The rule breaks ties by randomizing according
sionality," the optimal policy cannot be computed                           to a fixed probability distribution, which is predeter-
efficiently in most real-world problems; instead we aim                     mined by solving an assignment problem. Combining
for a deterministic approximation in which stochas-                         ideas from combinatorial optimization and convex
tic quantities are replaced by their expected values                        analysis, we show that such a tie-breaking rule always
and quantities are assumed to be continuous (Gallego                        exists (Proposition 2). This tie-breaking rule is a nov-
and van Ryzin 1994). As a result, we derive a prov-                         elty from the bid-price perspective and allows one to
ably good stationary policy that resembles a bid-price                      consider general distributions of placement quality.
control that is extended with a pricing function to                         Numerical experiments confirm that ties are a real
account for AdX (Theorem 1). Our policy assigns each                        concern in practical problems; if the publisher fails to




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                                                                                                 Balseiro et al.: Yield Optimization with Ad Exchange
 2888                                                                                        Management Science 60(12), pp. 2886---2907, ©2014 INFORMS


  take them into account, significant losses in yield can                      the spot market bidders. This line of work is mainly
  be incurred.                                                                 concerned with computing such fair representative
     Fourth, we provide a rigorous bound on the conver-                        bidding strategies for contract-based advertisers. Chen
  gence rate of our policy to the optimal online policy                        (2011) considers the case when the publisher runs
  (Theorem 2).1 Our theoretical analysis captures the mul-                     the exchange, and employing a mechanism design
  ti.objective nature of our problem and shows that any                        approach he characterizes, through dynamic program-
  Pareto-optimal policy can be approximated by a simple                        ming, the optimal dynamic auction for the spot market.
  modified bid-price policy that performs asymptotically                       In this model, both bids from the spot market and the
  close both in terms of AdX revenue and the contract                          total number of impressions are stochastic. We focus,
  quality. The loss of our policy in terms of quality and                      instead, on combined yield optimization and present
  revenue relative to the optimal one converges to zero                        a model and an algorithm taking into account any
  at a rate of O(N-112) where N is the number of impres-                       trade-off between quality delivered to reservation ads
  sions in the horizon. The deterministic approximation                        and revenue from the spot market. Yang et al. (2012)
  is thus suitable when the number of impressions in the                       studied the problem faced by the publisher of allo-
  horizon is large, which fits well in the context of Inter-                   cating between the two markets using multi.objective
  net advertising. From a computational standpoint we                          programming. As in our work, they consider different
  provide an efficient and simple method of computing                          objectives for the publisher, such as minimizing the
  the dual variables that is applicable to large instances                     penalty of underdelivery and maximizing the revenue
 with many contracts.                                                          from the spot market and the representativeness of
     Finally, we numerically compare the performance                           the allocation. However, they employ a deterministic
  of our policy with two alternative heuristics that are                       model with no uncertainty in which future inventory
  common in practice. The first heuristic is a "greedy                         and contracts are nodes in a bipartite graph. Alaei
  policy" that disregards the opportunity cost of capac-                       et al. (2009) proposed a utility model that accounts for
  ity and assigns the impression to the advertiser with                        two types of advertisers: one oriented toward cam-
  maximum placement quality. The second is a "static-                          paigns and seeking to create brand equity, and the
  price policy" that sets a constant reserve price for the                     other oriented toward the spot market and seeking to
  exchange throughout the horizon. Our results on actual                       transform impressions to sales. Here impressions are
 publisher data show that these heuristics significantly                       commodities that can be assigned interchangeably to
• underperform when compared to the optimal policy.                            any advertisers. In this setting they look for offline and
 From a managerial perspective, these results stress the                       online algorithms aiming to maximize the utility of
  importance of pondering the opportunity cost of capac-                       their contracts.
  ity in performing the assignment to the guaranteed                              1.2.2. Revenue Management. Another stream of
  contracts, and of pricing dynamically in the exchange                        relevant work is that of RM. Although RM is typically
  to react to the users' attributes and the value of the                       applied to airlines, car rentals, hotels, and retailing
 reservations.                                                                 (Talluri and van Ryzin 2004), our problem formulation
                                                                               and analysis is inspired by RM techniques. A popular
1.2. Related Work                                                              method for controlling the sale of inventory in revenue
Our works draw on three streams of literature, namely,                         management applications is the use of bid-price con-
that of display advertising with ad exchange, rev-                             trols. These were originally introduced by Simpson
enue management, and online allocation. Rather than                            (1989) and thoroughly analyzed by Talluri and van
attempting to exhaustively survey the literature on                            Ryzin (1998). In this setting, a bid-price control sets a
each area, we focus on the work more closely related                           threshold or bid price for each advertiser, which may
to ours.                                                                       be interpreted as the opportunity cost of assigning one
                                                                               additional impression to the advertiser. This approach
   1.2.1. Display Advertising with Ad Exchange.
                                                                               is standard in the context of revenue maximization,
There has been recent work on display ad allocation
                                                                               e.g., the stochastic knapsack problem by Levi and
with both contract-based advertisers and spot market
                                                                               Radovanovic (2010). From this perspective, our contri-
advertisers. Ghosh et al. (2009) focus on "fair" represen-
                                                                               bution is the inclusion of a spot market, the exchange,
tative bidding strategies in which the publisher bids on
                                                                               as a new sales channel.
behalf of the contract-based advertisers competing with
                                                                                  There is some literature on display advertising from a
                                                                               revenue management angle that focuses exclusively on
1Typically, ad allocation research employs the optimal offline policy in       guaranteed contracts (see, e.g., Araman and Fridgeirs-
hindsight as a benchmark. Although in the absence of the spot market           dottir 2011, Fridgeirsdottir and Najafi 2010, Roels and
the performance of the offline and online policies are asymptotically
equivalent (see, e.g., Talluri and van Ryzin 1998), in the presence of         Fridgeirsdottir 2009, and Turner 2012). These papers,
the spot market this is no longer the case if we assume that the               however, do not consider the spot market. In the related
oracle is aware of bids' realizations.                                         area of TV broadcasting, Araman and Popescu (2010)




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study the allocation of advertising space between for-                       the optimum solution in hindsight, we compare the
ward contracts and the spot market when the planner                          performance of our algorithm with the optimal online
faces supply uncertainty.                                                    policy. In contrast to the online ad allocation literature,
  Finally, in terms of multiobjective optimization in                        our work assumes that the decision-maker maintains
revenue management, Levin et al. (2008) employ a                             probabilistic "priors" on the primitives. (ii) None of
weighted-sum approach to determine, in a dynamic                             the above work considers the simultaneous allocation
pricing setting, the Pareto-efficient frontier between                       of reservations and AdX. In particular, these papers
revenue and the probability that total revenue falls                         do not consider the trade-off between the revenue
below a minimum acceptable level. Phillips (2012)                            from a spot market based on real-time bidding and the
uses a similar approach to determine the efficient                           efficiency of reservation-based allocation. (iii) Previous
frontier between any two goals that are linear in load                       work fails to take into account the possibility of ties
(such as revenue and profits) in a single-leg revenue                        between contracts, which can result in significant yield
management problem.                                                          losses. Our policy explicitly handles ties by introducing
   1.2.3. Online Allocation. Our work is closely                             a novel probabilistic tie-breaking rule. Regarding the
related to online ad allocation problems, including the                      last two points, in §EC.5 of the online appendix (avail-
display ads allocation (DA) problem and the AdWords                          able at http://faculty.fuqua.duke.edu/ ~srb43 /papers/
(AW) problem. In both problems, the publisher must                           adx-alloc-ms-ec.pdf}, we introduce a prior-free policy
assign online impressions to advertisers, optimizing the                     that learns in a nonparametric fashion i~s underlying
efficiency or revenue of the allocation, while respecting                    parameters, and we theoretically analyze the expected
prespecified contracts.                                                      performance of this policy by borrowing tools from
   In the DA problem, advertisers demand a maximum                           statistical learning theory.
number of eligible impressions, and the publisher must
allocate impressions that arrive online to them. Each                        2. Model
impression has a potentially different value for every                      Consider a publisher displaying ads on a webpage.
advertiser. The goal of the publisher is to maximize                        The webpage has a single slot for display ads, and
the value of all the assigned impressions. The adver-                       each user is shown at most one impression per page.
sarial online DA problem was considered in Feldman                          The publisher has signed contracts with A advertisers
et al. (2009), which showed that the problem cannot be                      under which exactly Ca impressions are to be delivered
approximated without exploiting free disposal; using                        to advertiser a e ~, where we denote by~= {l, ... , A}
this property (that advertisers are at worst indifferent                    the set of advertisers. Neither overdelivery nor under-
to receiving more impressions than required by their                        delivery is allowed.
contract), a simple greedy algorithm is half-competitive,                       Although the number of users visiting a webpage is
which is optimal. When the demand of each adver-                            uncertain, publishers usually have fairly good estimates
tiser is large, a (1-1/e)-competitive algorithm exists                      of the total number of expected users that arrive in
(Feldman et al. 2009), and it is tight. The stochastic                      a given horizon. In this model time periods corre-
model of the DA problem is more related to our prob-                        spond to users' arrivals, and we assume that the total
lem. Following a training-based dual algorithm by                           number of users is fixed and equal to N (a random
Devanur and Hayes (2009), training-based (1 - e)-                           number of users can be accommodated in our model
competitive algorithms have been developed for the                          by considering dummy arrivals). Time periods are
DA problem and its generalization to various packing                        indexed backward in time by n = N, ... , 1. Each user is
linear programs (Feldman et al. 2010, Vee et al. 2010,                      identified by a vector of attributes ~ E °U, where °U
Agrawal et al. 2014).                                                       is some finite subset of ~M. The vector of attributes
   In the AW problem, the publisher allocates impres-                       contains information that is relevant to the advertis-
sions resulting from search queries. Here each adver-                       ers' targeting such as (i) the Web address or URL;
tiser has a budget on the total spend instead of a bound                    (ii) keywords related to the content of the webpage;
on the number of impressions. Other than training-                          (iii) the dimension and position of the slot on the page;
based dual algorithms and primal-dual algorithms                            (iv) user's geographical information(i.e., where the user
that get similar bounds as in the DA problem, online                        is located); (v) user's demographics, such as education
adaptive optimization techniques have been applied to                       level, gender, age, and income; (vi) user's device and
online stochastic ad allocation (Tan and Srikant 2012).                     operating system; and (vii) cookie-based behavioral
Such control-based adaptive algorithms achieve asymp-                       information, which allows bidders to track the user's
totic optimality following an updating rule inspired by                     past activity on the Web. We assume that the vectors
the primal-dual algorithms.                                                 of attributes {~}n=l, ... ,N are random, independent, and
   Our work differs from all the above in three main                        identically distributed.
aspects. (i) Instead of using the framework of com-                             Based on the vector of attributes for the impression
petitive analysis and comparing the solution with                           ~, the publisher determines a vector of placement




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qualities Qn = {Qn, a} aesa, where Qn, a is the predicted             Figure 1     Publisher's Decision Tree for a New Impression
quality advertiser a would perceive if assigned the                                             Assign to an advertiser or discard
impression. Qualities lie in some compact space n ~ ~A.
A typical measure of placement quality is the estimated                Impression nth
probability that the user clicks on each ad. In practice,              arrives with                                            Obtain payment
                                                                       quality Q.
such a measure of quality is learned by performing,
for example, a logistic regression based on the vector                                          Submit to AdX
attributes as explanatory variables. Here we abstract                                           withpricep
from the learning problem and assume that the qualities                                                                        Assign to an
are deterministically determined from the impression                                                                           advertiser or
attributes (to simplify the notation we omit this depen-                                                                       discard
                                                                     Note. In the absence of a fixed cost for accessing the exchange, the upper
dence). We do allow, however, for qualities to be jointly
                                                                     branch is never taken because the publisher is always better off testing
distributed across advertisers. This captures the fact               AdX with a sufficiently high price that compensates for the yield loss of not
that advertisers might have similar target criteria, and             assigning the impression.
hence the qualities perceived might be correlated. We
do not impose any further restrictions on the qualities,                Note that proofs of selected statements are presented
other than bounded support. Note that the publisher                  in the main appendix, and the remaining proofs are
observes the realization of the placement quality before             available in the online appendix. Random variables
showing the ad.                                                      are denoted by uppercase letters and realizations by
   We assume that the number of arriving impres-                     their lowercase counterparts. For notational simplicity
sions suffices to satisfy the contracts, or equivalently             we extend the set of advertisers to S'l0 = {0} U Sil by
Laesd Pa:::: 1, where Pa= Ca/N denotes the capacity-to-              including an outside option 0 that represents discarding
impression ratio of an advertiser. An assumption of                  an impression. We set the quality of the outside option
this general model is that any user can potentially be               identically to zero; i.e., Qn,o = 0 for all impressions
assigned to any advertiser. In practice each advertiser              n = l, ... , N. We set Po= 1- Laesa Pa to be the fraction
may be interested in a particular group of user types. It            of impressions that are not assigned to any advertiser
is important to note that this is not a limitation of our            (either accepted by AdX or effectively discarded).
results, but rather a modeling choice; in §5 we show
how to handle targeting criteria by forcing the pub-                 2.1. Objective
lisher to pay a goodwill penalty to the advertisers each             The publisher's problem is to maximize the overall
time an undesired impression is incorrectly assigned.                placement quality of the impressions assigned to the
   Arriving impressions may be assigned to the adver-                advertisers together with the total revenue obtained
tisers, discarded, or auctioned in AdX for profit. In                with AdX while complying with contractual obliga-
a general AdX (Muthukrishnan 2009), the publisher                    tions. These objectives are conflicting, and there exist
contacts the exchange to offer a minimum price for                   potentially many Pareto-optimal solutions. Figure 2
the slot. Additionally, the publisher may submit some                shows the efficient frontier of attainable objectives
partial information about the users visiting the website.            for a given publisher. We attack the multiobjective
User information allows bidders in the exchange to tar-              problem by taking a weighted sum of both objectives:
get more effectively, which may in turn result in higher             at the publisher's disposal is a parameter y::::: 0; by
bids (see, e.g., Milgrom and Weber 1982). Internally the             adjusting this parameter the publisher can construct the
exchange contacts different ad networks, and in turn                 convex hull of the Pareto-efficient frontier of attainable
they return bids for the slot. The exchange determines               revenue from AdX and quality for the advertisers. The
the winning bid among those that exceed the reserve                  aggregated objective is given by
price via a second-price auction and returns a payment                      yield= revenue(AdX) + y • quality(advertisers).
to the publisher. In this case we say that the impression
is accepted, and the publisher is contractually obligated            In §6.2 we study experimentally the impact of the
to display the winning impression. In the case that                  choice of y on both objectives and determine the Pareto
no bid attains the reserve price, no payment is made                 frontier for real publisher data.
and the impression is rejected. We present the formal                  The parameter y can be understood as a trade-off
model of the exchange in §2.2. The entire operation                  between units of quality and units of revenue, and by
above is executed before the page is rendered on the                 picking the right value for 'Y the publisher can balance
user's screen. Thus, in the event that the impression is             these conflicting objectives. A large y (i.e., contracts'
rejected by the exchange, the publisher may still be able            placement quality is more valuable than AdX revenue)
to assign it to some advertiser. Figure 1 summarizes                 gives priority to assigning high-quality impressions
the decisions involved.                                              to the advertisers, whereas a small y (i.e., contracts'




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Figure 2             (Color online) Efficient Frontier of Attainable AdX Revenue and     F(•; u) . Hence, when the publisher discloses some infor-
                     Guaranteed Contract Quality for a Given Publisher                   mation u, the impression is accepted with probability
       1,000                                                                             (w.p.) 1 - F(p; u) = F(p; u).
                                                                                           Suppose the publisher has computed an opportunity
                                                             Pareto-efficient
        900                                                                              cost c for selling this inventory in the exchange; i.e., the
  V,
  ~


  ~ 800
                        \ y= oo
                                           ~
                                                        /        frontier
                                                                                         publisher stands to gain c if the impression is given
                                                                                         to a reservation advertiser. Given opportunity cost
  ·t                                                                                     c ~ 0, the publisher picks the price that maximizes the
   "'> 700
  'O
   ""                                                                                    expected revenue by solving the optimization problem
  .f'
  .;                                                                                     R(c; u) = maxp~o F(p; u)p+F(p; u)c. Changing variables,
  0 600                                                                                  we define r(s; u) = si-1(s; u) to be the expected revenue
                                                                  ♦                      under acceptance probability s and user information u,
                                                     y=0 __,,
        500
                                                                                         and rewrite this as 2
        400                                                                                              R(c; u) = max r(s; u) + (1- s)c.                         (1)
               350           370         390         410          430           450                                    sE [O, 1)
                                          Revenue AdX
Note. The Pareto-optimal solutions are computed by varying the trade-off                 Also, let s*(c; u) be the least maximizer of (1), and
parameter y in the weighted objective.                                                   p*(c; u) = i- 1 (s*(c; u); u) be the price that verifies the
                                                                                         maximum.
                                                                                            ASSUMPTION 1. The expected revenue r(s; u) is contin-
placement quality is less valuable than AdX revenue)
                                                                                         uous in s, concave in s, nonnegative, and bounded and
gives priority to the revenue from AdX. The publisher
                                                                                         satisfies lims-> 0 r(s; u) = 0 for every user information u E U.          0

may even set different trade-off parameters for each
                                                                                         We call a function that satisfies all of the assumptions above
contract.
                                                                                         a regular revenue function.
   When the choice of the trade-off parameter is not
clear, the publisher may impose a lower bound on the                                        These assumptions are common in RM literature
overall quality of the impressions and then maximize                                     (see, e.g., Gallego and van Ryzin 1994). A sufficient
the total revenue from AdX. This may have a more                                         condition for the concavity of the revenue is that bids
natural interpretation for some publishers and might be                                  have increasing failure rates (Lariviere 2006). Regularity
simpler than having to set y. Here the efficient frontier                                implies, among other things, the existence of a null price
provides the maximum attainable revenue for each                                         p (u) such that limp->roo (u)F(p; u)p=0. Additionally, it
                                                                                              00


target quality and the proper r to achieve the quality                                   allows us to characterize the value function R(c; u).
constraint. Alternatively, one can interpret -y as the                                   In §EC.1.1 of the online appendix, we show that the
Lagrange multiplier of the quality of service constraint,                                revenue function remains regular in the presence of
and our problem as the Lagrange relaxation of the                                        multiple bidders in AdX by considering the joint
constrained program. In §EC.1.3 of the online appendix,                                  density of the highest and second-highest bids.
we analyze the implications of this formulation.                                            PROPOSITION 1. Suppose that r is regular revenue func-
                                                                                         tion. Then,Jor fixed user information u we have that R(c; u)
2.2. AdX Model with User Information                                                     is nondecreasing in c, convex in c, and continuous in c and
For ease of exposition, we assume that there is one bid-                                 R(c; u) ~ c. Additionally, R(c; u) - c is nonincreasing in c,
der in the exchange. In §EC.1.1 of the online appendix,                                  s*(c; u) is nonincreasing in c, and p*(c; u) is nondecreasing
we drop this assumption and show that all results                                        in C.
hold under a more general second-price auction with                                         An important consequence of the above is that the
multiple bidders. The publisher submits an impres-                                       maximum revenue expected from submitting an impres-
sion to AdX accompanied by a minimum acceptable                                          sion to AdX is always greater than the opportunity cost.
price, denoted by p ~ 0. The impression is accepted if                                   This should not be surprising, since the publisher can
there is a bid of value p or more, and the publisher                                     pick a price high enough to compensate for the revenue
is paid the minimum price p when the impression is                                       loss of not assigning the impression. Hence, assigning
accepted. In practice, bids from the exchange may be                                     an impression directly to an advertiser (rather than
correlated with the user information disclosed, and                                      first testing the exchange) is never the right decision,
publishers maintain different estimates of the bids'                                     and in Figure 1 the upper branch is never taken.
distribution as a function of the attributes. We assume
that, conditional on the user information u E 'U, bids                                    2 We define the generalized inverse distribution function as f - 1 (s; u) =
are independent across impressions and identically dis-                                   inf(p c: 0: F(p; u) ::: s I to take into account the case where the distribu-
tributed according to a cumulative distributive function                                  tion is not absolutely continuous.




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2.3. Discussion of the Assumptions                                    arrive essentially at random, so one should expect
In the absence of a fixed cost, the optimal policy tests              intertemporal correlation to be weak.
the exchange before assigning the impression to the
contracts. Such a result depends strongly on the pub-
lisher's ability to dynamically adjust the reserve to
                                                                      3. Problem Formulation
                                                                      In this section we start by formulating an optimal
take into account the opportunity cost of "losing" an
                                                                      control policy for yi.eld maximization based on dynamic
impression of high quality to the exchange. If lacking                programming (DP), and then we proceed to discuss
the ability to price dynamically, then the publisher                  the impact on the publisher's problem of positive cor-
would only test the exchange when the expected rev-
                                                                      relation between the placement quality of the contracts
enue from AdX exceeds the contracts' opportunity cost.                and the bids from the exchange.
In §6.3 we numerically study the performance of a
static-price policy that sets a constant reserve price                3.1. Dynamic Programming Formulation
throughout the horizon.                                               Let (n, x) E Z x zA be the state of the system, where
   Publishers usually receive a revenue share of all                  we denoted by n the total number of impressions
impressions sold in the exchange. Under such a revenue-               remaining to arrive, and by x = {xa}ma the number of
sharing scheme, the exchange keeps a fraction a of the                impressions needed to comply with each advertiser's
bidder's payment p, and the publisher receives the                    contract. Let the value function, denoted by ln(x), be
amount (1-a)p for the impression. Our model can                       defined as the optimal expected yield obtainable under
accommodate this scheme by increasing the impres-                     state (n, x). Using the fact that it is optimal to first
sion's opportunity cost to c/(1-a). It is straightforward             test the exchange, we obtain the following Bellman
to show that the publisher's AdX value function is                    equation:
now given by Ra(c; u) = (1- a)R(c/(1- a); u) and the
optimal price is p;(c; u) = p*(c/(1- a); u), where Rand
                                                                          ln(x) = IEun [max{F(p; Un)(p+ ln-1(x))
p* denote the value function and optimal price in the                                   p?:0
case of no revenue sharing, respectively.
   Publishers typically are not charged a fixed cost                                 + (1-F(p; Un))max{yQn
                                                                                                   ae:11
                                                                                                           a+ fn-1(X-1a)}}]
                                                                                                            0       '
each time they access AdX. However, a publisher
may still assign the exchange a fixed cost l > 0 to                            = ln-1 (x)
take into account, for example, the negative effect of
latency in the user experience or the opportunity cost                               +IEun [R(max{yQn
                                                                                               aes4o  ,
                                                                                                        a - dafn_1(x)}; un)], (2)
of capacity when bandwidth is limited. In this case,
the publisher would access the exchange only if the                   where we define la as a vector with a one in entry a and
marginal expected contribution from the exchange                      zero elsewhere, lo= 0, and dafn(x) = ln(x)- ln(X-1a) as
exceeds the fixed cost, that is, R(c; u) - c::: l. In view            the expected marginal yield of one extra impression for
of Proposition 1, the marginal expected contribution                  advertiser a. In (2) the objective accounts for the yield
R(c; u) - c is nonincreasing inc, and one can show                    obtained from attempting to send the impression to
that the publisher accesses the exchange only if the                  AdX. The first term in the outer "maximand" accounts
opportunity cost is less than or equal to the threshold               for the expected revenue from the exchange, and the
c*(i; u) = sup{c: R(c; u)- c::: l}. When the opportunity              second term accounts for the decision of assigning
cost is higher than the threshold, the publisher stands               the impression to a reservation or discarding it (when
to gain little from accessing the exchange and decides                a= 0). In (2) we use the fact that assigning an impres-
to bypass the spot market in the presence of the fixed                sion directly to an advertiser is never the right decision
cost.                                                                 (except in boundary conditions; see below). The pub-
   Two final assumptions of our model, which are per-                 lisher, however, may choose to discard impressions
vasive in the RM literature, are the stationary quality               with low quality after rejection by AdX.
and independence of the user arrival process. The for-                   Our objective is to compute J* = lN(C). Let M be an
mer assumption is not entirely realistic, because traffic             upper bound on the expected yield. 3 The boundary
patterns typically vary through the day. For example,                 conditions are ln(x) = -M for all x such that (s.t.) Xa < 0
an online newspaper may observe a spike of traffic                    for some a E s4, and ln(X) = -M for all n < Lae:11 Xa.
in the mornings from office users and another in the                  Recall that when the contract with an advertiser is
night from home users. Our model can accommodate                      fulfilled, no extra yield is obtained from assigning
nonstationary traffic patterns in a straightforward way               more impressions to that advertiser. This is the case of
by allowing the distributions of placement qualities                  the first boundary condition, which guarantees that
and bids to be time dependent as done in Talluri and
van Ryzin (1998). The latter assumption is not very                   30ne could set, for example, M ~ Nmax{p -yQ}, where p =
                                                                                                                        00 ,              00


restrictive because unique users visiting a website                   maxueuP (u) and Q is an upper bound on the placement quality.
                                                                                00




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advertisers whose contract is fulfilled are excluded from                    maximizing the quality of the impressions assigned and
the assignment. In particular, when x = 0, all remaining                     is similar to the capacity allocation problem in Talluri
impressions are sent to AdX with the yield-maximizing                        and van Ryzin (1998). The secondary problem involves
price p*(O). The second boundary condition guarantees                        maximizing the revenue from AdX by picking a reserve
that contracts are always fulfilled. When LaesA Xa = n,                      for those impressions that are not assigned to any
AdX must be bypassed, and impressions should be                              contract. The publisher prices all remnant impressions
assigned directly to the advertisers. The optimal policy                     according to the revenue maximizing price, collecting in
is described in Policy 1.                                                    the process an expected revenue of (N - LaesA Ca)R(O).
Policy 1 (Optimal Dynamic Programming Policy)                                3.2. Impact of User Attributes
1: Observe state (n, x}, and the vector of                                   Publishers typically disclose some of the user attributes
      attributes Un.                                                         to the exchange, which allows advertisers to bid strate-
2: Determine the vector of placement qualities qn.                           gically based on this information. Similar targeting
3: Let an= argmaxaesA/Yqn,a -Llaln-1(x)}.                                    criteria across both channels can result in positive corre-
4: Submit to AdX with                                                        lation between the placement quality of the contracts
      price p* (-yqn, a. - Lla)n-l (x); Un}.                                 and the bids from the exchange. To obtain some man-
5: if the impression rejected by AdX and an :/- 0 then                       agerial insights on the impact of user information, in
6: Assign to advertiser an.                                                  the remainder of this section we discuss the effect of
7: end if                                                                    correlation on the publisher's joint allocation problem.
                                                                                Positive correlation creates two interdependent
  When the impression is submitted to AdX, the opti-                         effects: a diversification loss effect and a price discrimina-
mal price ponders an opportunity cost of -yqn,a. -                           tion effect. The former is a negative effect. The benefit of
Lla.fn-t (x). This opportunity cost, when positive, is just                  jointly optimizing over both channels is derived, to a
the value of the impression adjusted by the loss of                          great extent, from the publisher's ability to exploit the
potential yield from assigning the impression right now.                     exchange to extract rent from impressions that are less
Note that the two boundary conditions are implicit                           attractive to the guaranteed contracts. This diversifica-
in the optimal policy. This guarantees that the policy                       tion effect is severely undermined when the targeting
complies with the contracts. It is routine to check that                     criteria in both channels are in perfect synchrony, and
the value function ln(x) is finite for all feasible states                   advertisers compete for the same inventory. The latter
and that Policy 1 is optimal for the dynamic program                         is a positive effect. With imperfect knowledge about
in (2). It is worth noting that to implement the optimal                     AdX's bids, the publisher cannot fully extract the AdX
policy one needs to precompute the value function,                           surplus. However, in the presence of correlation, the
which is intractable in most real instances.                                 publisher can exploit the placement quality (or user
   3.1.1. AdX Revenue as Primary Objective. To gain                          attributes) as a covariate to predict bids, adjust the
some insights into the structure of the problem, it is of                    reserve price accordingly, and extract a higher surplus
interest to consider the limiting choices of 'Y = 0 and                      from the exchange.
'Y = oo, which can be understood as the solution of a                           The total contribution of these antagonistic effects is
bilevel approach to the problem.4 In the first case the                      indeterminate, and in some cases the price discrimi-
publisher's primary problem amounts to maximizing                            nation effect may even dominate, resulting in yield
the revenue from AdX subject to the constraint that the                      increasing with correlation. Figure 3 plots the expected
total number of impressions sold in the exchange is                          yield as a function of correlation for a publisher with
less than N - LaesA Ca, which guarantees that there are                      one contract and one bidder in the exchange. Notably,
enough impressions remaining to satisfy the contracts.                       when the publisher prioritizes the contracts ('Y is high),
The resulting primary problem is a traditional one-                          yield decreases with correlation. However, when the
product dynamic pricing problem, as in Gallego and                           publisher assigns a higher priority to the revenue from
van Ryzin (1994). The secondary problem amounts to                           AdX ('Y is low), yield increases with correlation. There
assigning the impressions rejected by the exchange to                        the detrimental consequences of positive correlation on
the contracts so as to maximize placement quality.                           channel diversification are compensated, to some extent,
                                                                             by the publisher's ability to price more effectively in
  3.1.2. Contract Quality as Primary Objective. The                          the exchange by exploiting the user attributes.
limiting case of 'Y = oo corresponds to the publisher's                         As a final remark, there are several reasons why
prioritizing the quality of the impressions assigned to                      the correlation between these channels might not be
contracts. and submitting the remanent inventory to                          perfect. First, publishers usually do not disclose all
AdX. In this case, the primary problem amounts to                            user attributes to the spot market, thus rendering the
                                                                             targeting in the latter coarser. For example, the pub-
4 We thank the associate editor for this suggestion.                         lisher might use registered users' personal information




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Figure 3      (Color online) Publisher's Expected Yield as a Function of the Correlation rq , b for Trade-off Parameters y = 0.1, 1
                                                       y=0.I                                                              y= I


                              2.6                                                         3.30

                              2.4
                                                                                          3.25
                              2.2
                       -0                                                            -0
                       ~ 2.0                                                         ~ 3.20
                       ;,-,
                              1.8
                                                                                          3.15
                              1.6

                              1.4                                                         3.10

                                    0   0.2      0.4           0.6   0.8      1.0                0    0.2           0.4          0.6   0.8   1.0
                                              rq. b (correlation)                                               rq , b (correlation)

Notes. The publisher in consideration has signed one contract with capacity p = 0.6 and has one bidder in the exchange. The distribution of the placement quality
and the bid from the exchange is a bivariate log-normal distribution with means /Lq = µ.b = 1, variances <Ti = <T; = ½, and correlation rq . b· The solid curve denotes
the publisher's yield.


to improve the targeting of guaranteed contracts, but                                 4.1. Formulation of Deterministic Problem
not disclose this information to AdX because of privacy                               We aim for an approximation in which (i) the pol-
concerns. Second, advertisers in the spot market are                                  icy is independent of the history but dependent on
increasingly targeting users based on cookies, which are                              the realization of the vector of attributes un (recall
private bits of information stored in the users' comput-                              that placement qualities are deterministically deter-
ers that allow user behavior on the Web to be tracked.                                mined based on the attributes), (ii) capacity constraints
Cookies are dropped by third-party advertisers when                                   are met in expectation, and (iii) controls are allowed
users visit websites and are accessible only to members                               to randomize. These approximations turn out to be
of that advertising network. Thus, a strong component                                 reasonable when the number of impressions is large.
of spot market bids is based on private information. In                               When an impression arrives, the publisher controls the
§5.3 we empirically explore the correlation between the                               reserve price submitted to AdX and the advertiser to
bids from the exchange and the placement quality and                                  whom the impression is assigned, if rejected by AdX.
show that the dependence is statistically weak.                                       Alternatively, in this formulation we state the controls
                                                                                      in terms of total probabilities, where each control is
                                                                                      a function from the attribute space 'U to [0, 1). Let
4.     Deterministic Approximation                                                    s = {sn( • )ln=l, .. ,N and i =fin(· )ln=l, ... ,N be vectors of
Unfortunately, the state space of the DP in (2) has size                              functions from 'U to IR, such that when the nth impres-
O(NA+ 1), and in most real-world problems the number                                  sion arrives with attributes u the impression is accepted
of impressions in a single horizon can be in the order of                             by AdX with probability sn(u), and with probability
millions. So the DP is not efficiently solvable. We give,                             in,a(u) it is assigned to advertiser a. From these controls,
instead, an approximation in which stochastic quantities                              one can determine the conditional probability of an
are replaced by their expected values, and are assumed                                impression's being assigned to advertiser a given that it
to be continuous. Such deterministic approximation                                    has been rejected by AdX by In,a(u) = in,a(u)/(1-sn(u)),
problems (OAP) are popular in RM (see, e.g., Talluri                                  and the reserve price to be posted in the exchange
and van Ryzin 1998). In our setting, the approximation                                by t- 1 (sn(u); u). When it is clear from the context, we
we make is to enforce contracts to be satisfied only                                  simplify notation by eliminating the dependence on u
in expectation. We formulate the problem based on                                     from the controls.
this assumption and obtain an infinite-dimensional                                       A control is feasible for the OAP if (i) it satisfies the
program. This OAP is solved by considering its dual                                   contractual constraints in expectation, (ii) the individual
problem, which turns out to be a more tractable finite-                               controls are nonnegative, and (iii) for every realization
dimensional convex program. Finally, we wrap a full                                   of the qualities the probabilities sum up to at most one.
stochastic policy around it (one that always meets the                                We denote by '?fa the set of controls for one impression
contracts, not just in expectation) and show that this                                that satisfy the latter two conditions. That is, '?fa=
policy is asymptotically optimal when the number of                                   {(s, E 'U-
                                                                                             i )            l]A+ 1 : LaeAia +s :S 1, s:::: 0,
                                                                                                            [ 0 ,                                 The   i::::   0 j .




impressions and capacity are scaled up proportionally.                                objective of the OAP is to find a sequence of real-valued




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measurable functions that maximize the expected yield                                regard to (w.r.t) v, hence the composite function within
or, equivalently,                                                                    the expectation is convex. Using the fact that expecta-
                                                                                     tion preserves convexity, we obtain that the objective
                                                                                     tf,{v) is convex in v.
                            IE[f, r(sn; Un)+ Y 2>n,aQn,a]                                Next, the dual problem is infv 1/J(v). When the revenue
                              n=l              ae~                                   function is regular, the DAP's objective is concave
                                                                           (3)
                                                                                     and bounded from above. Moreover, the constraints
                     s.t. IE[f, in,a] = Ca,           Va E sti..                     of the primal problem are linear, and the feasible
                              n=l                                                    set <!Jl is convex. Hence, by the Strong Duality Theorem
The first term of the objective accounts for the revenue                             (Luenberger 1969, p. 224), the dual problem attains the
from AdX, while the second accounts for the quality                                  primal objective value, and the dual problem is given
perceived by the advertisers. In order to compute the                                by the following convex stochastic problem:
DAP's optimal solution, we consider its dual problem,
which we derive next.
  4.1.1. Derivation of the Dual Problem to OAP.
To find the dual function, we introduce Lagrange
multipliers v ={valae~ for the capacity constraints (3).                               4.1.2. Deterministic Optimal Control. Once the
The Lagrangian, denoted by ::£{s, i; v), is                                          optimal dual variables v are known, the primal solution
                                                                                     can be constructed from plugging the optimal Lagrange
                                                                                     multipliers into ::£{s, i; v). Following the derivation
      ::£(s, i; v) = IE[f, r(sn; Lin)+ iI:>n,aQn,a                                   of the dual problem, we obtain that the optimal sur-
                       n=l               ae~
                                                                                     vival probability is s*(maxae~0 {yqa -Va}; u). Hence, the
                                                                                     impression has a value of maxae~ol'Yqa - va} for the
                                                                                     publisher, who picks the reserve price that maximizes
                                                                                     revenue given that value. From the optimization over
where we used the fact that Ca= NPa· The dual function,
                                                                                     the assignment controls, we see that an impression is
denoted by tf,(v), is the supremum of the Lagrangian
                                                                                     assigned to an advertiser a only if the contract-adjusted
over the set <!Jl. Thus, we have that
                                                                                     quality yqa - Va is maximized, where the dual variables
tf,( v) = sup ::t(s, i; v)                                                           va act as the bid prices of the guaranteed contracts.
         (sn, in)Ei'i'                                                               Additionally, the impression can be discarded only if
                                                                                     the maximum is not verified by an advertiser (i.e., all
      = N sup IE[r(s; U) + '}' L iaQa - LVa(ia - Pa)]                                contract-adjusted qualities are nonpositive). Finally, the
              (s, i)ei'i'                 ae~            ae~                         resulting control is stationary; that is, the control is
                                                                                     independent of the number of impressions left in the
      = N sup{IE[r(s; U)]                                                            horizon.
               s~0
                                                                                       Note that optimizing the Lagrangian does not specify
          +           sup           IE[L ia(r'Qa - Va}]}+ NL VaPa                    how the impression should be assigned when multiple
              i~O, Lae.s4 ia::1-s     ae~                  ae~                       advertisers attain the maximum. In the case when
                                                                                     the probability of a tie occurring is zero, the problem
      = N suplE[r(s;
           s~0
                     U) + (1-s)max{yQa -val]
                                ae~o                                                 admits a simple solution: assign the impression to
                                                                                     the unique maximizer of yqa -Va. We formalize this
                                                                                     discussion in the following theorem.

                                                                                         THEOREM 1. Suppose that the revenue function is reg-
                                                                                    ular and that there is zero probability of a tie occurring;
                                                                                    i.e., lfD{yQa - Va= yQ~ - v~} = 0 for all distinct a, a' E
where the second equation follows from the fact that                                sti.0 • Then, the optimal controls for the DAP are s(u) =
the objective is separable in the impressions and the                               s*{maxae~o {yqa-Va}; u), and Ia(u) =1{yqa-Va > yqa' -Va,
stationarity of the user attributes, the third from parti-                          Va' E sti. 0 }; that is, the impression is assigned to the unique
tioning the optimization between AdX acceptance and                                 advertiser maximizing the contract-adjusted quality. Fur-
the assignment probability controls, the fourth from                                thermore, the optimal dual variables solve the equations
optimizing over the advertiser assignment controls i,
and the last equation from solving the AdX variational                                  IE[{l - s*(yQa - va; U))
problem. Note that R is convex and nondecreasing in
its first argument and the maximum is convex with                                          -1{yQa - Va> yQa' - v/v a' E sti.o}l = Pa,     Va E sti..




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4.2. The Stochastic Policy                                             contracts are pushed to the background, in sharp
The solution of the OAP suggests a policy for the                      contrast to the current practice of first aiming to fulfill
stochastic control problem, but we must deal with two                  the reservations and then submitting the remnant
technical issues: (i) when more than one advertiser                    inventory to AdX. Our original interpretation is more
maximizes -yqa -Va, we need to decide how to break                     appealing because it does not rely so heavily on the
the tie; and (ii) we are only guaranteed to meet the                   publisher always testing the exchange, which may not
contracts in expectation, whereas we must meet them                    be optimal, for example, in the presence of a fixed cost.
exactly. We defer the first issue until §4.3, where we
give an algorithm for generalizing the controls to the                 4.3.      Handling Ties
case where ties are possible.                                          Theorem 1 assumes that there are no ties between
   We propose a bid-price control extended with a                      advertisers verifying the maximum contract-adjusted
pricing function for AdX given by p*. The policy, which                quality. In this section we show how to construct a
we denote by µ 8 , is defined in Policy 2, wherein we let              primal optimal solution to the OAP and the corre-
v be the optimal solution of (4). Impressions are only                 sponding stochastic policy in the general case (e.g.,
assigned to advertisers with contracts that have yet to                when the distribution of placement quality is discrete
be fulfilled. When all contracts are fulfilled, impres-                or has atoms). Devanur and Hayes (2009) proposed
sions are sent to AdX with the revenue-maximizing                      introducing small random and independent perturba-
price p*(0; un). Moreover, when the total number of                    tions to the qualities, or smoothing the dual problem to
impressions left is equal to the number of impres-                     break ties. We provide an alternate method that directly
sions necessary to fulfill the contracts, the exchange is              attacks ties and provides a randomized tie-breaking
bypassed and all incoming impressions are directly                     rule. Computing the parameters of the tie-breaking rule
assigned to advertisers (no impression is discarded).                  requires solving an assignment problem on a graph
Hence, the stochastic policy µ 8 satisfies the contracts               of size at most 2A. In §6 we argue that, in practice,
for every sample path.                                                 the number of ties is roughly linear in the number of
                                                                       advertisers and the problem is tractable. Additionally,
Policy 2 (Bid-Price Policy with Dynamic Pricing µ 8 )                  by failing to take ties into account, the publisher can
 1: Observe state (n, x), and the vector of                            incur significant losses.
       attributes un-                                                     A modified bid-price solution with tie-breaking for
 2: Determine the vector of placement qualities qn.                    the DAP is defined by a pair (v, p) with v e-lRA the
 3: Let s/1.n = {a E s/1.: Xn,a > Ol be the set of ads yet             vector of dual variables and p: 2-14° ➔ [0, l]A+ 1 the
       to be satisfied.                                                tie-breaking probabilities. For any nonempty subset
 4: if LaE.14 Xn, a < n then                                           S 5:; sl/.0, the tie-breaking probability Pa(S) determines the
 5: Let a:= argmaxaE.14nU{Oj{'Yqn,a - val•                             probability that the impression is assigned to contract
                                                                       a E sl/.0 when the maximum is verified exactly by all
 6: Submit to AdX with price p*(-yqn,a; - Va;; un).
                                                                       the advertisers in S, and the impression is rejected by
 7: if impression rejected by AdX and a: -1- 0 then
                                                                       AdX. In the case that exactly one advertiser verifies
          assign to advertiser a~ else discard.
                                                                       the maximum the tie is a singleton. Given a vector of
 8: else
                                                                       dual variables v E IRA, the tie-breaking probabilities are
 9: Assign to advertiser a~= argmaxaE.14J'Yqn,a - val•
                                                                       obtained by solving the following assignment problem:
10: end if
   The proposed stochastic policy shares some resem-
blance to the optimal dynamic programming policy.                                      L IP>(S-tie)pa(S) =Pa, Va E s/1.,                 (Sa)
The intuition is that, when the number of impressions is                            S<;.140:aES
large, the actual state of the system becomes irrelevant                                       LPAS) = 1,      VS 5:; sl/.0 ,            (Sb)
because Aalm-l (x) is approximately constant (for states                                       aES
in likely trajectories) and equal to Va· In that case both
policies are equivalent.
   The policy can be alternatively interpreted as the                  where we let IP>(S-tie) = IE[(l - s*(maxaE.14o {'YQa - val;
publisher bidding on behalf of the guaranteed contracts                U))t{S = argmaxaE.14o {'YQa -val}] be the probability that
in a sequence of repeated auctions run by the exchange                 the maximum is verified exactly by all the advertisers
as in Ghosh et al. (2009). The pricing function and the                in S, and the impression is rejected by AdX. Equation
bid prices determine a reserve price or "bid" for the                  (Sa) guarantees that contract a is assigned exactly Pa
contracts that takes into account the value of assigning               impressions, and Equation (Sb) guarantees that for
the impression to a reservation together with the option               each tie S the probabilities sum up to one.
value of future opportunities. In this dual interpretation               An important question is whether the previous
the spot market lies in the spotlight and the guaranteed               problem admits a feasible solution. The next result




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proves that the answer is affirmative when the dual                            PROPOSITION 3. For every feasible stochastic policy µ,
variables v are optimal for the dual problem (4), and                       there exists a trade-off parameter 'Y :::: 0 such that Jt :::; /~M
characterizes the optimal solution for the OAP.                             and ft :::; 1g<r>.
   PROPOSITION 2. Suppose that v E ~A is an optimal solu-                      The proof of the previous result is as follows. First,
tion for the dual problem (4). Then, there exists a tie-breaking            we proceed by taking any feasible stochastic control
rule p: 2"0 ➔ [O, l]A+1, solving problem (5). Additionally,                 policy and constructing a feasible solution for the
the optimal solution for the DAP prices in AdX according to                 OAP by taking expectations over the history. Later,
the survival probability s(u) = s*(maxae-14o {yqa -val; u) and,             we exploit the concavity of the objective and apply
if rejected, assigns the impression to contract a with probabil-            Jensen's inequality to show that this new solution
ity Ia(u) =LS5;-14o:aeS Pa(S)l{S =argmaxa'elllo {yqa, - Va,}}.              attains a greater revenue and quality in the OAP. We
   The proof proceeds by casting the problem as a                           conclude by showing that the efficient frontier of
maximum flow problem in a bipartite graph and then                          the OAP is concave, and then invoking a supporting
exploits the optimality conditions of v in the dual                         hyperplane argument to prove that any Pareto point
problem to lower bound every cut in the bipartite graph.                    can be achieved by optimizing a weighted combination
The feasibility of the proposed solution follows from                       of the objectives.
constraints (Sa) and (Sb). To prove optimality it suffices                     The second result (Theorem 2) shows that for any
to show that it attains the dual objective value or that                    trade-off parameter 'Y, the performance of the modified
the proposed solution satisfies the complementary                           bid-price policy derived from the respective optimal
slackness conditions. The latter follows trivially.                         solution of the OAP is asymptotically close, both
   Once the optimal controls are calculated, we construct                   in terms of AdX revenue and contract quality, to
our stochastic policy as follows. When Laelll Xn, a < n                     that predicted by the OAP. In other words, these
we let Sn = arg maxaelllnU{O) {qn, a- Va I be the set of adver-             results imply that the efficient frontier achieved by the
tisers that attain the maximum within advertisers                           proposed heuristic is asymptotically "close" to that
with contracts that have yet to be fulfilled. Now, if                       of the stochastic control problem. In the following,
the impression is rejected by AdX, we assign it to                          let JB<r> = J!<r> + 'Y 1i<r> be the expected yield, J!<r> the
advertiser a E Sn with probability Pa(Sn). Similar correc-                  expected AdX revenue, and 1i<r> the expected contract
tions as before are applied when the total number of                        quality under the stochastic policy µ,B<r>.
impressions left is equal to the number of impressions
necessary to fulfill the contracts.                                           THEOREM 2. Fix the trade-off parameter 'Y. Let K =
                                                                            J(A/(A + 1)) Laelll0 ((1- Pa)IPa). Then, the expected per-
4.4. Asymptotic Analysis                                                   formance of µ,B<r> relative to the objective value of the
In this section we show that the heuristic policy con-                     deterministic approximation is lower bounded
structed from the OAP is asymptotically optimal for the                       (i) in terms of AdX revenue by J!(r> / JJ(r) :::: 1 - K/ JN,
stochastic problem when the number of impressions                             (ii) in terms of contract quality by Jtr> / Jg<r> :::: 1 -
and capacities are scaled up proportionally. To this                        K/J°N, and
end we extend the analysis of Gallego and van Ryzin                           (iii) in terms of yield by JB<r> / J0 <r> :::: 1 - K/ JN.
(1994) and Talluri and van Ryzin (1998) to capture the
multiobjective nature of our problem. We prove that                           Fix the capacity-to-impression ratio of each adver-
any Pareto-optimal policy of the stochastic control can                    tiser, and consider a sequence of problems in which
be approximated by a simple modified bid-price policy                      capacity and impressions are scaled up proportionally
that performs asymptotically close both in terms of the                    according to p. Then the two previous results imply
AdX revenue and contract quality. We prove this result                     that the performance under policy µ,B<r> converges to
in two steps.                                                              the performance of the optimal online policy as N
   The first result (Proposition 3) shows that every                       goes to infinity. In proving the previous bounds, we
policy of the stochastic control problem is Pareto domi-                   look at N*, the first time that any advertiser's contract
nated by a solution to the OAP, which implies that                         is fulfilled or the point is reached where all arriving
the efficient frontier of the stochastic control problem                   impressions need to be assigned to the advertisers.
is dominated by that of the OAP. Because the OAP                           We refer to the time after N* as the leftover regime.
is convex, its efficient frontier is concave, and the                      The first key observation in the proof is that before
publisher can achieve any Pareto-efficient point by                        time N*, the controls of the stoch!1stic policy behave
picking a suitable trade-off parameter 'Y. Let Jt and                      exactly as the optimal deterministic controls, and the
lt be the expected AdX revenue and contract quality                        expected performance of the policy coincides with that
associated with a stochastic policyµ,. Let JJ<r> and /g<r>                 predicted by the OAP. The second key observation
be the expected AdX revenue and contract quality of                        is that the expected number of impressions in the
the OAP for trade-off parameter 'Y :::: 0. We have the                     leftover regime is 0( J°N), and the leftover regime
following result.                                                          has a small impact on the objective. In fact, using a




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Chernoff bound, it is straightforward to show that                                 5.1. Guaranteed Contracts
the probability that the number of impressions in the                              We have thus far assumed that any user could be
leftover regime exceeds a fixed fraction of the total                              potentially assigned to any advertiser. In practice, .
impressions decays exponentially fast.                                             however, advertisers have specific targeting criteria. The
   The policy described in §4.2 is stationary in the sense                         targeting criteria of the guaranteed contracts is based
that it does not react to changes in supply: the dual                              on the URL, the geographic location, and the type of
variables v and the tie-breaking probabilities p are com-                          browser or operating system of the users, and the time
puted at the beginning and remain fixed throughout the                             of the day, and contextual features of webpages. Instead
horizon. (Prices in the exchange, however, are dynami-                             of grouping user types according to their attributes,
cally adjusted to account for the opportunity cost of not
                                                                                   we aggregate user types that match the criteria of the
assigning an impression to a guaranteed contract.) To
                                                                                   same subset of advertisers. This has the advantage of
address this issue, in practice, one would periodically
resolve the deterministic approximation (4). Recently,                             reducing the space of types to a function of the number
Jasin and Kumar (2012) showed that carefully chosen                                of advertisers (which is typically small in practice)
periodic resolving schemes together with probabilistic                             rather then the number of possible types (which is
allocation controls can achieve bounded yield loss                                 potentially large). Hence, a user type is characterized
w.r.t. the optimal online policy. It is worth noting that                          by the subset of advertisers T ~ ;JJ. that are interested in
those results do not directly apply to our setting: they                           it. In the following, we let ?J be the support of the type
consider a network RM problem with discrete choice,                                distribution, and 1r(T) the probability of an arriving
whereas our model deals with jointly distributed (and                              impression being of type T.
possibly continuous) placement qualities and AdX. Nev-                                 The measure of placement quality for a contract is
ertheless, by periodically resolving the OAP, one should                           the predicted click-through rate to each impression,
be able to obtain similar performance guarantees for                               which is learned via a system that uses the impres-
the yield loss of the control.                                                     sion's attributes and features of the ad creative (such
                                                                                   as the text of the ad) as explanatory variables. We
5. Data Model and Estimation                                                       refer the reader to McMahan et al. (2013) for a detailed
In order to study the performance of our algorithm                                 description of the methods employed to predict click-
on display ads, we introduce a data model based on                                 through rates in online advertising. Given a particular
our observation of actual publisher inventory and then                             type T, the predicted quality perceived by the adver-
present data sets from seven anonymous publishers.                                 tisers within the type is modeled by the nonnegative
We selected representative publishers of different size:                           random vector Q(T) = {Qa(T) laeT· Thus, the ex ante
two small publishers with approximately 10 contracts,                              distribution of quality is given by the mixture of the
two large publishers with approximately 100 contracts,                             types' distribution with mixing probabilities 1r(T). All
and three medium-sized publishers in between. The                                  our previous results hold for the mixture distribution.
publishers are mostly online gaming websites and
                                                                                       Even if the total number of impressions suffices to
news websites. The data sets were collected over a
period of one week during March of 2010, and the                                   satisfy the contracts, i.e., Laesd Pa ::: 1, the inventory
number of impressions in each data set ranges from                                 may not be enough to satisfy the contracts' target-
300 thousand to seven million. Additionally, the fraction                          ing criteria. Our algorithm guarantees that the total
of impressions reserved for contracts as given by                                  number of impressions Ca is always respected, yet
Laesd Pa varies across publishers, with two publishers                             some advertisers may be assigned impressions outside
highly constrained, one moderately constrained, and the                            their criteria. If an impression of type T happens to
remainder lowly constrained. Publishers' characteristics                           be assigned to an advertiser a <f. T, the publisher pays
are given in Table 2.                                                              a nonnegative goodwill penalty Ta. These penalties

Table 2     Characteristics of the Different Publishers
                                                          Capacity ratio        Mean                                       Acceptance             Revenue from
Publisher        Contracts (A)         Types (T)          (LPa)(%)              quality        Impressions (N)          prob. (s*(0)) (%)          AdX (R(0))

1                       6                  10                  21                 582             1,500,000                     68                      622
2                      12                   7                  89                  47             2,100,000                    100                      448
3                      17                  13                  43                 820               320,000                     74                    1,883
4                      17                  15                  28                 686               930,000                     76                    1,320
5                      29                  27                  73               1,152             1,800,000                     99                    1,424
6                      98                 173                  28                 542             6,700,000                     75                    2,076
7                     101                 406                  16                 209             7,000,000                     67                    1,378
Note. The mean quality is defined as the expected quality given that the contract matches were averaged over all contracts; that is, Ea Pa IE[O,(T)I T 3 a].




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allow the publisher to prioritize certain reservations,                       in the [O, 1] range as follows. Let {(b1,m, b2,mHm=l, ... ,M
especially when contracts are not feasible. 5                                 be the sampled highest and second-highest bids from
                                                                              the exchange. First, for each point in the grid j, the
5.2. Estimation of Placement Qualities                                        price Pi= p(si) is estimated as the (1- si)th population
Our policy can be applied both in a parametric and                            quantile of the highest bid. Then, using sampled bids,
nonparametric fashion. In the former, a parametric                            we estimate the revenue function w.r.t. to prices at the
model of placement qualities is postulated, the under-                        grid points as
lying parameters are estimated by using sample data,
and the policy's parameters are determined by solving                                                 1 M
problems (4) and (5) with the estimated distribution. In                                r(pj)= M Ll{b1,m2::Pj}max{b2,m,Pj}.           (6)
the latter, problems (4) and (5) are solved directly over                                              m=l
sample data by replacing expectations with sample                             Finally, the revenue function is obtained by composing
averages. In the remainder of the paper we describe                           (6) and p(s). Bids were linearly perturbed by a random
the parametric case, and the nonparametric approach                           factor for confidentiality.
is described in §EC.5 of the online appendix.                                    Table 2 provides the optimal revenue R(O) and accep-
   Given a particular type T, we observe that the                             tance probability s*(O) when the opportunity cost is
predicted quality perceived by the advertisers within a                      zero for the different publishers. The distribution of the
type is approximately log normal. This can be seen                           maximum bid and the resulting optimal revenue func-
in §EC.3 of the online appendix, where the empirical                         tion varies significantly across publishers. Interestingly,
distribution of log quality is graphically represented                       for some publishers the optimal acceptance probability
for all types of publisher 3. We postulate that quality                      in the absence of an opportunity cost is close to one,
follows a multivariate log normal with mean vector /Lr                       and the publisher is better off setting no reserve price
and covariance matrix Ir for the advertisers in the                          at all. For these publishers, the exchange market is
type and takes a value of -T. for advertisers not in                         competitive with highly correlated bids, and the proba-
the type. The total distribution of quality is given by                      bility of not selling the item by setting a reserve price
the mixture of these types' distribution with mixing                         outweighs the benefit of raising the floor price. Figure 4
probabilities '1T(T). Thus, we have that                                     exhibits the estimated AdX survival probability and
                                                                             revenue function for publisher 2, which has a very
      Q ~ lln.N(µ,r, Ir)         for a ET,       w.p. '1T(T).                high optimal acceptance probability, and publisher 7,
              -'Ta               for a f/.T,                                 which has an optimal acceptance probability in the
   Logs were analyzed to estimate the types' frequen-                        high 60s.
cies, and the parameters of the underlying log-normal                            We provide some insight into the dependence struc-
distributions (using maximum likelihood estimation).                         ture between the guaranteed contracts' placement
The parameters for the publishers are available as                           qualities and AdX bids by studying Pearson's correla-
supplemental material at http://dx.doi.org/10.1287 /                         tion between these two quantities over two publishers.
mnsc.2014.2017 (for confidentiality reasons, all place-                      The setup is as follows. First, we aggregate impressions
ment qualities were linearly perturbed by a random                           by ad slot, where ad slot refers to a given position on
factor). Table 2 shows the mean placement quality for                        a publisher's webpage and is defined by the triple
the publishers in the data set, which varies significa-                      l = (position, webpage, publisher). The total number
tively across publishers.                                                    of ad slots L is in the order of thousa11ds. Second,
                                                                             we compute the average value of maximum bids
5.3. Estimation of AdX Bids                                                  and average value of maximum placement qualities
Bidding data from the same period of time were used to                       (predicted click-through rates) over all impressions
estimate the primitives of AdX. With multiple bidders,                       corresponding to each ad slot. Letting M1 be the num-
AdX runs a sealed-bid second-price auction. We analyze                       ber of impressions in ad slot l, the average value of
the first- and second-highest bids for the inventory                         maximum bids for the slot is b1 = (1/ M1) Lmel b1, m, and
submitted to AdX independently of the impression's                           the average value o~ maximum placement quality is
attributes and placement qualities. Sample data are                          q, = (1/M,) Lme1maxaelil{qm,al• Finally, we compute the
used to compute the two primitives of our model: (i) the                     sample correlation coefficient, denoted by rq, b, between
complement of the quantile of the highest bid p(s), and                      the vectors of placement qualities {q1}f=1 and slot bids
(ii) the revenue function r(s). Both functions are esti-                     {b1lf=i· We find that the correlation of these two vectors
mated on a uniform grid {sj}100 of survival probabilities                    is rq,b ~ -2%, and therefore conclude that correlation
                                                                             between the highest bid of an ad slot and the average
5 In §EC.6 of the online appendix, we show that by picking suitably          placement quality is weak. As discussed earlier, this
large penalties the publisher can avoid delivering impressions outside       lack of correlation may be the result of advertisers'
the targeting criteria when contracts are feasible.                          determining their bids in AdX using different signals




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Figure 4          (Color online) Estimated Survival Probability and Revenue Function for AdX from Two Different Publishers
                                                             (a) Publisher 2                                                                          (b) Publisher 7
                                                                                                                                                                                                X 104
                  500           · · · · • • · •. · ·                                                   6,000
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                  400 I_                                                                               5,000
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           UJ                                                                                                        UJ
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                                                                                                       1,000                          .. -,.._ ................ Reserve price .
                                                                                                                            200

                    0
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                                                                       - - - - _:- -                   0                      0
                                                                                                                                           ":--- ~-- -
                                                                                                                                                                      :-    --- - -             0
                        0                   20                 40            60               80     100                          0        20           40           60           80          100
                                               Survival probability (s) (%)                                                                     Survival probability (s) (%)


from the publisher. The usual "lack of correlation                                                                     the stochastic program, respectively (see, e.g., Shapiro
does not imply independence" warning must apply                                                                        et al. 2009).
here, and this finding should not be interpreted as a                                                                      We solve the deterministic SAA problem via a SOM,
statement of independence between these two channels.                                                                  which involves iterating the dual variables by tak-
                                                                                                                       ing steps on the opposite direction of any subgra-
6.     Experimental Results                                                                                            dient of the approximated objective with a proper
In this section we present two numerical experiments                                                                   step size (see, e.g., Boyd and Mutapcic 2008 for a
conducted to study our model. First, we analyze the                                                                    review on the topic). Starting from an initial solution
impact on the publisher's yield of jointly optimizing                                                                  v< 0>, our algorithm computes the new dual variables
over both channels using actual publisher data. Sec-                                                                   using the formula v<k+I) = v<k) - akg(v<kl), where g(v) E
ond, we compare the performance of our policy with                                                                     [RA is a subgradient of the SAA objective at point
those of two popular heuristics. Before discussing the                                                                 v, and ak is the step size. (We employ a constant
experimental results we present an efficient method to                                                                 step-length rule; i.e., ak = a/llg(v<kl)ll 2 .) A subgradi-
compute the dual variables in the presence of large-                                                                   ent of the SAA objective function is readily given by
scale instances.                                                                                                       g(v) ::@:-(1/M) L~= 1(1-s*(yqm,a;,, -Va;,))la;,, +p, where
                                                                                                                       a~, E arg maxae<Ao I yqm, a - Va I is any advertiser achieving
6.1. Solution Method                                                                                                   the maximum in the mth sample.
A difficulty of solving the stochastic optimization prob-                                                                  For a given instance of the problem, the SAA is
lem (4) is that the involved multidimensional integral                                                                 solved on a training set of M = 10,000 samples with
cannot be computed with high accuracy when the                                                                         2,000 iterations of the SOM, which in total take an
publisher has many contracts. We tackle this prob-                                                                     average of two minutes on a personal computer6 . Since
lem by performing a sample average approximation                                                                       both the SAA objective value and gradient can be
(SAA), which relies on approximating the underlying                                                                    computed in O(MA) time, the SOM is able to quickly
stochastic program via sampling, and then solving                                                                      obtain a dual solution. Once a dual solution is obtained,
the approximate problem via a subgradient descent                                                                      we construct the stochastic control policy by solving
method (SOM).                                                                                                          the flow problem described in §4.3. In §EC.7 of the
   The basic idea of the SAA is simple: a random sample                                                                online appendix, we argue that one needs to consider
of placement qualities is generated and the expec-                                                                     at most O(T + A) ties and thus the flow problem has at
tation is approximated by the sample average func-                                                                     most O(TA) variables. A certificate of suboptimality
tion (Shapiro et al. 2009). Let Iqm );;1= 1 be an independent                                                          of the dual solution is established by constructing a
and identically distributed (i.i.d.) sample of M vectors                                                               feasible solution to the primal problem of the SAA, and
of placement qualities, then the SAA is given by                                                                       then invoking weak duality to obtain a lower bound
                                                                                                                       on the optimal value of the dual problem.
       m~n Ml
            z
                                ~ R(max\yq,,,,a - val)+ I:>ava,
                                m=l               a E .,1o                                    aevl
                                                                                                               (7)         One advantage of the SAA is that it provides a
                                                                                                                       nonparametric approach to estimate the dual vari-
which is a nondifferentiable convex minimization prob-                                                                 ables when the distribution of the placement quality
lem. One can show that the optimal solution and
objective value of the SAA problem are consistent esti-                                                                6 The algorithm is implemented in MATLAB 7.11 and executed on a

mators of the optimal solution and objective value of                                                                  Windows PC with an Intel 2.0 GHz CPU and 4 GB of RAM.




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Figure 5        (Color online) Plots, in a Quality vs. Revenue Graph, of the Efficient Frontier for Seven Publishers

                          (a) Publisher 1                                      (b) Publisher 2                                                      (c) Publisher 3
                                                                                                                              1,000
                                                                    65
         900
    _q                                                       0
                                                             ~ 64                                                  & 900
    ]
    O"
         850                                                 :::,
                                                             O"
                                                                                                                       "':,
                                                                                                                       O"

    ·~ 800                                                   ·~ 63                                                     ~       800
     1;l                                                      1;l                                                      1;l
    e~ 750                                                   -~ 62                                                ·e
                                                                                                                   " 700
                                                              >                                                        >
    'O                                                       'O                                                    'O
    <t'. 700                                                 <t'. 61                                               <t'. 600

                500 520 540 560 580 600 620                              60   80   100    120     140   160                                 1,200       1,400            1,600   1,800
                          AdX ' s revenue                                      AdX 's revenue                                                       AdX's revenue

                          (d) Publisher 4                                      (e) Publisher 5                                                      (t) Publisher 6
                                                                                                                                       .       .        .           ..
                                                               1,850
                                                                                                                       . ~t   1, 100                                :
                                                        _q 1,800                                               0        .;=~ v:.1t>                                 •
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    "€                                                  "€ 1,650
    "> 500
    'O                                                   ~ 1,600
                                                        -o                                                     ~
                                                                                                              'O
                                                                                                                               700
    <t'. 400                                            <t'.                                                  <t'.             600
                                                             1,550                                                                                                           y=OJ
                                                                                                                               500..._,..=..........= ........=J........'=-'=......-
                  1,000    1,100     1,200    1,300                                                                                1,500 1,600 1,700 1,800 1,900 2,000
                          AdX 's revenue                                       AdX's revenue                                                        AdX's revenue

                                                                               (g) Publi sher 7




                                                                              AdX 's revenue
Note. The solid curve denotes the performance of the OAP (Jf, Jg) , and the dashed curve denotes the performance of simulated policy (Jf, J!) for the different
choices of y.

is unknown. In order to solve the original stochastic                                quality of the impressions assigned to the advertisers,
minimization problem in practice, first one needs to                                 and the revenue from AdX.
postulate a parametric model for placement quality (as                                  The experiment was conducted as follows. First, we
done in §5) and then to use a sample of data to learn                                set up a grid on the trade-off parameter -y and set
the parameters of the underlying model. The SAA is                                   T = 0. Then, we solve the SAA version of the dual
powerful because it makes no distributional assump-                                  problem via the SOM and determine the optimal dual
tions about the placement qualities, and it directly                                 variables and tie-breaking rule. Finally, we simulate
learns the dual variables by replacing the expectation                               the resulting modified bid-price policy µ, 8 on another
by a sample average function. In §EC.5 of the online                                 sample of 400,000 impressions. We report in Table EC.1
appendix, we theoretically analyze the performance of                                in §EC.4 of the online appendix, the dual objective
an algorithm that learns in a nonparametric fashion                                  value J0 , optimality gap, AdX revenue Jf and contract
the underlying parameters of the policy.                                             quality Jf from the DAP, and AdX revenue J! and
                                                                                     contract quality J! from simulating the bid-price policy
6.2. Impact of AdX                                                                   for different choices of -y and different publishers. The
This first experiment explores the potential benefits                                objectives are normalized by dividing by the number
of introducing AdX by studying the impact of the                                     of impressions in the horizon. In Figure 5 we plot, in a
trade-off parameter -y on both objectives, that is, the                              revenue versus quality graph, the performance of the




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Table 3      Comparison of the Yields of the Optimal Polley with Those of the Greedy and Static-Price Policies for Publisher 3 and Different Choices of y

Policy             'Y         0.001      0.01       0.05        0.1         0.25        0.5                   2.5         5           10         100

Bid-price    Yield (J 8 M)   1,829.4 1,834.9 1,859.2 1,887.9 1,994.2 2,193.7 2,614.6 3,951.1 6,283.9 11,060.4 98,570.7
Greedy       Yield           1,443.1 1,446.6 1,485.4 1,536.7 1,706.8 1,896.2 2,228.1 3,186.2 4,727.9  7,820.8 64,573.5
             Gap(%)           -21.12 -21.16 -20.11    -18.60 -14.41   -13.56 -14.78 -19.36 -24.76      -29.29   -34.49
Static-price Yield           1,459.8 1,468.0 1,504.6 1,550.4 1,687.8 1,916.8 2,374.7 3,747.4 6,057.4 10,857.0 98,527.3
             Gap(%)           -20.21  -19.99 -19.07 -17.88 -15.36 -12.62        -9.18   -5.15   -3.60    -1.84    -0.04


OAP (Jf, Jf) and the simulated policy (JJ, J!) for the                          policy is allowed to adjust the contracts' qualities by
different choices of 'Y ·                                                       choosing optimal bid prices and to assign rejected
   Discussion. Results confirm that the efficient frontier                      impressions to the contracts. In this case the publisher
achieved by the proposed heuristic µ 8 is very close in                         tests the exchange only if the marginal contribution of
relative terms to that of the OAP, and the proposed                             the exchange is positive or alternatively if r(s*(0)):::::
policy is approximately optimal for the stochastic con-                         s*(0)c, where c denotes the maximum contract-adjusted
trol problem as claimed by Theorem 2. Additionally,                             quality.
the tie-breaking rule plays a significant role in the                              Table 3 compares, by simulation, the yield of the
performance of the policy. Running the same experi-                             optimal policy with the yield of the greedy and static-
ments without the tie-breaking rule, we find that the                           price policies for publisher 3 and different choices
publisher can incur losses in yield of up to 20% by                             of -y. 7
failing to take ties into account.                                                 Discussion. Results confirm that the greedy policy
   In Figure 5 we observe that increasing the trade-off                         underperforms in the given instances with losses in
parameter 'Y increases the quality of the impressions                           yield of up to 70%. From a managerial perspective,
assigned to the advertisers, and decreases the revenue                          the suboptimality of the greedy policy stresses the
from AdX. Interestingly, starting from the baseline                             importance of pondering the opportunity cost of capac-
case that disregards AdX ('Y = oo ), we observe that                            ity in performing the assignment of the impressions
the revenue from AdX can be substantially increased                             to the guaranteed contracts. If the publisher fails to
by sacrificing a small fraction of the overall quality                          take into account the opportunity cost of capacity, then
of the impressions assigned. For instance, by strate-                           some contracts are fulfilled early in the horizon and the
gically exploiting the AdX, publisher 1 can increase                            opportunity to assign the top impressions is missed.
AdX revenue by 8% by giving up only 1% quality.                                    The static-price policy tends to underperform when
Conversely, starting from the case that disregards the                          the trade-off parameter '}' is close to zero, that is, when
advertiser's quality ('Y = 0), the publisher can raise                          the publisher strives to maximize the revenue extracted
placement quality by a large amount at the expense of                           from AdX. By failing to dynamically adjust the auctions'
a small decrease in AdX revenue. Alternatively, the
                                                                                reserve price to take into account the opportunity cost
previous analysis can be understood in terms of the
                                                                                of the impression, the publisher can incur losses in
Pareto frontier. The Pareto frontier is highly concave,
                                                                                yield of up to 69%. From a managerial perspective,
relatively horizontally flat around 'Y = oo, and vertically
                                                                                these results show that the ability to dynamically price
flat around 'Y = 0. This explains the huge marginal
                                                                                plays a key role in the joint optimization between the
improvements at the extremes.
                                                                                guaranteed contracts and the spot market. When the
6.3. Comparison with Greedy and                                                 trade-off parameter 'Y is large, the exchange's revenue
       Static-Price Policies                                                    contribution to the yield is negligible, and the static-
This second experiment compares the performance of                              price policy is nearly optimal.
our policy with the following heuristics.
   • The greedy policy disregards the opportunity cost
of capacity and assigns the impression to the advertiser                        7. Extensions and Conclusion
with maximum quality. The policy is allowed to dynam-                           Ad Exchanges are an emerging market for the real-time
ically price and test the exchange before the assignment.                       sale of online ad slots on the Internet. In this work we
Similar corrections to the ones in the original stochastic                      present an approach to help publishers to determine
policy are introduced to guarantee that all contracts                           when and how to access AdX to complement their
are satisfied almost surely. Note that the greedy policy                        contract sales of impressions. In particular, we model
is equivalent to setting the dual variables to Va= 0 in
the bid-price policy.                                                           7Because of space considerations, the results for the remaining
   • The static-price policy prices in the exchange using                       publisher are available in §EC.4 of the online appendix. Results
the optimal reserve p* (0) throughout the horizon. The                          presented here are representative of the other publishers.




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the publishers' problem as a stochastic control program                     Supplemental Material
and derive an asymptotically optimal policy with a                          Supplemental material to this paper is available at http://dx
simple structure: a bid-price control extended with                         .doi.org/10.1287/mnsc.2014.2017.
a pricing function for the exchange. We show, using
data from real inventory, that there are considerable                       Acknowledgments
advantages for publishers from joint optimization                           The authors thank Alessandro Arlotto, Omar Besbes, Awi
over both channels. Publishers may increase their                           Federgruen, Gagan Goel, Ciamac Moallemi, Daryl Pregibon,
                                                                            Ana Radovanovic, Nemo Semret, and Nicolas Stier for helpful
revenue streams without giving away the quality
                                                                            discussions. The authors thank Max Lin and Eric Sodomka
of service of their reservation contracts, which still
                                                                            for helping with the data analysis. The associate editor and
represent a significant portion of their advertising yield.                 two anonymous reviewers helped to improve this paper with
We also hope that our insights here will further the                        their constructive comments.
understanding of ad allocation problems.
   In §EC.1 of the online appendix, we consider a num-                      Appendix. Proofs of Selected Statements
ber of extensions to our model. First, we extend our
                                                                               PROOF OF PROPOSITION 1. In this proof we drop the depen-
model to account for the presence of multiple buyers in                     dence on the user attributes to simplify the notation. First,
AdX. When the slot is sold via a second-price auction                       observe that for all c the objective function of (1) is concave
with reserve price, we provide conditions under which                       and continuous in s, and the feasible set is compact. Hence, by
the revenue function remains regular and argue that                         Weierstrass theorem the set of optimal solutions is nonempty
all our results carry over to this setting. Second, we                      and compact. Thus, both R(c) and s*(c) are well defined.
accommodate for covering constraints, that is, the case                        Second, R(c) ::: c follows from letting s = 0. To see that R(c)
where the number of impressions assigned to each                            is nonincreasing, let c < c', and let s* be the optimal solution
contract should be greater or equal to the capacity.                        under cost c. Then, R(c) = r(s*) + (1-s*)c:::: r(s*) + (1- s*)c'::::
These allow the publisher to exceed contractual targets                     R(c') where the first inequality follows because s•:::: 1, and the
                                                                            second follows because no solution is better than the optimal.
in view of attracting future business, at the expense
                                                                            To see that R(c)-c is nonincreasing, let c' < c, and lets• be the
of reducing the revenue from the exchange. Third,                           optimal solution under cost c. Then, by a similar argument
we consider an alternative formulation in which the                         we get that R(c') - c' ::: r(s*) - s*c' ::: r(s*) - s•c = R(c) - c.
publisher specifies target quality constraints and maxi-                    Convexity follows in a similar way (this is a standard result).
mizes AdX revenues, instead of maximizing a weighted                           Third, observe that the objective function of (1) is jointly
combination of the objectives. Our method can be                            continuous ins and c. Thus, by the maximum theorem R(c)
employed by interpreting the trade-off parameter 'Y as                      is continuous inc, and s*(c) is upper-hemicontinuous.
the Lagrange multiplier of the quality constraints.                            Finally, because r(s) + (1- s)c has decreasing differences in
   Internet advertising, in particular AdX, is likely                       (s, c) and the feasible set is a lattice, by Topkis's theorem
to prove to be a fertile area of research. There are                        s*(c) is nonincreasing in c. The result for p*(c) follows from
                                                                            the fact that t- 1 (s) is nonincreasing ins. □
several promising directions of research stemming
from this work. One intuitive approach to improve                              PROOF OF THEOREM 1. The optimality conditions of v for
the performance of a control, which is appealing for                        problem (4) imply that the directional derivative of «f,(v) along
its simplicity, consists of resolving the deterministic                     any direction is greater than or equal to zero. In particular, for
approximation periodically throughout the horizon.                          each advertiser a E sd, it should be the case that V1.«fr(v)::: 0,
Another problem that needs further study is that of                         and V_1.«fr(v);::: 0. Applying Proposition EC.2 of the online
learning in the case of unknown distributions, which is                     appendix to both directions, together with the fact that there
of great importance given the fast-paced and chang-                         is zero probability of a tie occurring, we get that
ing nature of the Internet. There exists independent
research on online algorithms for capacity allocation
and online pricing for repeated auctions, but none                          and the result follows.     □
on the joint optimization problem. Finally, as more
publishers reach out for AdX, advertisers will have                           PRooF OF PROPOSITION 2. The proof proceeds by contradic-
the opportunity to buy their inventory from either                         tion: we first cast the feasible flow problem as a maximum
market. The existence of two competing channels, the                       flow problem, and then assume that there is no feasible flow.
exchange as a spot market and the reservations as a                        Feasibility would imply the existence of a flow with value
                                                                           l-lP>(0-tie) where IP>(0-tie) = IE[s*(maxaes,0 {-yQ. -v.}; U)).
future market, introduces several interesting research
                                                                           However, since we assume that no such feasible flow exists,
questions. How should publishers price their contracts                     by the max-flow min-cut theorem there should exist a _cut
and allocate their inventory? How should advertisers                       with value strictly less than 1- IP>(0-tie). The contradiction
hedge their campaign between these two markets? We                         arises because the optimality conditions of v for the dual
hope that this work paves the way for further research                     problem (4) imply that the every cut is lower-bounded by
on this important topic.                                                   1- IP>(0-tie).




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   Step l. We first cast the problem of finding a feasible                         Step 2. Now, since no feasible flow exists, by the max-flow
tie-breaking probability as a flow problem. Let Ya(S) =                         min-cut theorem there should be a cut with a value strictly
IP'(S-tie)pa(S) be the total probability, originating from 5-ties,              less than 1 - IP'(0-tie). Let a<;; Sll 0 be the advertiser nodes
of an impression being assigned to advertiser a. We can                         (right-hand side) belonging to the t side of a minimum cut.
interpret Ya(S) as the normalized flow of impressions assigned                  Figure A.l(b) shows the minimum cut. Next we argue that
to the advertiser originating from 5-ties. In terms of Ya(S) as                 subset nodes on the s side verify that Sn a= 0, whereas
decision variables, finding the tie-breaking rule amounts to                    those on the t side verify that Sn a =p 0. First, because the
solving the transportation problem                                              cut has minimum value, there is no arc from a subset node to
                                                                                an advertiser node crossing the cut (those arcs have infinite
                    I: Ya(S) = Pa,
                 S£:ilo:aES
                                            Va E s4,                     (Sa)   capacity). Equivalently, on the s side of the cut, all subset
                                                                                nodes Sr;; s4 0 should verify that Sn a= 0. Second, observe
                          I:       Yo(S) = Pt1,                          (Sb)   that any subset node with Sn a= 0 on the t side of the cut
                       S£Ao: OcS                                                could be moved to the s side of the cut without increasing
                                                                                the value of the cut. Hence, with no loss of generality, we
                LYa(S) = IP'(S-tie),        V5 <;; s4 0 ,                (Sc)
                acS                                                             can assume that all subset nodes on the t side of the cut
                                                                                verify that Sn a =p 0.
                  Ya(S)?:: 0,      Vs r;; :Ao, a Es.                     (Sd)      As a consequence, the only arcs crossing the cut are
                                                                                those from the source to the subsets S n a =p 0, and those
The constraints (Sa) guarantee that for an advertiser a E s4 the
                                                                                from advertisers Sll 0 \a to the sink. The value of this cut is
incoming flow of impressions over all possible ties sums up
                                                                                L s ,;.•no :Sna;1, 0 IP'(S-tie) + Lac:40 \ a Pa· Because the value is strictly
to Pa· Constraint (Sb) imposes that the impressions effectively
                                                                                less than 1 - IP'(0-tie), we get that
discarded are those that are rejected by AdX and not assigned
to an advertiser, where we set P6ff = 1 - IP'(0-tie) - L ac: 4 Pa·                                                       IP'(S-tie) < LPa,                 (9)
The constraints (Sc) guarantee that the outgoing flow of                                                                                aca
impressions originating from a particular tie should sum up
to the actual probability of that tie occurring.                                where we use that L acA Pa+ P6ff = 1 - IP'(0-tie).
   The previous problem can be stated as a feasible flow                           Next, we look at the optimality conditions of v for the
problem in a bipartite graph. We briefly describe how to                        dual problem (4). We distinguish between the case that Ojt a
construct such a graph next. On the left-hand side of the                       and OE a. First suppose that O jt a, and consider the direction
graph we include one node for each nonempty subset S s; s4 0                    -1 0 that has a -1 if a E a and O elsewhere. According to
(the subset nodes), and on the right-hand side we add                           Proposition EC.2 of the online appendix, the directional
one node for each advertiser a E s4 0 (the advertiser nodes).                   derivative of the normalized dual objective «i,(v) = !/f(v) / N
The supply for subset nodes is IP'(S-tie), and the demand                       at vis
for advertiser nodes is Pa· Arcs in the graph represent the
membership relation; i.e., the subset node S and advertiser                      v'_1 f(v) = IP'R{max!yQa -val?:: max l'YQa -val}- LPa
                                                                                     a                     aea                     ae:Ao\a           aea
node a are connected if and only if a ES. Figure A.l(a) shows
the resulting bipartite graph.                                                                           L             IP'(S-tie)-LPa,
   To write the feasible flow problem as a maximum flow                                           s,; ,A0 : Sna;,6 0             aE a

problem, we first add a sources and a sink t. Second, we
                                                                                where we have written the event that the maximum is verified
add one arc from s to each node associated with a nonempty
                                                                                nonexclusively by some advertiser a Ea as all 5-ties in which
subset S s; s4 0 (left-hand side nodes) with capacity IP'(S-tie).
                                                                                some advertiser a E a is involved. The optimality of v implies
Third, we add one arc from each advertiser a E s4 0 (right-hand
                                                                                that the directional derivative along that direction is greater
side nodes) to t with capacity Pa· Lastly, we set the capacity
                                                                                than or equal to zero, contradicting Equation (9).
of arcs from S to a ES to infinity.

Figure A.1   Graphical Representation of the Bipartite Flow Problem Solved to Obtain the Tie-Breaking Rule
               (a) Bipartite flow problem solved to obtain the                   (b) The flow problem in the bipartite graph with
                                tie-breaking rule                                                a minimum cut




                                                            A   - + PA


                       Subset nodes               Advertiser nodes                          Subset nodes                  Advertiser nodes
                       S,;;;;A 0 , S,;0               a E A0                               S,;;;; A 0 , S,e 0                 a E A0




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   When Oe a we consider the direction 1.14\a that has a 1 if                        We denote by Jt = IE[I:~=1 r(s:(Un); Ll.r)] the expected AdX
a ¢ a and O elsewhere. The direction derivative is now                            revenue and by Jt=IE[(l-~(Un))Lae.14I!:,.(Un)Qn,a1 the
                                                                                  expected contract quality for policy µ,.
    V1sf\a ~(v) = -lfl>R{max{1Qa-val > max {'YQa -val}                               Step 2. Next we show that for any admissible policy
                        ae.54\a        aeaU{O}                                    µ, e .A(, there exists a vector of deterministic controls that is
                                                                                  feasible for the DAP, and its performance on the DAP Pareto
                   + L Pa,                                                        dominates its performance in the stochastic framework. Let
                     ae.54\a
                                                                                  s = {sn( •)}~=l and i =!in(• )}~=l be deterministic vectors of
               = -         L          lfl>(S-tie) + L Pa                          controls defined as
                     S£-140: 5£'4\a             ae.54\a
                                                                                                   sn(u) =IE~-.[s:(u) I u] Vu pointwise,
               =       L        lfl>(S-tie)- LPa,
                                              aea                                    ln,a(u) = IE9". [(1- s:(u))If a(u) I u] Vu pointwise, a E S!l,
where in the second equation we have written the event                            where the expectation is taken over the history of the system
that the maximum is verified exclusively by some advertiser                       until n, which is denoted by ':ff n, and is conditional on a
a e a as all S-ties in which only advertisers in a are involved.                  particular realization of u. The resulting controls are indepen-
The third equation follows because S!l\a = S!l0\a since Oea                       dent of the history, and dependent only on the realization of
together with the fact that lfl>(0-tie) + LS£-14o:Sna;,1,0 lfl>(S-tie) +          u and the impression number n. Thus, they fulfill the first
LS£.s4o\a lfl>(S-tie) = 1 and that Lae.14\a Pa + Laea Pa = 1 -                    approximation and are valid deterministic vectors of controls.
lfl>(0-tie). Again, the optimality of v implies that the direc-                      First, for the contract fulfillment constraint we have that
tional cj.erivative along that direction is greater than or equal                 for each advertiser a e S!l
to zero, contradicting Equation (9). □

   PRooF OF PROPOSITION 3. First, we formally define the set
of stochastic control policies. Second, we proceed by taking                                 N                                             N
any feasible stochastic control policy and constructing a                                =   L IE[IE9"n [(1- s:(LJ.i))If a(Un) I Un]]= L IE[tn,a(U)],
feasible solution for the DAP by taking expectations over the                                n=l                                       n=l
history. Exploiting concavity, we show that the performance                       where the first equality follows from taking expectations to
of this new solution Pareto dominates that of the original                        the almost sure contract fulfillment constraint of µ,, the second
control in the stochastic framework. We conclude by showing                       from the tower rule, and the third from substituting s and i
that the efficient frontier of the DAP is concave, and prove                      pointwise for all U and the fact that impressions are i.i.d.
that any Pareto point can be achieved by optimizing a                             Nonnegativity of the controls follows trivially. Additionally,
weighted combination of the objectives.                                           is it not hard to show that Lae.14 ln, a( •) + Sn ( •) :S 1 for all n.
   Step 1. A stochastic control policy maps states of the                         Thus, (s, i) is a feasible deterministic control.
system to control actions (prices and target advertiser), and                        Second, let Jf (s, i) = IE[I:~=1 r(sn(Un); Un)] be the expected
is adapted to the history up to the decision epoch. We restrict                   AdX revenue and Jf(s, i) = IE[Le-14 Qn,.Zn,a(Ll.r)] the expected
our attention to policies that always submit the impression to                    contract quality of the deterministic control (s, i). In terms of
AdX, which were argued to be optimal. As before, we recast                        the revenue we have that
the problem in terms of the survival probability control,                                     N                            N
and the publisher picks the probability that the impression                           It = L IE[r(s:(un); Un)]= L IE[IE9".[r(s:(un); Un) Un]]  I
is accepted. We denote by s:(U) e [O, 1] the target survival                                 n=l
probability under policy µ, at time n when an impression with                                 N
attributes u arrives. Similarly, we let I!:,a(u) e {O, l} indicate                        ::s L IE[r(sn(Ll.r); Ll.r)] = Jf(s, i),
whether the nth impression is assigned to advertiser a or                                    n=l
not when policy µ, is used. In particular, I!:, a(u) =1 indicates                 where the second equality follows from the tower rule and
that the impression should be assigned to the advertiser if                       because Un is measurable w.r.t. the conditional expectation,
rejected by AdX.                                                                  and the inequality follows from applying Jensen's inequality
   We let the binary random variable Xn(s:) indicate whether                      to the concave revenue function. Similarly for the quality we
the nth impression is accepted by AdX or not when policy µ,                       have that
is used. Specifically, Xn(s:) =1 indicates that the impression is
accepted by AdX, and Xn (s:) =0 indicates that the impression
is rejected by AdX. Note that, conditioning on impression's
                                                                                          Jt =     t
                                                                                                   n=l
                                                                                                         IE[(1-s:(un))   L It,a(Un)Qn,a]
                                                                                                                         ae.54
attributes and the history, Xn(~) is a Bernoulli random
variable with success probability ~.                                                          = EIE[E Qn,a1E9".[(1-s:(un))Ifa(Ll.r) I u.r1]
   We denote by JI, the set of admissible policies, i.e., policies
that are nonanticipating, adapting, and feasible. A feasible
policy should satisfy the contractual obligations with each                                   = IE[L Qn,atn,a(Un)] = Jf(s, i).
                                                                                                       ae.14
advertiser, or equivalently L~=l[l - Xn(srn1::.a = Ca in an
almost sure sense. Additionally, the target advertiser controls                     Step 3. Letting (s", f") be a Pareto-optimal point for the
should satisfy that Lae-14 I!:, a ::::: 1, since the impression should            DAP, we would like to show that there exists a trade-off
be assigned to at most one advertiser.                                            parameter 'Y such that this point is the optimal solution of




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the ')'-Weighted DAP. Let rg = {(jA, jc) E u:;f: jA ~ IA(s, i), k ~         {S:}~=I· In the following, let Y/: be the yield from impression
Jc(s, i) for some DAP-feasible (s, i)} be the set of all values             n under policy µ, 8 . Similarly, we denote by Yn the yield from
that are worse than or equal to some achievable objective                   impression n when the deterministic controls are used in
value for the DAP. We first show that the set rg is convex by               an alternate coupled system with no capacity constraints.
proving that for any (jl, j~),    ut    ff;) E & and,\ E (0, 1), the        Because the deterministic controls are time homogeneous,
convex combination A(j1, j~) + (1-A)(ji, If:) lies in the set&.             and the underlying random variables are i.i.d., then the
   Note that there exist DAP-feasible controls (s1 , f') for                random variables {Yn}~=l are i.i.d. too. Note that when n < N*,
k = l, 2 such that ji ~ IA (s1 , f') and j~ ~ Jc(J, f'). Consider           the controls of the stochastic policy µ, 8 behave exactly as
the convex combination of the controls (s, i) given by sn ( •) =            the optimal deterministic controls. Thus, Yn = Y/: for n < N*.
As~(·)+ (1-A)s~( ·) and in,a( ·)=Ai~,.(·)+ (1-A)i~,.( ·) for                Using this fact together with the fact that N* is a stopping
every n = l, ... , N and a E sd. The convex combination is                  time we get that
DAP-feasible; that is, (i) (sn, in) E '!/' because the probability
simplex'!/' is convex, and (ii) l:~=1 IE[in,al = c. for every a E sd
because the capacity constraints and the expectation operator
are linear. For the AdXrevenue we have that
Aj1 +(1-A)ji ~ AJA(; ,f-)+(1-,\)JA(s2,f)                                    where the inequality follows from the nonnegativity of yield,
                   N                                                        and the last equality follows from Wald's equation. Then, we
                = LIE[Ar(s!(Un); Un)+(l-A)r(s~(Un); Un)]                    conclude that J8 /J 0 ~ IEN* /N because NIE Yn = J0 .
                  n=l                                                           Next, we turn to the problem of providing a lower bound
                   N                                                        for IE N*. Before proceeding we make some definitions. We
                ~ LIE[r(As!(Un) +(1-A)s~(Un); Un)]= IA (s, i),              define by Sn, a the number of impressions assigned to adver-
                    n=l                                                     tiser a by time n when following the deterministic controls in
where the second equality follows from Jensen's inequality                  the alternate system with no capacity constraints. As for the
and the concavity of the revenue function. A similar argument               yield, it is the case that sn,a = s:,. for n < N*. We define sn,O
follows for the contract quality and thus the convexity of the              in a similar fashion.
set & holds.                                                                    Let N. = inf{n ~ l: Sn,• = c.) be the time when the contract
   Clearly, the Pareto-optimal point (s*, f') lies at the bound-            of advertiser a E sd is fulfilled, and N0 = inf{n ~ 1: Sn,o = Co)
ary of the set&. Because the set & is convex and nonempty,                  be the point in time where all arriving impressions need to be
by the supporting hyperplane theorem there exists a vector                  assigned to the advertisers. Although these stopping times are
of weights (')'Al ye)# 0 such that ')'AfA(s*, f') + 'Ycfc(s*, f') ~         defined with respect to the stochastic process that follows the
'YAlA (s, i) + 'Ycfc(s, i) for every DAP-feasible control (s, i).           deterministic controls, it is the case that N* ~ minaEs4o {N.}. In
Because the set & is unbounded from below and from the                      the remainder of the proof we study the mean and variance
left, we conclude that ('YA, ye)~ 0. The result follows from                of each stopping time and then conclude with a bound for
setting -y = 'Ycl'YA- The extreme Pareto points corresponding               IE N* based on those central moments.
to y = 0, oo can be achieved as the limits of Pareto points of                  For the case of a E sd, the summands of Sn, a are independent
positive parameters (see, e.g., Boyd and Vandenberghe 2009).                Bernoulli random variables with success probability Pa·
                                                                            The success probability follows from (3). Hence, Na - c. is
   PROOF OF THEOREM 2. We prove the bound for the yield of                  distributed as a negative binomial random variable with c.
the policy. The bounds for the AdX revenue and contract                     successes and success probability Pa· The mean and variance
quality follow mutatis mutandis. In the remainder of the                    are given by IE N. = N, and Var[N.] = N((l - p.)/ p.), where
proof, time periods are indexed forward in time, and we                     we use that Pa = C./ N. Similarly, for the case of a= 0, now
drop the dependence on the fixed trade-off parameter y.                     the summands of Sn, 0 are Bernoulli random variables with
   Let s:, a= 1:7=1(1- X;(sf (U;)))I;,.(U;) be the total number             success probability p0 . Hence, N0 - C0 is distributed as a
of impressions assigned to advertiser a by time n when                      negative binomial random variable with Co successes and
following the stochastic policy µ, 8 . Additionally, we denote              success probability p0 .
bys:= {s:,.JaEs4 the random vector of impressions assigned                      Finally, using the lower bound on the mean of the mini-
to advertisers.                                                             mum of a number of random variables of Aven (1985) we
   To simplify the proof, we let C0 = N - LaEs4 c. be the                   get that
total number of impressions that are not assigned to any
advertiser (accepted by AdX and discarded), and we refer                                                                 A
                                                                                  IEN* = IEmin{N.kminlEN.-              - A1 LVar[N.]
to s:,0 = n - LaEs4 Sn, a as the total number of impressions                              aEs4o   aEs4o                   + aEs4o
not assigned to any advertiser by time n when following
the stochastic policy µ, 8 . Because Co is the total number of
impressions of which we can dispense, when the point is
reached that Sn, 0 = C0, then all remaining impressions need
to be assigned to the advertisers.                                          and the result follows. D
   Let the random time N* = inf{l ~ n ~ N: s:,a =
c. for some a E sd0 } be the first time that any advertiser's
contract is fulfilled or the point is reached where all arriving            References
impressions need to be assigned to the advertisers. Clearly,                Agrawal S, Wang Z, Ye Y (2014) A dynamic near-optimal algorithm
N* is a stopping time with respect to the stochastic process                    for online linear programming. Oper. Res. 62(4):876-890.




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                    This Privacy Policy is meant to help you understand what information we collect, why we
                    collect it, and how you can update, manage, export, and delete your information.


                    Effective December 19, 2019 | Archived versions | Download PDF


                    We build a range of services that help millions of people daily to explore and interact with
                    the world in new ways. Our services include:


                          Google apps, sites, and devices, like Search, YouTube, and Google Home


                          Platforms like the Chrome browser and Android operating system


                          Products that are integrated into third-party apps and sites, like ads and embedded
                          Google Maps


                    You can use our services in a variety of ways to manage your privacy. For example, you
                    can sign up for a Google Account if you want to create and manage content like emails
                    and photos, or see more relevant search results. And you can use many Google services
                    when you’re signed out or without creating an account at all, like searching on Google or
                    watching YouTube videos. You can also choose to browse the web privately using
                    Chrome in Incognito mode. And across our services, you can adjust your privacy settings
                    to control what we collect and how your information is used.


                    To help explain things as clearly as possible, we’ve added examples, explanatory videos,
                    and definitions for key terms. And if you have any questions about this Privacy Policy,
                    you can contact us.


                    INFORMATION GOOGLE COLLECTS



                    We want you to understand the types of information we collect as you use our services


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                    We collect information to provide better services to all our users — from figuring out
                    basic stuff like which language you speak, to more complex things like which ads you’ll
                    find most useful, the people who matter most to you online, or which YouTube videos you
                    might like. The information Google collects, and how that information is used, depends
                    on how you use our services and how you manage your privacy controls.


                    When you’re not signed in to a Google Account, we store the information we collect with
                    unique identifiers tied to the browser, application, or device you’re using. This helps us do
                    things like maintain your language preferences across browsing sessions.


                    When you’re signed in, we also collect information that we store with your Google
                    Account, which we treat as personal information.




                    Things you create or provide to us
                    When you create a Google Account, you provide us with personal information that
                    includes your name and a password. You can also choose to add a phone number or
                    payment information to your account. Even if you aren’t signed in to a Google Account,
                    you might choose to provide us with information — like an email address to receive
                    updates about our services.


                    We also collect the content you create, upload, or receive from others when using our
                    services. This includes things like email you write and receive, photos and videos you
                    save, docs and spreadsheets you create, and comments you make on YouTube videos.




                    Information we collect as you use our services
                    Your apps, browsers & devices

                    We collect information about the apps, browsers, and devices you use to access Google
                    services, which helps us provide features like automatic product updates and dimming
                    your screen if your battery runs low.




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                    The information we collect includes unique identifiers, browser type and settings, device
                    type and settings, operating system, mobile network information including carrier name
                    and phone number, and application version number. We also collect information about
                    the interaction of your apps, browsers, and devices with our services, including IP
                    address, crash reports, system activity, and the date, time, and referrer URL of your
                    request.


                    We collect this information when a Google service on your device contacts our servers —
                    for example, when you install an app from the Play Store or when a service checks for
                    automatic updates. If you’re using an Android device with Google apps, your device
                    periodically contacts Google servers to provide information about your device and
                    connection to our services. This information includes things like your device type, carrier
                    name, crash reports, and which apps you've installed.




                    Your activity

                    We collect information about your activity in our services, which we use to do things like
                    recommend a YouTube video you might like. The activity information we collect may
                    include:


                          Terms you search for


                          Videos you watch


                          Views and interactions with content and ads


                          Voice and audio information when you use audio features


                          Purchase activity


                          People with whom you communicate or share content


                          Activity on third-party sites and apps that use our services


                          Chrome browsing history you’ve synced with your Google Account


                    If you use our services to make and receive calls or send and receive messages, we may
                    collect telephony log information like your phone number, calling-party number, receiving-


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                    party number, forwarding numbers, time and date of calls and messages, duration of
                    calls, routing information, and types of calls.


                    You can visit your Google Account to find and manage activity information that’s saved in
                    your account.


                    Go to Google Account




                    Your location information

                    We collect information about your location when you use our services, which helps us
                    offer features like driving directions for your weekend getaway or showtimes for movies
                    playing near you.


                    Your location can be determined with varying degrees of accuracy by:


                          GPS


                          IP address


                          Sensor data from your device


                          Information about things near your device, such as Wi-Fi access points, cell towers,
                          and Bluetooth-enabled devices


                    The types of location data we collect depend in part on your device and account settings.
                    For example, you can turn your Android device’s location on or off using the device’s
                    settings app. You can also turn on Location History if you want to create a private map of
                    where you go with your signed-in devices.




                    In some circumstances, Google also collects information about you from publicly
                    accessible sources. For example, if your name appears in your local newspaper, Google’s
                    Search engine may index that article and display it to other people if they search for your
                    name. We may also collect information about you from trusted partners, including
                    marketing partners who provide us with information about potential customers of our
                    business services, and security partners who provide us with information to protect


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                    against abuse. We also receive information from advertisers to provide advertising and
                    research services on their behalf.


                    We use various technologies to collect and store information, including cookies, pixel
                    tags, local storage, such as browser web storage or application data caches, databases,
                    and server logs.


                    WHY GOOGLE COLLECTS DATA



                    We use data to build better services


                    We use the information we collect from all our services for the following purposes:




                    Provide our services

                    We use your information to deliver our services, like processing the terms you search for
                    in order to return results or helping you share content by suggesting recipients from your
                    contacts.




                    Maintain & improve our services

                    We also use your information to ensure our services are working as intended, such as
                    tracking outages or troubleshooting issues that you report to us. And we use your
                    information to make improvements to our services — for example, understanding which
                    search terms are most frequently misspelled helps us improve spell-check features used
                    across our services.




                    Develop new services

                    We use the information we collect in existing services to help us develop new ones. For
                    example, understanding how people organized their photos in Picasa, Google’s first
                    photos app, helped us design and launch Google Photos.




                    Provide personalized services, including content and ads
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                    We use the information we collect to customize our services for you, including providing
                    recommendations, personalized content, and customized search results. For example,
                    Security Checkup provides security tips adapted to how you use Google products. And
                    Google Play uses information like apps you’ve already installed and videos you’ve
                    watched on YouTube to suggest new apps you might like.


                    Depending on your settings, we may also show you personalized ads based on your
                    interests. For example, if you search for “mountain bikes,” you may see an ad for sports
                    equipment when you’re browsing a site that shows ads served by Google. You can
                    control what information we use to show you ads by visiting your ad settings.


                          We don’t show you personalized ads based on sensitive categories, such as race,
                          religion, sexual orientation, or health.


                          We don’t share information that personally identifies you with advertisers, such as
                          your name or email, unless you ask us to. For example, if you see an ad for a nearby
                          flower shop and select the “tap to call” button, we’ll connect your call and may share
                          your phone number with the flower shop.


                    Go to Ad Settings




                    Measure performance

                    We use data for analytics and measurement to understand how our services are used.
                    For example, we analyze data about your visits to our sites to do things like optimize
                    product design. And we also use data about the ads you interact with to help advertisers
                    understand the performance of their ad campaigns. We use a variety of tools to do this,
                    including Google Analytics. When you visit sites that use Google Analytics, Google and a
                    Google Analytics customer may link information about your activity from that site with
                    activity from other sites that use our ad services.




                    Communicate with you

                    We use information we collect, like your email address, to interact with you directly. For
                    example, we may send you a notification if we detect suspicious activity, like an attempt
                    to sign in to your Google Account from an unusual location. Or we may let you know

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                    about upcoming changes or improvements to our services. And if you contact Google,
                    we’ll keep a record of your request in order to help solve any issues you might be facing.




                    Protect Google, our users, and the public

                    We use information to help improve the safety and reliability of our services. This
                    includes detecting, preventing, and responding to fraud, abuse, security risks, and
                    technical issues that could harm Google, our users, or the public.




                    We use different technologies to process your information for these purposes. We use
                    automated systems that analyze your content to provide you with things like customized
                    search results, personalized ads, or other features tailored to how you use our services.
                    And we analyze your content to help us detect abuse such as spam, malware, and illegal
                    content. We also use algorithms to recognize patterns in data. For example, Google
                    Translate helps people communicate across languages by detecting common language
                    patterns in phrases you ask it to translate.


                    We may combine the information we collect among our services and across your devices
                    for the purposes described above. For example, if you watch videos of guitar players on
                    YouTube, you might see an ad for guitar lessons on a site that uses our ad products.
                    Depending on your account settings, your activity on other sites and apps may be
                    associated with your personal information in order to improve Google’s services and the
                    ads delivered by Google.


                    If other users already have your email address or other information that identifies you, we
                    may show them your publicly visible Google Account information, such as your name and
                    photo. This helps people identify an email coming from you, for example.


                    We’ll ask for your consent before using your information for a purpose that isn’t covered
                    in this Privacy Policy.


                    YOUR PRIVACY CONTROLS



                    You have choices regarding the information we collect and how it's used




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                    This section describes key controls for managing your privacy across our services. You
                    can also visit the Privacy Checkup, which provides an opportunity to review and adjust
                    important privacy settings. In addition to these tools, we also offer specific privacy
                    settings in our products — you can learn more in our Product Privacy Guide.


                    Go to Privacy Checkup




                    Managing, reviewing, and updating your
                    information
                    When you’re signed in, you can always review and update information by visiting the
                    services you use. For example, Photos and Drive are both designed to help you manage
                    specific types of content you’ve saved with Google.


                    We also built a place for you to review and control information saved in your Google
                    Account. Your Google Account includes:




                    Privacy controls


                    Activity Controls

                    Decide what types of activity you’d like saved in your account. For example, you can turn
                    on Location History if you want traffic predictions for your daily commute, or you can
                    save your YouTube Watch History to get better video suggestions.


                    Go to Activity Controls




                    Ad settings

                    Manage your preferences about the ads shown to you on Google and on sites and apps
                    that partner with Google to show ads. You can modify your interests, choose whether



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                    your personal information is used to make ads more relevant to you, and turn on or off
                    certain advertising services.


                    Go to Ad Settings




                    About you

                    Control what others see about you across Google services.


                    Go to About You




                    Shared endorsements

                    Choose whether your name and photo appear next to your activity, like reviews and
                    recommendations, that appear in ads.


                    Go to Shared Endorsements




                    Information you share

                    If you’re a G Suite user, control whom you share information with through your account
                    on Google+.


                    Go to Information You Share




                    Ways to review & update your information


                    My Activity

                    My Activity allows you to review and control data that’s created when you use Google
                    services, like searches you’ve done or your visits to Google Play. You can browse by date
                    and by topic, and delete part or all of your activity.

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                    Go to My Activity




                    Google Dashboard

                    Google Dashboard allows you to manage information associated with specific products.


                    Go to Dashboard




                    Your personal information

                    Manage your contact information, such as your name, email, and phone number.


                    Go to Personal Info


                    When you’re signed out, you can manage information associated with your browser or
                    device, including:


                          Signed-out search personalization: Choose whether your search activity is used to
                          offer you more relevant results and recommendations.


                          YouTube settings: Pause and delete your YouTube Search History and your YouTube
                          Watch History.


                          Ad Settings: Manage your preferences about the ads shown to you on Google and
                          on sites and apps that partner with Google to show ads.




                    Exporting, removing & deleting your information
                    You can export a copy of content in your Google Account if you want to back it up or use
                    it with a service outside of Google.


                    Export your data




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                    You can also request to remove content from specific Google services based on
                    applicable law.


                    To delete your information, you can:


                          Delete your content from specific Google services


                          Search for and then delete specific items from your account using My Activity


                          Delete specific Google products, including your information associated with those
                          products


                          Delete your entire Google Account


                    Delete your information


                    And finally, Inactive Account Manager allows you to give someone else access to parts
                    of your Google Account in case you’re unexpectedly unable to use your account.




                    There are other ways to control the information Google collects whether or not you’re
                    signed in to a Google Account, including:


                          Browser settings: For example, you can configure your browser to indicate when
                          Google has set a cookie in your browser. You can also configure your browser to
                          block all cookies from a specific domain or all domains. But remember that our
                          services rely on cookies to function properly, for things like remembering your
                          language preferences.


                          Device-level settings: Your device may have controls that determine what
                          information we collect. For example, you can modify location settings on your
                          Android device.

                    SHARING YOUR INFORMATION



                    When you share your information


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                    Many of our services let you share information with other people, and you have control
                    over how you share. For example, you can share videos on YouTube publicly or you can
                    decide to keep your videos private. Remember, when you share information publicly, your
                    content may become accessible through search engines, including Google Search.


                    When you’re signed in and interact with some Google services, like leaving comments on
                    a YouTube video or reviewing an app in Play, your name and photo appear next to your
                    activity. We may also display this information in ads depending on your Shared
                    endorsements setting.




                    When Google shares your information
                    We do not share your personal information with companies, organizations, or individuals
                    outside of Google except in the following cases:




                    With your consent

                    We’ll share personal information outside of Google when we have your consent. For
                    example, if you use Google Home to make a reservation through a booking service, we’ll
                    get your permission before sharing your name or phone number with the restaurant. We’ll
                    ask for your explicit consent to share any sensitive personal information.




                    With domain administrators

                    If you’re a student or work for an organization that uses Google services (like G Suite),
                    your domain administrator and resellers who manage your account will have access to
                    your Google Account. They may be able to:


                          Access and retain information stored in your account, like your email


                          View statistics regarding your account, like how many apps you install


                          Change your account password



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                          Suspend or terminate your account access


                          Receive your account information in order to satisfy applicable law, regulation, legal
                          process, or enforceable governmental request


                          Restrict your ability to delete or edit your information or your privacy settings




                    For external processing

                    We provide personal information to our affiliates and other trusted businesses or
                    persons to process it for us, based on our instructions and in compliance with our
                    Privacy Policy and any other appropriate confidentiality and security measures. For
                    example, we use service providers to help us with customer support.




                    For legal reasons

                    We will share personal information outside of Google if we have a good-faith belief that
                    access, use, preservation, or disclosure of the information is reasonably necessary to:


                          Meet any applicable law, regulation, legal process, or enforceable governmental
                          request. We share information about the number and type of requests we receive
                          from governments in our Transparency Report.


                          Enforce applicable Terms of Service, including investigation of potential violations.


                          Detect, prevent, or otherwise address fraud, security, or technical issues.


                          Protect against harm to the rights, property or safety of Google, our users, or the
                          public as required or permitted by law.


                    We may share non-personally identifiable information publicly and with our partners —
                    like publishers, advertisers, developers, or rights holders. For example, we share
                    information publicly to show trends about the general use of our services. We also allow
                    specific partners to collect information from your browser or device for advertising and
                    measurement purposes using their own cookies or similar technologies.




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                    If Google is involved in a merger, acquisition, or sale of assets, we’ll continue to ensure
                    the confidentiality of your personal information and give affected users notice before
                    personal information is transferred or becomes subject to a different privacy policy.


                    KEEPING YOUR INFORMATION SECURE



                    We build security into our services to protect your information


                    All Google products are built with strong security features that continuously protect your
                    information. The insights we gain from maintaining our services help us detect and
                    automatically block security threats from ever reaching you. And if we do detect
                    something risky that we think you should know about, we’ll notify you and help guide you
                    through steps to stay better protected.


                    We work hard to protect you and Google from unauthorized access, alteration,
                    disclosure, or destruction of information we hold, including:


                           We use encryption to keep your data private while in transit


                           We offer a range of security features, like Safe Browsing, Security Checkup, and 2
                           Step Verification to help you protect your account


                           We review our information collection, storage, and processing practices, including
                           physical security measures, to prevent unauthorized access to our systems


                           We restrict access to personal information to Google employees, contractors, and
                           agents who need that information in order to process it. Anyone with this access is
                           subject to strict contractual confidentiality obligations and may be disciplined or
                           terminated if they fail to meet these obligations.

                    EXPORTING & DELETING YOUR INFORMATION



                    You can export a copy of your information or delete it from your Google Account at any
                    time


                    You can export a copy of content in your Google Account if you want to back it up or use
                    it with a service outside of Google.


                    Export your data


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                    To delete your information, you can:


                          Delete your content from specific Google services


                          Search for and then delete specific items from your account using My Activity


                          Delete specific Google products, including your information associated with those
                          products


                          Delete your entire Google Account


                    Delete your information


                    RETAINING YOUR INFORMATION



                    We retain the data we collect for different periods of time depending on what it is, how
                    we use it, and how you configure your settings:


                          Some data you can delete whenever you like, such as the content you create or
                          upload. You can also delete activity information saved in your account, or choose to
                          have it deleted automatically after a set period of time.


                          Other data is deleted or anonymized automatically after a set period of time, such
                          as advertising data in server logs.


                          We keep some data until you delete your Google Account, such as information
                          about how often you use our services.


                          And some data we retain for longer periods of time when necessary for legitimate
                          business or legal purposes, such as security, fraud and abuse prevention, or
                          financial record-keeping.


                    When you delete data, we follow a deletion process to make sure that your data is safely
                    and completely removed from our servers or retained only in anonymized form. We try to
                    ensure that our services protect information from accidental or malicious deletion.
                    Because of this, there may be delays between when you delete something and when
                    copies are deleted from our active and backup systems.




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                    You can read more about Google’s data retention periods, including how long it takes us
                    to delete your information.


                    COMPLIANCE & COOPERATION WITH REGULATORS



                    We regularly review this Privacy Policy and make sure that we process your information
                    in ways that comply with it.




                    Data transfers
                    We maintain servers around the world and your information may be processed on
                    servers located outside of the country where you live. Data protection laws vary among
                    countries, with some providing more protection than others. Regardless of where your
                    information is processed, we apply the same protections described in this policy. We
                    also comply with certain legal frameworks relating to the transfer of data, such as the
                    EU-US and Swiss-US Privacy Shield Frameworks.


                    When we receive formal written complaints, we respond by contacting the person who
                    made the complaint. We work with the appropriate regulatory authorities, including local
                    data protection authorities, to resolve any complaints regarding the transfer of your data
                    that we cannot resolve with you directly.




                    California requirements
                    If the California Consumer Privacy Act (CCPA) applies to your information, we provide
                    these disclosures and the tools described in this policy so you can exercise your rights to
                    receive information about our data practices, as well as to request access to and
                    deletion of your information. These tools allow you to review, update and delete your
                    information, as well as export and download a copy of it. You can also read more about
                    Google’s data retention periods, and the process we follow to delete your information.


                    Google does not sell your personal information. We only share your information as
                    described in this policy. Google processes your information for the purposes described in
                    this policy, which include “business purposes” under the CCPA. These purposes include:


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                          Protecting against security threats, abuse, and illegal activity. Google uses and
                          may disclose information to detect, prevent and respond to security incidents, and
                          for protecting against other malicious, deceptive, fraudulent, or illegal activity. For
                          example, to protect our services, Google may receive or disclose information about
                          IP addresses that malicious actors have compromised.


                          Auditing and measurement. Google uses information for analytics and
                          measurement to understand how our services are used, as well as to fulfill
                          obligations to our partners like publishers, advertisers, developers, or rights holders.
                          We may disclose non-personally identifiable information publicly and with these
                          partners, including for auditing purposes.


                          Maintaining our services. Google uses information to ensure our services are
                          working as intended, such as tracking outages or troubleshooting bugs and other
                          issues that you report to us.


                          Research and development. Google uses information to improve our services and
                          to develop new products, features and technologies that benefit our users and the
                          public. For example, we use publicly available information to help train Google’s
                          language models and build features like Google Translate.


                          Use of service providers. Google shares information with service providers to
                          perform services on our behalf, in compliance with our Privacy Policy and other
                          appropriate confidentiality and security measures. For example, we may rely on
                          service providers to help provide customer support.


                          Advertising. Google processes information, including online identifiers and
                          information about your interactions with advertisements, to provide advertising.
                          This keeps many of our services freely available for users. You can control what
                          information we use to show you ads by visiting your ad settings.


                    Google also uses information to satisfy applicable laws or regulations, and discloses
                    information in response to legal process or enforceable government requests, including
                    to law enforcement. We provide information about the number and type of requests we
                    receive from governments in our Transparency Report.


                    If you have additional questions or requests related to your rights under the CCPA, you
                    can contact Google.


                    ABOUT THIS POLICY

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                    When this policy applies
                    This Privacy Policy applies to all of the services offered by Google LLC and its affiliates,
                    including YouTube, Android, and services offered on third-party sites, such as advertising
                    services. This Privacy Policy doesn’t apply to services that have separate privacy policies
                    that do not incorporate this Privacy Policy.


                    This Privacy Policy doesn’t apply to:


                          The information practices of other companies and organizations that advertise our
                          services


                          Services offered by other companies or individuals, including products or sites that
                          may include Google services, be displayed to you in search results, or be linked from
                          our services




                    Changes to this policy
                    We change this Privacy Policy from time to time. We will not reduce your rights under this
                    Privacy Policy without your explicit consent. We always indicate the date the last
                    changes were published and we offer access to archived versions for your review. If
                    changes are significant, we’ll provide a more prominent notice (including, for certain
                    services, email notification of Privacy Policy changes).


                    RELATED PRIVACY PRACTICES




                    Specific Google services
                    The following privacy notices provide additional information about some Google
                    services:


                          Chrome & the Chrome Operating System


                          Play Books


                          Payments


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                          Fiber


                          Google Fi


                          G Suite for Education


                          YouTube Kids


                          Google Accounts Managed with Family Link, for Children under 13 (or applicable
                          age in your country)


                          Voice and Audio Collection from Children’s Features on the Google Assistant




                    Other useful resources
                    The following links highlight useful resources for you to learn more about our practices
                    and privacy settings.


                          Your Google Account is home to many of the settings you can use to manage your
                          account


                          Privacy Checkup guides you through key privacy settings for your Google Account


                          Google’s safety center helps you learn more about our built-in security, privacy
                          controls, and tools to help set digital ground rules for your family online


                          Privacy & Terms provides more context regarding this Privacy Policy and our Terms
                          of Service


                          Technologies includes more information about:


                                    How Google uses cookies


                                    Technologies used for Advertising


                                    How Google uses pattern recognition to recognize things like faces in
                                    photos


                                    How Google uses information from sites or apps that use our services


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                    ads you’ll find most useful

                    For example, if you watch videos about baking on YouTube, you may see more ads that
                    relate to baking as you browse the web. We also may use your IP address to determine
                    your approximate location, so that we can serve you ads for a nearby pizza delivery
                    service if you search for “pizza.” Learn more about Google ads and why you may see
                    particular ads.




                    the people who matter most to you online

                    For example, when you type an address in the To, Cc, or Bcc field of an email you're
                    composing, Gmail will suggest addresses based on the people you contact most
                    frequently.




                    phone number

                    If you add your phone number to your account, it can be used for different purposes
                    across Google services, depending on your settings. For example, your phone number
                    can be used to help you access your account if you forget your password, help people
                    find and connect with you, and make the ads you see more relevant to you. Learn more




                    payment information

                    For example, if you add a credit card or other payment method to your Google Account,
                    you can use it to buy things across our services, like apps in the Play Store. We may also
                    ask for other information, like a business tax ID, to help process your payment. In some
                    cases, we may also need to verify your identity and may ask you for information to do
                    this.


                    We may also use payment information to verify that you meet age requirements, if, for
                    example, you enter an incorrect birthday indicating you’re not old enough to have a
                    Google Account. Learn more




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                    devices

                    For example, we can use information from your devices to help you decide which device
                    you’d like to use to install an app or view a movie you buy from Google Play. We also use
                    this information to help protect your account.




                    Android device with Google apps

                    Android devices with Google apps include devices sold by Google or one of our partners
                    and include phones, cameras, vehicles, wearables, and televisions. These devices use
                    Google Play Services and other pre-installed apps that include services like Gmail, Maps,
                    your phone’s camera and phone dialer, text-to-speech conversion, keyboard input, and
                    security features.




                    Views and interactions with content and ads

                    For example, we collect information about views and interactions with ads so we can
                    provide aggregated reports to advertisers, like telling them whether we served their ad on
                    a page and whether the ad was likely seen by a viewer. We may also measure other
                    interactions, such as how you move your mouse over an ad or if you interact with the
                    page on which the ad appears.




                    synced with your Google Account

                    Your Chrome browsing history is only saved to your account if you’ve enabled Chrome
                    synchronization with your Google Account. Learn more




                    services to make and receive calls or send and receive messages

                    Examples of these services include:


                          Google Hangouts, for making domestic and international calls

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                          Google Voice, for making calls, sending text messages, and managing voicemail


                          Google Fi, for a phone plan




                    Sensor data from your device

                    Your device may have sensors that can be used to better understand your location and
                    movement. For example, an accelerometer can be used to determine your speed and a
                    gyroscope to figure out your direction of travel.




                    Information about things near your device

                    If you use Google’s Location services on Android, we can improve the performance of
                    apps that rely on your location, like Google Maps. If you use Google’s Location services,
                    your device sends information to Google about its location, sensors (like accelerometer),
                    and nearby cell towers and Wi-Fi access points (like MAC address and signal strength).
                    All these things help to determine your location. You can use your device settings to
                    enable Google Location services. Learn more




                    publicly accessible sources

                    For example, we may collect information that’s publicly available online or from other
                    public sources to help train Google’s language models and build features like Google
                    Translate.




                    protect against abuse

                    For example, information about security threats can help us notify you if we think your
                    account has been compromised (at which point we can help you take steps to protect
                    your account).




                    advertising and research services on their behalf

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                    For example, advertisers may upload data from their loyalty-card programs so that they
                    can better understand the performance of their ad campaigns. We only provide
                    aggregated reports to advertisers that don’t reveal information about individual people.




                    deliver our services

                    Examples of how we use your information to deliver our services include:


                          We use the IP address assigned to your device to send you the data you requested,
                          such as loading a YouTube video


                          We use unique identifiers stored in cookies on your device to help us authenticate
                          you as the person who should have access to your Google Account


                          Photos and videos you upload to Google Photos are used to help you create
                          albums, animations, and other creations that you can share. Learn more


                          A flight confirmation email you receive may be used to create a “check-in” button
                          that appears in your Gmail


                          When you purchase services or physical goods from us, you may provide us
                          information like your shipping address or delivery instructions. We use this
                          information for things like processing, fulfilling, and delivering your order, and to
                          provide support in connection with the product or service you purchase.




                    ensure our services are working as intended

                    For example, we continuously monitor our systems to look for problems. And if we find
                    something wrong with a specific feature, reviewing activity information collected before
                    the problem started allows us to fix things more quickly.




                    make improvements

                    For example, we use cookies to analyze how people interact with our services. And that
                    analysis can help us build better products. For example, it may help us discover that it’s



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                    taking people too long to complete a certain task or that they have trouble finishing steps
                    at all. We can then redesign that feature and improve the product for everyone.




                    customized search results

                    For example, when you’re signed in to your Google Account and have the Web & App
                    Activity control enabled, you can get more relevant search results that are based on your
                    previous searches and activity from other Google services. You can learn more here. You
                    may also get customized search results even when you’re signed out. If you don’t want
                    this level of search customization, you can search and browse privately or turn off
                    signed-out search personalization.




                    personalized ads

                    You may also see personalized ads based on information from the advertiser. If you
                    shopped on an advertiser's website, for example, they can use that visit information to
                    show you ads. Learn more




                    sensitive categories

                    When showing you personalized ads, we use topics that we think might be of interest to
                    you based on your activity. For example, you may see ads for things like "Cooking and
                    Recipes" or "Air Travel.” We don’t use topics or show personalized ads based on sensitive
                    categories like race, religion, sexual orientation, or health. And we require the same from
                    advertisers that use our services.




                    may link information

                    Google Analytics relies on first-party cookies, which means the cookies are set by the
                    Google Analytics customer. Using our systems, data generated through Google Analytics
                    can be linked by the Google Analytics customer and by Google to third-party cookies that
                    are related to visits to other websites. For example, an advertiser may want to use its
                    Google Analytics data to create more relevant ads, or to further analyze its traffic. Learn
                    more


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                    safety and reliability

                    Some examples of how we use your information to help keep our services safe and
                    reliable include:


                          Collecting and analyzing IP addresses and cookie data to protect against
                          automated abuse. This abuse takes many forms, such as sending spam to Gmail
                          users, stealing money from advertisers by fraudulently clicking on ads, or censoring
                          content by launching a Distributed Denial of Service (DDoS) attack.


                          The “last account activity” feature in Gmail can help you find out if and when
                          someone accessed your email without your knowledge. This feature shows you
                          information about recent activity in Gmail, such as the IP addresses that accessed
                          your mail, the associated location, and the date and time of access. Learn more




                    detect abuse

                    When we detect spam, malware, illegal content, and other forms of abuse on our
                    systems in violation of our policies, we may disable your account or take other
                    appropriate action. In certain circumstances, we may also report the violation to
                    appropriate authorities.




                    combine the information we collect

                    Some examples of how we combine the information we collect include:


                          When you’re signed in to your Google Account and search on Google, you can see
                          search results from the public web, along with relevant information from the
                          content you have in other Google products, like Gmail or Google Calendar. This can
                          include things like the status of your upcoming flights, restaurant, and hotel
                          reservations, or your photos. Learn more


                          If you have communicated with someone via Gmail and want to add them to a
                          Google Doc or an event in Google Calendar, Google makes it easy to do so by
                          autocompleting their email address when you start to type in their name. This
                          feature makes it easier to share things with people you know. Learn more
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                          The Google app can use data that you have stored in other Google products to
                          show you personalized content, depending on your settings. For example, if you
                          have searches stored in your Web & App Activity, the Google app can show you
                          news articles and other information about your interests, like sports scores, based
                          your activity. Learn more


                          If you link your Google Account to your Google Home, you can manage your
                          information and get things done through the Google Assistant. For example, you
                          can add events to your Google Calendar or get your schedule for the day, ask for
                          status updates on your upcoming flight, or send information like driving directions
                          to your phone. Learn more




                    your activity on other sites and apps

                    This activity might come from your use of Google services, like from syncing your
                    account with Chrome or your visits to sites and apps that partner with Google. Many
                    websites and apps partner with Google to improve their content and services. For
                    example, a website might use our advertising services (like AdSense) or analytics tools
                    (like Google Analytics), or it might embed other content (such as videos from YouTube).
                    These services may share information about your activity with Google and, depending on
                    your account settings and the products in use (for instance, when a partner uses Google
                    Analytics in conjunction with our advertising services), this data may be associated with
                    your personal information.


                    Learn more about how Google uses data when you use our partners' sites or apps.




                    partner with Google

                    There are over 2 million non-Google websites and apps that partner with Google to show
                    ads. Learn more




                    specific Google services

                    For example, you can delete your blog from Blogger or a Google Site you own from
                    Google Sites. You can also delete reviews you’ve left on apps, games, and other content


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                    in the Play Store.




                    rely on cookies to function properly

                    For example, we use a cookie called ‘lbcs’ that makes it possible for you to open many
                    Google Docs in one browser. Blocking this cookie would prevent Google Docs from
                    working as expected. Learn more




                    legal process, or enforceable governmental request

                    Like other technology and communications companies, Google regularly receives
                    requests from governments and courts around the world to disclose user data. Respect
                    for the privacy and security of data you store with Google underpins our approach to
                    complying with these legal requests. Our legal team reviews each and every request,
                    regardless of type, and we frequently push back when a request appears to be overly
                    broad or doesn’t follow the correct process. Learn more in our Transparency Report.




                    show trends

                    When lots of people start searching for something, it can provide useful information
                    about particular trends at that time. Google Trends samples Google web searches to
                    estimate the popularity of searches over a certain period of time and shares those
                    results publicly in aggregated terms. Learn more




                    specific partners

                    For example, we allow YouTube creators and advertisers to work with measurement
                    companies to learn about the audience of their YouTube videos or ads, using cookies or
                    similar technologies. Another example is merchants on our shopping pages, who use
                    cookies to understand how many different people see their product listings. Learn more
                    about these partners and how they use your information.




                    servers around the world
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                    For example, we operate data centers located around the world to help keep our products
                    continuously available for users.




                    third parties

                    For example, we process your information to report use statistics to rights holders about
                    how their content was used in our services. We may also process your information if
                    people search for your name and we display search results for sites containing publicly
                    available information about you.




                    appropriate safeguards

                    For example, we may anonymize data, or encrypt data to ensure it can’t be linked to other
                    information about you. Learn more




                    ensure and improve

                    For example, we analyze how people interact with advertising to improve the
                    performance of our ads.




                    Customizing our services

                    For example, we may display a Google Doodle on the Search homepage to celebrate an
                    event specific to your country.




                    Affiliates

                    An affiliate is an entity that belongs to the Google group of companies, including the
                    following companies that provide consumer services in the EU: Google Ireland Limited,
                    Google Commerce Ltd, Google Payment Corp, and Google Dialer Inc. Learn more about
                    the companies providing business services in the EU.



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                    Algorithm

                    A process or set of rules followed by a computer in performing problem-solving
                    operations.




                    Application data cache

                    An application data cache is a data repository on a device. It can, for example, enable a
                    web application to run without an internet connection and improve the performance of
                    the application by enabling faster loading of content.




                    Browser web storage

                    Browser web storage enables websites to store data in a browser on a device. When
                    used in "local storage" mode, it enables data to be stored across sessions. This makes
                    data retrievable even after a browser has been closed and reopened. One technology that
                    facilitates web storage is HTML 5.




                    Cookies and similar technologies

                    A cookie is a small file containing a string of characters that is sent to your computer
                    when you visit a website. When you visit the site again, the cookie allows that site to
                    recognize your browser. Cookies may store user preferences and other information. You
                    can configure your browser to refuse all cookies or to indicate when a cookie is being
                    sent. However, some website features or services may not function properly without
                    cookies. Learn more about how Google uses cookies and how Google uses data,
                    including cookies, when you use our partners' sites or apps.




                    Device

                    A device is a computer that can be used to access Google services. For example,
                    desktop computers, tablets, smart speakers, and smartphones are all considered


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                    devices.




                    Non-personally identifiable information

                    This is information that is recorded about users so that it no longer reflects or references
                    an individually-identifiable user.




                    IP address

                    Every device connected to the Internet is assigned a number known as an Internet
                    protocol (IP) address. These numbers are usually assigned in geographic blocks. An IP
                    address can often be used to identify the location from which a device is connecting to
                    the Internet.




                    Pixel tag

                    A pixel tag is a type of technology placed on a website or within the body of an email for
                    the purpose of tracking certain activity, such as views of a website or when an email is
                    opened. Pixel tags are often used in combination with cookies.




                    Personal information

                    This is information that you provide to us which personally identifies you, such as your
                    name, email address, or billing information, or other data that can be reasonably linked to
                    such information by Google, such as information we associate with your Google
                    Account.




                    Sensitive personal information

                    This is a particular category of personal information relating to topics such as
                    confidential medical facts, racial or ethnic origins, political or religious beliefs, or
                    sexuality.



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                    Server logs

                    Like most websites, our servers automatically record the page requests made when you
                    visit our sites. These “server logs” typically include your web request, Internet Protocol
                    address, browser type, browser language, the date and time of your request, and one or
                    more cookies that may uniquely identify your browser.


                    A typical log entry for a search for “cars” looks like this:

                    123.45.67.89 - 25/Mar/2003 10:15:32 -
                    http://www.google.com/search?q=cars -
                    Firefox 1.0.7; Windows NT 5.1 -
                    740674ce2123e969



                          123.45.67.89 is the Internet Protocol address assigned to the user by the user’s
                          ISP. Depending on the user’s service, a different address may be assigned to the
                          user by their service provider each time they connect to the Internet.


                          25/Mar/2003 10:15:32 is the date and time of the query.


                          http://www.google.com/search?q=cars is the requested URL, including the
                          search query.


                          Firefox 1.0.7; Windows NT 5.1 is the browser and operating system being
                          used.


                          740674ce2123a969 is the unique cookie ID assigned to this particular computer the
                          first time it visited Google. (Cookies can be deleted by users. If the user has deleted
                          the cookie from the computer since the last time they’ve visited Google, then it will
                          be the unique cookie ID assigned to their device the next time they visit Google from
                          that particular device).




                    Unique identifiers

                    A unique identifier is a string of characters that can be used to uniquely identify a
                    browser, app, or device. Different identifiers vary in how permanent they are, whether they
                    can be reset by users, and how they can be accessed.




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                    Unique identifiers can be used for various purposes, including security and fraud
                    detection, syncing services such as your email inbox, remembering your preferences, and
                    providing personalized advertising. For example, unique identifiers stored in cookies help
                    sites display content in your browser in your preferred language. You can configure your
                    browser to refuse all cookies or to indicate when a cookie is being sent. Learn more
                    about how Google uses cookies.


                    On other platforms besides browsers, unique identifiers are used to recognize a specific
                    device or app on that device. For example, a unique identifier such as the Advertising ID
                    is used to provide relevant advertising on Android devices, and can be managed in your
                    device’s settings. Unique identifiers may also be incorporated into a device by its
                    manufacturer (sometimes called a universally unique ID or UUID), such as the IMEI-
                    number of a mobile phone. For example, a device’s unique identifier can be used to
                    customize our service to your device or analyze device issues related to our services.




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        Learn the basics
        How Open Bidding works
        Learn the life cycle of an Open Bidding request


                          Next: Getting started with Open Bidding




        Only available in Google Ad Manager 360.

        Each Open Bidding interaction between a publisher and their exchange partners is handled by Ad Manager
        in what is called a "server-to-server" integration. This article describes the life cycle of an ad request
        targeted by an Open Bidding yield group.

             The Open Bidding process
             Auction dynamics
             Payments



        The Open Bidding process
        1. An ad request is triggered and information is passed to the Ad Manager ad server
        Requests are sent to Ad Manager using Google Publisher Tags, the Google Mobile Ads SDK, or the IMA
        SDK. Along with each request, information about the user, device and targeting is passed to Ad Manager.
        Learn more

        Support for native inventory for yield groups is not yet available. However, if Ad Exchange wins the bid,
        native inventory can be served within a fixed size.


        2. Ad Manager runs a unified auction to determine the best yield
        The steps below are completed synchronously on the server-side as part of the ad selection process.

        2a. Ad Manager selects the best trafficked line item to compete in the unified auction

        Using targeting and delivery pacing information, Ad Manager catalogs all eligible line items booked in the
        Ad Manager ad server and selects the best line item to compete via dynamic allocation in the unified
        auction.

        2b. Ad Manager sends a bid request to targeted yield partners

        Ad Manager uses yield groups to identify the list of exchanges to compete in the unified auction. Yield
        groups contain targeting similar to line items and include a combination of Ad Exchange, third-party


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        exchanges and/or Mediation ad networks. For each Open Bidding yield partner assigned to an eligible yield
        group, Ad Manager sends a bid request to collect their highest bids.


            Requests marked as child-directed in compliance with the Children's Online Privacy Protection Act
               (COPPA) are not sent to Open Bidding yield partners.



           What happens if multiple yield groups are eligible for the same request?


           What happens if requested ad sizes don't match the yield group targeting?


           What information is sent to buyers with each Open Bidding request?


           How do Ad Exchange or AdSense line items and yield groups compete?


        2c. Targeted yield partners run their own auction and returns their most competitive bid to Ad Manager

        Yield partners utilize their own Open Bidding integration to receive the bid request from Ad Manager, run an
        auction according to the information provided in the request, and return their most competitive bid to Ad
        Manager.

        2d. Ad Manager hosts a unified auction and selects a winner

        Ad Manager hosts a unified auction, comparing yield partner bids, the Ad Exchange bid and other direct
        line items via dynamic allocation to ensure that each impression maximizes yield.


        3. A creative or Mediation list is returned to the publisher
        After dynamic allocation and all Open Bidding auctions have completed and a winner is selected, the Ad
        Manager ad server returns the winning asset to the publisher for display.

        • If an Ad Manager line item wins the unified auction, the Ad Manager creative is returned to the publisher.

        • If an exchange bidder or an Ad Exchange buyer wins the Ad Manager unified auction, the buyer's
           creative is returned to the publisher.

        • If a Mediation yield partner wins the Ad Manager unified auction, a Mediation list, or "chain," is returned
           to the publisher that includes Mediation yield partners with a CPM higher than the highest Ad Exchange
           or Open Bidding yield partner bid. The publisher's mobile app will then call each partner in the list in
           order for a creative to display. Learn more about Mediation for mobile apps


                   If the default CPM for a Mediation yield partner is defined as higher than the highest bid from
                   an Open Bidding yield partner, the Mediation yield partner will have a first look to fill the
                   impression with no guarantee they will return a bid at the default CPM price. Ensure that your
                   default CPM values for Mediation yield partners is set realistically to optimize competition.



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        Auction dynamics
        The real-time bids (RTB) from yield partners compete as part of dynamic allocation in a unified auction.
        The best Ad Manager line item rate, expected Mediation yields and exchange bids are compared at the
        same time and the top bid wins the auction. Ad Exchange and yield partners bid once for each impression.

        All participants in the unified auction, including Ad Exchange and third-party exchanges, compete equally
        for each impression on a net basis. Each exchange runs its own auction independently and then submits
        its bid into the unified auction. Ad Manager sends the reserve price for the unified auction to all eligible Ad
        Exchange buyers and Open Bidding participants (including third-party exchanges or networks). The reserve
        price is at least the maximum of the temporary CPM calculated by Ad Manager for the best eligible
        guaranteed line item or the floor price configured by the publisher (as may be adjusted, at the publisher's
        option, by various Ad Manager optimizations). The reserve price is not set by either the value CPMs of
        remnant line items that are competing for the impression or any bids received from any Ad Exchange
        buyers or Open Bidders for the impression. No auction participant receives any information about any
        other party’s bids prior to completion of the auction.


            Example
            There are three buyers. Ad Exchange Buyer 1 bids $3.00, Ad Exchange Buyer 2 bids $1.00, and a
            third-party exchange bids $2.00 on an impression. The winner of the unified auction would be Ad
            Exchange Buyer 1, as $3.00 is the highest bid submitted.


        The highest net bid (which takes into account Ad Manager’s revenue share) wins. The channel through
        which a bid is received (for example, whether through Google Ads or Display & Video 360, a third-party
        Authorized Buyer, Open Bidding yield partner, or a remnant line item) does not otherwise affect the
        determination of the winning bidder. Learn more about unified pricing rules and the auction rules.




                                                              Was this helpful?


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                                   EXHIBIT G
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     City of New York, State of New York, County of New York


     I, Jacqueline Yorke, hereby certify that the document “Aguadilla Paint Center v Esso” is, to
     the best of my knowledge and belief, a true and accurate translation from Spanish into English.




     _______________________
     Jacqueline Yorke



     Sworn to before me this
     January 11, 2024



     _____________________
     Signature, Notary Public




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                                AGUADILLA PAINT CENTER, INC., CB GASOLINE SERVICE
                                    GROUP and MICADA DE PUERTO RICO, INC., appellees,
                                                                   v.
                                ESSO STANDARD OIL COMPANY (PUERTO RICO), petitioner.

                                                In the Supreme Court of Puerto Rico.
                                                       Number: CC-2010-1135

Synopsis
CERTIORARI PETITION to request the review of a RESOLUTION of Guillermo Arbona Lago, José L. Miranda de Hostos and
Mildred G. Pabón Charneco, Judges of the Court of Appeals, which concluded that after a considered analysis of the appeal
submitted and the documents contained in the file, the Esso Standard Oil Company had not placed it in a position to grant the
requested remedy and that the appealed opinion did not merit its intervention at this procedural stage. The Resolution issued by
the Court of Appeals is revoked and, consequently, the cause of action based on Art. 4A of the Gasoline Producers, Refiners and
Distributors-Wholesalers Control Act, 23 L.P.R.A. sec. 1104a, as amended, is dismissed, before the Court of First Instance, due
to lack of jurisdiction.


Salvador Antonetti Stutts, Carlos A. Valldejuly Sastre, Carlos J. Sagardía Abreu, Pedro A. Delgado Hernández and Carla Framil
Ferrén, of O'Neill & Borges, attorneys for the petitioning party; José A. Ramos Díaz, attorney for the appellee party; Irene S.
Soroeta Kodesh, solicitor general, Amir Cristina Nieves Villegas, assistant solicitor general Leticia Casalduc Rabell, deputy
solicitor general, and José G. Díaz Tejera, Assistant Secretary of the Antitrust Affairs Office of the Department of Justice, amicii
curiae.

THE ASSOCIATE JUDGE MR. KOLTHOFF CARABALLO issued the opinion of the Court.

On this occasion, the dispute in question is relatively simple: does a private person, a gasoline retailer, have active standing to file
a cause of action before the Court of First Instance against a distributor-wholesaler of that product for alleged violations of the
provisions related to the duty of operational separation established in Art. 4A of the Gasoline Producers, Refiners and
Distributors-Wholesalers Control Act? 1 When addressing this question, we interpreted for the first time jointly two statutes that
regulate competition in the gasoline market, namely: the Gasoline Producers, Refiners and Distributors-Wholesalers Control Act,
Act No. 3 of March 21, 1978, as amended, 23 L.P.R.A. (Leyes de Puerto Rico Anotadas [Laws of Puerto Rico Annotated]) sec.
1101 et seq. (Gasoline Act), and the Antitrust *909 and Restriction of Trade Act, Act No. 77 of June 25, 1964, as amended, 10
L.P.R.A sec. 257 et seq. (Antitrust Act).
1        28 L.P.R.A. sec. 1104a.

                                                                      I
The petitioner Esso Standard Oil Company (the petitioner or Esso) is a corporation dedicated to the import, distribution and sale
of gasoline in bulk, that is, a distributor-wholesaler. 2 For its part, the appellees Aguadilla Paint Center, Inc., and CB Gasoline
Service Group, Inc. (the appellees) are retailers, 3 that is, retail sellers of gasoline, in this case gasoline imported, distributed and
sold by the petitioner Esso (brand retailers).
2      See Art. 1(f) of the Gasoline Producers, Refiners and Distributors-Wholesalers Control Act (Gasoline Act), 23 L.P.R.A.
       sec. 1101(f).
3      See Art. 1(g) of the Gasoline Act, supra, 23 L.P.R.A. sec. 1101(g).



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In August 2004, the appellees filed a claim before the trial court in which they charged the petitioner Esso, inter alia, with
incurring in the practice of operational association, in contravention of Art. 4A of the Gasoline Act, supra, and Art. 7 of the
Antitrust Act. 4 In addition, they requested compensation for damages and losses, according to Art. 1802 of the Civil Code, 31
L.P.R.A. sec. 5141.
4       10 L.P.R.A. sec. 263.
After multiple procedural incidents, 5 on March 12, 2010, Esso requested the dismissal of the claim *910 under Rule 10.2 of Civil
Procedure. 6 In its motion, Esso basically argued that the cause of action of the appellees, based on the obligation of “operational
separation” established in Art. 4A of the Gasoline Act, supra, should be dismissed because Art. 8 of the Gasoline Act, 23
L.P.R.A. sec. 1108, establishes that a violation of Art. 4A “shall constitute an unfair or deceptive practice or act and shall be
subject to the provisions of sections 257 et seq.” of the Antitrust Act, supra.
5       On October 1, 2004, Esso first requested the dismissal of the claim, based on the fact that Art. 4 of the Gasoline Act
        displaced the application of Art. 7 of the Antitrust and Restriction of Trade Act (Antitrust Act) (case DAC2005-0343).
        However, the Court of First Instance denied the request for dismissal, and therefore Esso appealed to the Court of Appeals
        (case KLCE2005-00564). The Court of Appeals denied the issuance of the order by Resolution of May 26, 2005. Esso
        then appealed to this Court by certiorari, which we denied on November 10, 2005. Such a determination became
        enforceable and final, thus continuing the proceedings before the Court of First Instance.
6       32 L.P.R.A. Ap. III.

The trial court declared Esso’s application for dismissal “inadmissible” by concluding “that a private entity such as the plaintiff
may file an action under Article 7 of the [Gasoline Act, 23 L.P.R.A. Sec. 1107] on competition in the gasoline market, before the
Court of First Instance.” 7 Dissatisfied, Esso appealed to the Court of Appeals through a certiorari appeal. This venue concluded
that, after a considered analysis of the appeal submitted and the documents contained in the file, Esso had not placed it in a
position to grant the requested remedy and that the appealed opinion did not merit its intervention in that procedural stage.
7       Appendix to the Petition for certiorari, p. 179.

In view of this ruling, Esso appeared before this venue by means of an appeal of certiorari outlining the following points of error:

    The Court of Appeals erred by not issuing the requested order and not recognizing that Art. 12(a) of the Antitrust Act excludes
    private claims for alleged operational association under Art. 4A of the Gasoline Act.

    The Court of Appeals erred by not issuing the requested order and not ordering the dismissal of the claim under Art. 4A of the
    Gasoline Act, since the plaintiffs do not have active standing to initiate it and, therefore, the Court of First Instance lacks
    jurisdiction over the matter to address it. *911

    The Court of Appeals erred in determining that Esso did not place it in “conditions of being able to grant the requested
    remedy," since the criteria for the issuance of the order contained in Rule 40 of the Rules of the Court of Appeals are met.
    Request for certiorari, p. 8.


Once the certiorari was issued, we stopped the proceedings and ordered the parties to submit their corresponding arguments. 8
With the benefit of the position of all parties, we now proceed to rule.

8       We also ordered the Solicitor General of Puerto Rico to appear and express her position on the dispute, as amicus curiae;
        the Solicitor General did so.

                                                                 II

                          A. Gasoline Producers, Refiners and Distributors-Wholesalers Control Act
[1] As it arises from its Statement of Reasons, the approval of the Gasoline Producers, Refiners and Distributors-Wholesalers


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Control Act, Act No. 3 of March 21, 1978, as amended, 23 L.P.R.A. sec. 1101 et seq., had the intention, among others, to combat
the problem “that arises from the fact that the control of energy product supplies and, especially, of gasoline and other petroleum
and natural gas fuels, continue to be concentrated in hands of a few who dominate all aspects of production, refining and
marketing of these products.” 9 In response to this the legislator sought to eliminate the competitive advantages existing in the
gasoline or special engine fuels market, as well as to have oversight of that process and to establish measures for the fulfillment of
the purposes pursued by said statute. In *912 accordance with this purpose, the legislator classified infractions and set penalties
for the violators of the statute.


9      See Statement of Reasons for the Gasoline Act, 1978 Puerto Rico Laws 16-17.

Thus, the Legislative Assembly determined that, in the absence of competitive uniformity, it was necessary to institute careful
safeguards that prevented the actions of oil companies and distributors of energy products aimed at monopolizing the points of
public distribution of gasoline. 10 In addition, the Gasoline Act seeks to protect the retail fuel sales industry from any
discriminatory practices that seek to eliminate the individual gasoline retailer from market competition, as well as from those
discriminatory practices and control over the price structure aimed at favoring certain retailers to the detriment of others and the
consumer. 11

10     Statement of Reasons for the Gasoline Act, supra.

11     Id.
[2] On the other hand, just a few months after the passage of the Gasoline Act, the Legislature approved, as an addendum to the
latter, Act No. 73 of June 23, 1978, as amended, 23 L.P.R.A. sec. 1131 et seq. (Act No. 73), addressing the “Regulation and
Control of the Gasoline Industry." With the passage of Act No. 73, “the gasoline industry in all its facets was declared as being in
the public interest.” 12 In doing so, it was recognized that the gasoline industry is a fundamental element for the security and well-
being of the People of Puerto Rico. This is because the availability of that product was at that time—and obviously continues to
be so today— critical for the normal functioning of our economy and the continued development of the country’s daily activities.
13
   *913


12     23 L.P.R.A. sec. 1131.

13     See Statement of Reasons for the Gasoline Industry Regulation and Control Act, Act No. 73 of June 23, 1978, as
       amended, 23 L.P.R.A. sec. 1131 et seq. (Act No. 73).
In harmony with the Gasoline Act, the purpose of Act No. 73 is to effectively regulate certain aspects of the gasoline industry and
thus ensure that the interests of the People of Puerto Rico are adequately protected from harmful activities that take place at any
of the different operational levels of that industry. 14 In so acting, the legislator indicated that the Government is responsible for
ensuring that there is a stable situation within all activities that affect the general well-being of the public, as well as to ensure the
good order of the community and the protection of the best interests of the economic and government system. 15
14     Id.

15     Id.




To fulfill its purposes, Act No. 73 established certain obligations and prohibitions detailed in its Art. 3. 16 Among them, and as an
example, it was prohibited that in the relationships between distributors-wholesalers and retailers, that there be simultaneously
lease and lease-back agreements, when said relationship has the effect or purpose of canceling the obligation of payment between
the parties or of unreasonably restricting the right to free contracting or to the disposal of the property. 17 In addition, Act No. 73
established the obligation for any distributor-wholesaler to present at the Antitrust Affairs Office (O.A.M., Oficina de Asuntos


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Monopolísticos) 18 a legible copy of any contract establishing a commercial relationship with a retailer, within ten days after its
execution, as well as any subsequent amendment or modification thereof. *914
16       23 L.P.R.A. sec. 1131.
17       23 L.P.R.A. sec. 1133(a).
18       As we will detail below, the Antitrust Affairs Office (O.A.M.) is an entity attached to the Department of Justice, with
         powers for the administration of legislation on monopolistic practices, as well as for the oversight thereof.
Collectively, and to ensure the fulfillment of its objectives and purposes, Act No. 73 empowered various government agencies
and imposed on them the responsibility to perform various functions. These agencies include the Department of Commerce, 19 the
Public Service Commission, the Planning Board, the Regulations and Permit Administration, and the Department of Consumer
Affairs (D.A.Co., Departamento de Asuntos del Consumidor). 20
19       Currently, Department of Economic Development and Commerce.
20       23 L.P.R.A. sec. 1133(c)–(h).
Finally, it is necessary to consider what Art. 5 of Act No. 73 establishes in relation to the Antitrust Act, supra:


     Sec. 1134. Enforcement of the Antitrust Act

  Nothing herein provided or promulgated by regulation or otherwise, pursuant to the provisions of Sections 1131 to 1135 of this
  title, shall be construed as excepting or conferring immunity as to the applicability of the provisions of Sections 257 to 274 of
  Title 10. 21
21       23 L.P.R.A. sec. 1134.
[3] In summary, it is evident that from its inception, both the Gasoline Act and its addendum, Act No. 73, provided not only for
the protection of the retail fuel sales industry of any discriminatory practice to the detriment of the best interests of the people of
Puerto Rico, but they expressly recognized the impact of the Antitrust Act in such a process. Thus, both laws provided for the
actions of the Puerto Rico Department of Justice, through its O.A.M., to be cardinal in compliance with its oversight provisions.
In addition, the legislator arranged for other government agencies, such as the D.A.Co, to also participate.

[4] In keeping with all of the foregoing, Art. 2(a) of the Gasoline Act, supra, 23 L.P.R.A. sec. 1102(a), establishes that *915

  ... no producer, refiner or distributor-wholesaler will acquire or establish, open, operate or recover to operate any gasoline retail
  service station to be operated with personnel of their own company or subsidiary company, agent, commission agent, or under
  contract with any individual or legal entity, operating or administering said retail service station by means of a paid agreement
  or arrangement with said producer, refiner or distributor-wholesaler. The gas sales service station may only be operated by a
  retailer.

[5] Likewise, Art. 4 of the Gasoline Act, supra, 23 L.P.R.A. sec. 1104, establishes that




              any oil producer or refiner or distributor-wholesaler of petroleum products that supplies gasoline and/or
              special fuels to service stations for the retail sale of such products shall be obliged to uniformly provide to
              all retailers of the sale of gasoline and/or special fuels to whom it supplies, any discount, deduction,
              decrease or reduction in prices granted directly or indirectly. 22




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22     In turn, Art. 5 of the Gasoline Act, supra, 23 L.P.R.A. sec. 1105, provides that any oil producer or refiner or distributor-
       wholesaler of petroleum products that supplies gasoline or special fuels to retailers, must uniformly apply to all retail
       sellers to whom it supplies, the rental of equipment and signage, when they are provided directly or indirectly to said
       retailers by that producer, refiner or distributor-wholesaler. Meanwhile, Art. 6 of the Gasoline Act, supra, 23 L.P.R.A. sec.
       1106, orders the uniform distribution of fuel in periods of shortage or decrease in the supply or availability of gasoline or
       special fuels. Art. 7 of the aforementioned law, 23 L.P.R.A. sec. 1107, prohibits a retail seller of fuel, knowingly, from
       requesting or inducing the concession, or reduction in prices or in the rental of equipment and signage, in violation of
       Arts. 4 and 5 of the Gasoline Act, 23 L.P.R.A. sec. 1107.
[6] Having stated the above, directly related to the dispute at hand, we analyze Art. 4A of the Gasoline Act, supra, which
provides the following:

  Sec. 1104a . Operational Separation

  No refiner, oil producer or distributor-wholesaler may, by agreement, arrangement, contract, corporate operational scheme,
  with any retailer and/or individual or legal entity, or in any other way directly operate a *916 gasoline retail service station in a
  way that prevents its complete operational separation. No refiner, oil producer or distributor-wholesaler may, by agreement,
  arrangement, contract, operating [sic] corporate scheme, with any retailer and/or individual or legal entity, or in any other way
  directly impose, require, fix or limit the profit margin and/or retail price of gasoline and/or special fuels at the retail service
  station.


[7] Art. 4A of the Gasoline Act, supra, is the result of an amendment made to this statute by Act No. 157-1996 (Act No. 157)
and another amendment to the article itself - which adds the second sentence - by the approval of Act No. 74-2005. The article
establishes the “operational separation” or, what is the same, prohibits the so-called “operational association” of gasoline
wholesalers with stations for retail sale. Act No. 157 also amended the Gasoline Act to establish that “operational separation” is
the cessation by a refiner, oil producer, or distributor-wholesaler “of directly participating in the operation or commercial
exchange activities of the retail sale of gasoline and special fuels at retail service stations.” 23

23     23 L.P.R.A. sec. 1101(j).
[8] On the other hand, and cardinal to the dispute at hand, we must also consider Art. 8 of the Gasoline Act, which provides the
following:

  Sec. 1108. Violation of fair competition

  Any violation of Sections 1102, 1102a, 1104, 1104a, 1105 and 1105a of this title shall constitute an unfair [or] deceptive act
  or practice and shall be subject to the provisions of Sections 257 et seq. of Title 10. (Emphasis added.) 24


24      23 L.P.R.A. sec. 1108.
[9] Art. 8 of the Gasoline Act, supra, is intended for two intimately linked purposes. First, to institute *917 as an “unfair or
deceptive practice or act” any violation of Arts. 2, 2A, 4, 4A, 5 and 5A of the Gasoline Act. Second, to establish that any violation
of the aforementioned articles will be subject to the provisions of the Antitrust Act. Complementing this provision, Art. 10 of the
Gasoline Act provides that “[t]he fulfillment of the purposes and provisions of sections 1101 to 1110 of [the Gasoline Act] shall
be the responsibility of the Secretary of Justice, through the Antitrust Affairs Office of said Department.” 25


25     23 L.P.R.A. sec. 1110.
In its original version, Art. 8 of the Gasoline Act, supra, provided as follows:




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             Any violation of Arts. 4, 5, 6 and 7 shall constitute an unfair or deceptive act or practice and shall be
             subject to the provisions of Article 3 of Act No. 77 of June 25, 1964. 26


26     Art. 8 of Act No. 3 of March 25, 1978.
Note that this article originally referred to violations of Art. 4 of the Gasoline Act, supra, which establishes the obligation of any
oil producer or refiner or distributor-wholesaler of petroleum products to provide uniformity for any discount, deduction, decrease
or reduction in retail prices; violations of Art. 5, which establishes the obligation of any oil producer or refiner or distributor-
wholesaler of petroleum products to provide uniformity in the rental of equipment and signage to retailers, and violations of Art.
6, which establishes the obligation of any oil producer or refiner or distributor-wholesaler of petroleum products to institute
indiscriminate proration and uniform distribution among all retailers to whom gasoline is supplied for sale, during times of
shortages, or decrease in the supply or availability of gasoline or special fuels. On the other hand, Art. 8 in its original version
also referred to violations of Art. 7, *918 which establishes a prohibition on the retailer to request or induce the concession or
reduction in prices in the rental of equipment and signage. As can be seen, each provision to which Art. 8 in its original version
referred—Arts. 4 to 7—contained a prohibition whose violation constituted “an unfair or deceptive practice or act.”

However, since its original wording, Art. 8 of the Gasoline Act, supra, has undergone two amendments. The first of them through
the approval of Act No. 157-1996 (Act No. 157), which in its Statement of Reasons indicated the following (referring to Act No.
3 of 1978, Gasoline Act):




             In 1978, the Legislative Assembly passed legislation aimed at protecting gasoline retailers from potential
             predatory practices by wholesale gasoline distribution companies. One of those laws, Act No. 3
             ...provided that no wholesale company could directly operate gasoline stations, subject to certain
             exceptions. The responsibility for monitoring compliance with this law was assigned to the Secretary of
             Justice through its Antitrust Affairs Office. (Emphasis added) 27


27     See Statement of Reasons of Act No. 157-1996 (Act No. 157), 1996 Puerto Rico Laws 683.




As can be seen, in the Statement of Reasons of Act No. 157, the Legislative Assembly mentioned the Gasoline Act among those
laws whose intention is to “protect gasoline retailers from possible predatory practices by wholesale gasoline distribution
companies.” (Emphasis added.) 28 In addition, it noted that the Gasoline Act “provided that no wholesale company could directly
operate gasoline stations, subject to certain exceptions.” 29 In such a way that Act No. 157, in its Statement of Reasons,
recognized as a predatory practice, that is, harmful to retailers and prohibited by the Gasoline Act, that in which the *919
wholesaler directly operated a gasoline station. It also pointed out that the oversight of that prohibition was a matter that the
Antitrust Affairs Office would be responsible for.
28     Id.
29     Id.
On the other hand, in its last paragraph, the Statement of Reasons of Act No. 157 also indicates as its purpose to amend the
Gasoline Act so that the complete separation between retail sales operations and those of wholesalers and gasoline refiners is
established. The aforementioned text provides as follows:



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             This measure aims to close the exception gaps that, because they were opened in 1978, have limited the
             achievement of public objectives in this industry. Specifically, the complete separation between retail
             sales operations and those of wholesalers and gasoline refiners is established, with a deadline for the
             necessary separations to be carried out until it is achieved. (Emphasis added.) 30



30     Id.
As part of the amendments made to the Gasoline Act aimed at establishing that “complete separation between operations” of
retailers and wholesalers, Act No. 157 created the aforementioned Art. 4A, which prohibits any act that prevents the so-called
“operational separation." The definition of “operational separation," which Act No. 157 itself also established as one of the
amendments to the Gasoline Act, supra, states that it “occurs when a... wholesale distributor ceases to participate directly in the
operation or commercial exchange activities of the retail sale of gasoline... at retail service stations." 31
31     23 L.P.R.A. sec. 1101(j).
However, the amendment to Art. 8 of the Gasoline Act, supra, produced by Act No. 157, changed the majority of the articles
which referred to the version of the original article. The version of Art. 8 after the amendment of Act No. 157 became as follows:
*920



             Any violation of Articles 1, 2, 3, 4 and 5 shall constitute an unfair or deceptive act or practice and shall be
             subject to the provisions of Article 3 of Act No. 77 of June 25, 1964, as amended... 1996 Puerto Rico
             Laws 686.




In analyzing the above text we have to conclude that the aforementioned amendment to Art. 8 that was introduced by Act No. 157
produced illogical changes in some cases and inconsequential changes in others. By this we mean the following. Firstly, it makes
no sense that a law whose Statement of Reasons indicates that its purpose is to amend the Gasoline Act to establish a complete
separation between retail and wholesale sales operations, thus avoiding “possible predatory [monopolistic] practices by wholesale
gasoline distribution companies”; which creates Art. 4A of “operational separation” for those purposes, and which acknowledges
that the oversight for such compliance rests on the expertise of the O.A.M., should not include Art. 4A as part of the amendment
to the aforementioned Art. 8 of the Gasoline Act, supra.

On the other hand, the amendment to Art. 8 of the Gasoline Act, supra, which introduced Act No. 157 also included, as “unfair or
deceptive practice or act," any violation of Art. 1 of the Gasoline Act, supra, 23 L.P.R.A. sec. 1101. However, Art. 1 of the
Gasoline Act, supra, only established at that time—and currently establishes—a series of definitions of terms, none of which
constitutes a prohibition per se. Therefore, no one could commit a violation of Art. 1 of the Gasoline Act, supra, since such an
article did not prohibit and does not prohibit anything.

Finally, the same thing happened with Art. 3 of the Gasoline Act, supra, 23 L.P.R.A. sec. 1103. Such an article established at that
time —and this remains the same currently— the creation of the “Inter-agency Committee on the Gasoline Industry.” As was the
case with Art. 1 (“Definitions”), Art. 3 did not constitute any prohibition, so the inclusion *921 of that article in the enumeration
established by the amendment of Act No. 157 to Art. 8 of the Gasoline Act, supra, was totally inconsequential.

As such, the question that is applicable is what the final wording and approval of Art. 8 of the Gasoline Act, supra, was due to,
after the amendment made by Act No. 157. Although the legislative history does not give us much to go on in this regard, we do



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find that the first version of amendment to this article (which was presented in the Bill of the House of Representatives) indicated
that “any violation of Articles 2, 4, 4A, 5, 5A, 6, 6A, and 7, would constitute an unfair or deceptive practice or act.” (Emphasis in
the original and added.) 32
32     See Bill 2288 of January 30, 1996, 7th Ordinary Session, 12 Legislative Assembly, p. 7.
On the other hand, when codifying the version of the second and last amendments made to this article through Act No. 74-2005,
the following codifying note is indicated in its history:



            The amending law of 1996 appears to have referred to Arts. 1, 2, 3, 4 and 5 of the law itself instead of the
            articles amended or added thereto, namely: Arts. 1, 2, 4A, 5A and 8, i.e., sec. 1101, 1102, 1104a, 1105a
            and 1108 of this title. However, because it is similar to the content of the sections originally referred to in
            the 1978 law, it could be the case that the 1996 law attempted to refer to Arts. 4, 4A, 5 and 5A of the law,
            sec. 1104, 1104a, 1105 and 1105a of this title. (Emphasis added.) 23 L.P.R.A. sec. 1108 n.



In considering all of the above, we are sure that the version of Art. 8 of the Gasoline Act, supra, which arose as a result of the
amendment made by Act No. 157 was the product of a likely typographical error, which did not reflect the intention or will of the
legislator. As the codification note of the history of this article suggests, we understand that the intent of Act No. 157 was to
include Arts. 4, 4A, 5 and 5A in version *922 of Art. 8 of the Gasoline Act, supra, and its exclusion responds to a mere
administrative error (clerical error).
[10] We determined the foregoing, considering the legal hermeneutical standard that we reiterated in Passalacqua v. Mun. of
San Juan, 116 D.P.R. 618, 623 (1985), where we indicated the following:



            In Roig Commercial Bank v. Buscaglia, Tes., 74 D.P.R. 986, 998 (1953), this Court determined that if a
            word, phrase or provision has been approved by mistake or error, especially if it is contrary to the rest of
            the law or would limit its effectiveness, it can be eliminated. We understand that under the same
            circumstances a phrase or words can be added, so that legislative intent can be fulfilled. (Emphasis
            added.)




So, being consistent with what our guideline has been in terms of legal interpretation when confronting situations in a law such as
the case in question, we determined that the legislator intended that Art. 4A was to be part of those listed in Art. 8 of the Gasoline
Act, supra, since the approval of Act No. 157; this must be interpreted in this way.
[11] To finalize the analysis of the articles of the Gasoline Act that are necessary to consider for the resolution of the case in
question, we must refer to Art. 7 of the aforementioned law, 23 L.P.R.A. sec. 1107. This article provides the following:

  Sec. 1107. Obligation of the retailer

  No individual or legal entity operating a retail service station may knowingly request or induce the concession, or reduction in
  prices or the rental of equipment and signage, in violation of sections 1104 and 1105 of this title. (Emphasis added.)


As it clearly arises from its text—including from the title—this article is intended only for the retail seller of fuel, prohibiting it
from knowingly inducing or requesting a *923 producer or distributor-wholesaler (among others) to grant or reduce prices or the
rental of equipment and signage, in violation of Arts. 4 and 5 of the Gasoline Act, supra. In other words, the object of prohibition
is that retailer who intends to request or induce a producer or distributor to provide different prices on gasoline or special fuels,



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other than those provided to other retailers, in violation of Art. 4 of the Gasoline Act, supra. Likewise, the article is intended only
for the retailer who requests or induces the producer or distributor-wholesaler (among others) to provide it with a different rental
cost for equipment and signage than that provided to other retailers, in violation of Art. 5 of the Gasoline Act, supra.
B. Antitrust Act
[12] Antitrust laws, as well as those that seek to establish fair competition and that establish restrictions on trade, constitute
statutes that require extreme care both in their legislation and in their legal interpretation. The objective that inspires this type of
statute is based on pressing interests and, as such, indispensable for the economy of the jurisdiction in which they are applied.



Thus, in Colón Cabrera v. Caribbean Petroleum, 33 we expressed in relation to our Antitrust Act that, “considering that it is a
matter that affects the foundation of our democratic society, we understand that the purposes underlying said legislation are of the
highest hierarchy and constitute an urgent interest of the State.”
33     170 D.P.R. 582, 595 (2007).
The main purpose of this type of statute lies in the fundamental economic principle that provides for the preservation of freedom
of competition and the hindrance of *924 any practice that harms the development of the different markets. Therefore, such
statutes aim to eradicate abusive, unfair and monopolistic acts that tend to limit commercial activity, thus favoring free and open
competition in the markets. 34
34     J. von Kalinowski, Antitrust Laws and Trade Regulation, Sec. 1.02, Second ed. (2004).
[13] In Puerto Rico, the Antitrust Act was drafted based on two federal statutes: the Sherman 35 Act and the Clayton Act. 36 In
fact, this is also the pattern in most states of the Union that also have statutes that in some manner regulate competition,
monopolies, and trade restrictions, and that contain provisions comparable to those of federal antitrust laws.

35     15 U.S.C.A. seq. 1 et seq.
36     15 U.S.C.A. seq. 12 et seq.; P.R. Fuels, Inc. v. Empire Gas Co., Inc., 149 D.P.R. 691, 706–707 (1999).



Our Antitrust Act was enacted “to ensure for the Public in general, and small merchants in particular, the benefits of free
competition.” 37 As we pointed out in Colón Cabrera v. Caribbean Petroleum, supra, p. 594, the purpose of the Antitrust Act is to
37     G.G. & Supp. Corp. v. S. & F. Systs., Inc., 153 D.P.R. 861, 869 (2001).
  ... avoid “collusion between businesses to dominate the market, [the] hoarding of raw materials, improper increases in prices
  resulting from a monopolistic position, discriminatory practices in customer relations [and the] extreme concentration of
  economic activity and wealth in some large consortia of companies.” (Square brackets in original.)

However, with regard to the dispute in question, it is necessary to consider, in particular, Articles 3(a) and 12(a) of the Antitrust
Act. *925

                                                   C. Art. 3(a) of the Antitrust Act
[14] Where relevant, Art. 3(a) of the Antitrust Act 38 provides that “unfair methods of competition, as well as unfair or
deceptive practices or acts in business or trade” shall be illegal. (Emphasis added.) Likewise, subsection (c) of this article
establishes the following:

38     10 L.P.R.A. sec. 259(a).
  (c) Without prejudice to the power to use the means authorized by sec. 269 of this title [injunctions], the Antitrust Affairs
  Office may file [sic] and process administrative complaints with the Department of Consumer Affairs to avoid, prevent and
  stop violations of subsection (a) of this section or the regulations approved in accordance with subsection (b) thereof. 39
39     10 L.P.R.A. sec. 259(c).



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Unlike other provisions of the Antitrust Act, Art. 3 was based on Sec. 5(a)(1) of the law created by the Federal Trade Commission
(15 U.S.C.A. sec. 45), which, like Art. 3(a), declares unfair methods of competition and unfair or deceptive acts or practices
affecting trade to be illegal. 40
40     Session Diary of the Senate of Puerto Rico of May 22, 1964, page 1706.
[15–16] On the other hand, subsection (c) of Art. 3 of the Antitrust Act, 10 L.P.R.A. sec. 259(c) expressly empowers the Antitrust
Affairs Office of the Department of Justice to act as an oversight body before the D.A.Co. regarding any violation by “unfair
methods of competition, as well as unfair or deceptive practices or acts in business or trade." The Antitrust Affairs Office was
created through Art. 16 of the aforementioned statute to implement the purpose that inspires it. 41 The O.A.M. is an entity attached
to the Department *926 of Justice, with powers for the administration of legislation on monopolistic practices, as well as for the
oversight thereof. In addition, it has the power to enact regulations and proscribe actions that constitute unfair methods of
competition and unfair or deceptive practices or acts in business or trade. 42 In short, the O.A.M. is an entity created with a
delegation of broad powers that allows the State to have the precise investigative instruments to fulfill the oversight purpose of
the Antitrust Act. 43 There is no doubt that, according to Art. 3 of the Antitrust Act, supra, the O.A.M. is the government body
with the ministerial duty to supervise and ensure compliance with that law.


41     Art. 16(a) of the Antitrust Act, 23 L.P.R.A. sec. 272(a).
42     10 L.P.R.A. sec. 259(b).
43     Colón Cabrera v. Caribbean Petroleum, supra, p. 594.




[17] However, note that Art. 3 of the Antitrust Act, supra, does not confer adjudicative powers on the O.A.M. That is, the
O.A.M. is not made responsible for adjudicating the dispute, but rather for investigating and presenting the cause of action.
Subsection (c) of Art. 3 of the Antitrust Act, supra, provides not only that it is before D.A.Co that the O.A.M. may file and
process complaints seeking to avoid, prevent and stop violations of subsection (a) of the article itself, but that the rest of the
article establishes an entire procedural and appeal scheme that must be followed before that agency and of which we will mention
some details.


Thus, subsection (c) of Art. 3 of the Antitrust Act, supra, establishes that once the defendant has been notified of the complaint
against it, the D.A.Co. must hold a hearing and resolve the dispute between the parties, granting the most appropriate remedy as
soon as possible. 44 Meanwhile, subsection (d) establishes that the O.A.M. will have a term of thirty days to appeal for review
*927 the decision of the D.A.Co. to the Court of First Instance, if the result goes against it. 45 For its part, subsection (e)
establishes how such an appeal for review will be formalized before the Court of First Instance, of which the defendant and the
D.A.Co. must be notified, which will have a term of fifteen days to request an intervention. 46
44     23 L.P.R.A. sec. 259(c).
45     23 L.P.R.A. sec. 259(d).
46     23 L.P.R.A. sec. 259(e).
Subsection (g) states that the Court of First Instance will review the decision of the D.A.Co. based on the administrative record
that was submitted to the agency and only with respect to the conclusions of law. In addition, the D.A.Co’s factual determinations
“will be conclusive to the court if supported by substantial evidence.” 47
47     23 L.P.R.A. sec. 259(g).
It is evident that by the direct reference to that agency, by the very detailed procedure established before it, and considering the
nature of the causes of action that the antitrust disputes involve —especially in the face of allegations of unfair or deceptive
practices or acts— the legislator decided that it was the D.A.Co. that had the exclusive primary jurisdiction to process and



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adjudicate any complaint filed by the O.A.M.
[18] The exclusive primary jurisdiction of the D.A.Co. in this matter is further confirmed by the Internal Law of the Department
of Consumer Affairs itself, Act No. 5 of April 23, 1973, as amended, 48 which in its Art. 6(x) includes among the powers and
faculties that the Secretary of Consumer Affairs will exercise the “adjudication of the complaints that the Antitrust Affairs Office
of the Department of Justice files [sic] and processes under the provisions of sec. 259 [Art. 3] of *928 Title 10." 49 As we see, in
harmony with Art. 3(c) of the Antitrust Act, subsection (x) of Art. 6 of the Internal Law of the D.A.Co. confers jurisdiction on
that agency to adjudicate the complaints presented to it by the O.A.M. under Art. 3 of the Antitrust Act.

48     3 L.P.R.A. sec. 341e(x).
49     Id.
[19] In conclusion, it is the Department of Justice, through the O.A.M., to which, according to the legislative mandate, is
responsible for directly overseeing the violations of the Antitrust Act, specifically with regard to the violations of the provisions
of unfair trade practices, including any unfair or deceptive practice or act. In addition, we conclude that, in accordance with Art. 3
of the Antitrust Act, supra, the D.A.Co. has the exclusive primary jurisdiction in any antitrust cause of action undertaken by the
O.A.M., whose cause of action is based on any unfair or deceptive practice or act.


                                                  D. Art. 12(a) of the Antitrust Act



[20–21] As we have already established, a violation of the prohibition of operational association established in Art. 4A of the
Gasoline Act, supra, constitutes an “unfair or deceptive practice or act," an action that would be subject to the provisions of our
Antitrust Act, in accordance with Art. 8 of the Gasoline Act, supra. Therefore, in view of the allegation of a violation of the
provision that requires such “operational separation," refer to those articles of the Antitrust Act that concern “unfair or deceptive
practices or acts” in trade, to resolve any questions on this matter. We have already analyzed Art. 3 of the Antitrust Act, supra, so
it now remains to discuss Art. 12 of the aforementioned statute, specifically subsection (a), which provides: *929

  Sec. 268. Suits by injured persons

  (a) Anyone who is injured in their business or property by another person, due to acts, or attempted acts, prohibited or declared
  illegal by the provisions of this chapter, except for those of seq. 259 and 261 of this title, may sue for such acts before the Court
  of First Instance and shall be entitled to recover three (3) times the amount of the damages and losses caused, plus the costs of
  the proceeding and a reasonable amount for attorney’s fees. (Emphasis added.) 50

50     10 L.P.R.A. sec. 268(a).
Art. 12(a) of the Antitrust Act, supra, establishes the so-called “treble damages remedy” for any person who suffers damages as a
result of antitrust acts. The legal action to recover such damages must be initiated within four years, counted from the origin of
the cause of action. 51 However, it is clearly deduced from the text of this subsection (a) of Art. 12 of the Antitrust Act, supra, that,
without any distinction, it exempts from its jurisdictional scope any cause of action that is intended or has to be initiated under
sec. 259 of the Antitrust Act itself; that is, any cause of action for unfair or deceptive practices or acts.
51     10 L.P.R.A. sec. 268(c).

                                                                   III
In the present case, we do not have any doubts regarding the fact that a private person, whether and individual or legal entity,
lacks active standing to file a cause of action against a distributor-wholesaler for alleged violation of Art. 4A of the Gasoline Act,
supra. This clearly arises from each statute concerned. As follows.

Art. 8 of the Gasoline Act, supra, establishes as a “unfair [or] deceptive practice or act” any violation of Art. 4A of the


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aforementioned law and states that such violation *930 "will be subject to the provisions of sec. 257 et seq. of Title 10," that is, to
section 257 "and the following" of the Antitrust Act.

For its part, Art. 3(a) of the Antitrust Act (10 L.P.R.A. sec. 259(a)) declares as illegal “unfair or deceptive practices or acts,"
which is precisely the conduct described and referred to the scope of that law by Art. 8 of the Gasoline Act, supra. Note, then,
that there is clear identification or concordance in the language used in both provisions. So, by the clear language of both
statutes—Gasoline Act and Antitrust Act—, it is evident that the legislator provided, through Art. 8 of the Gasoline Act, supra,
that any violation of Art. 4A of that law was to be included, covered or under the jurisdictional scope of Art. 3 of the Antitrust
Act, supra.
[22] Once we determine that the conduct prohibited by Art. 4A of the Gasoline Act, supra, is under the jurisdictional scope of
Art. 3 of the Antitrust Act (10 L.R.P.A. sec. 259), we face Art. 12(a) of the Antitrust Act, supra, which, in turn, expressly
exempts from its jurisdictional scope any action that is filed under the aforementioned section 259. Therefore, any private person
who suffers damages due to actions prohibited by the Antitrust Act has a treble damages remedy under Art. 12(a) of the Antitrust
Act, supra, except when their cause of action is based on Art. 3 of the Antitrust Act (10 L.P.R.A. sec. 259). 52 This being the case,
obviously, any cause of action under Art. 4A of the Gasoline Act, supra, is excluded from the possibility of the remedy *931 of
treble damage provided by Art. 12(a) of the Antitrust Act, supra.

52     Art. 12(a) also includes within that exception the provisions of 10 L.P.R.A. sec. 261.
[23] In this context, Esso argues that the court of instance erred by not dismissing, under Rule 10.2 of Civil Procedure, the claim
of the appellees based on Art. 4A of the Gasoline Act. 53 And it is correct. Rule 10.2 of Civil Procedure of 1979 (32 L.P.R.A. Ap.
V) establishes privileged defenses that, as such, can be presented at any time in the proceeding. 54 That is, such defenses are not
lost if they are not put forth in the response to the claim or earlier. Among those privileged defenses, Rule 10.2 includes the lack
of jurisdiction over the subject matter. 55

53     See pleading of the petitioning party, p. 15.

54     R. Hernández Colón, Legal Practice of Puerto Rico: civil procedural law, 4th ed., San Juan, Ed. Lexisnexis, 2007, Sec.
       2601, p. 234.
55     The new Rule 10.8(c) of Civil Procedure, 32 L.P.R.A. Ap. V, points out that “whenever it arises, at the direction of the
       parties or otherwise, that the court lacks jurisdiction over the matter, it will dismiss the lawsuit.”

[24] Recently, in Gonzalez v. Mayagüez Resort & Casino, 176 D.P.R. 848, 855 (2009), we reiterated our guideline in the sense
that the absence of jurisdiction on the matter:




            (1) is not capable of being remedied; (2) the parties may not voluntarily confer it on a court of law nor may
            the court give it to them; (3) entails the nullity of the opinions issued; (4) imposes on the courts the
            unavoidable duty to sound out their own jurisdiction; (5) imposes on the appellate courts the duty to
            examine the jurisdiction of the venue from which the appeal comes, and (6) may occur at any stage of the
            procedure, at the request of the parties or by the court ex officio.



[25] On the other hand, a plaintiff party has active standing if it meets the following requirements: “(1) it has suffered clear and
palpable damage; (2) the aforementioned damage is real, immediate and precise, and not abstract or hypothetical; (3) *932 there
is a connection between the damage caused and the cause of action exercised, and (4) the cause of action arises under the
protection of the Constitution or of a law.” (Emphasis added.) 56 Therefore, considering that, as we have established, a private
person cannot file a cause of action for alleged violation of Art. 4A of the Gasoline Act, supra, the appellees lack a cause of


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action that arises under the protection of a law. Thus, the court of instance certainly lacked jurisdiction over the matter to address
such cause of action and should have dismissed it, in accordance with Rule 10.2 of Civil Procedure of 1979, supra.


56     Col. Peritos Elec. v. A.E.E., 150 D.P.R. 327, 331 (2000). See also Hernandez Torres v. Governor, 129 D.P.R. 824, 835
       (1992).
[26] On the other hand, we recently established in SLG Semidey Vázquez v. ASIFAL, 177 D.P.R. 657, 676 (2009), that “if [a]
statute confers jurisdiction on the administrative body, it is an (exclusive) statutory jurisdiction.” 57 In that case, we also
established the following:


57     See also Mr. Fernandez, Derecho administrativo y Ley de Procedimiento Administrativo Uniforme [Administrative Law
       and Uniform Administrative Procedure Law], 2nd ed. rev., Bogotá, Ed. Forum, 2001, Sec. 8.3, p. 437 esc. 1.
  The concept of statutory or exclusive jurisdiction relates to concurrent primary jurisdiction but is different in scope and nature.
  In exclusive jurisdiction, these are situations in which the doctrine of concurrent primary jurisdiction does not apply because
  the law itself clarifies that the latter does not exist. That is, the statute itself establishes an exclusive jurisdiction. In such cases
  we are facing a legislative mandate. Hence, when a statute expressly confers jurisdiction on an administrative body on certain
  types of matters, the courts will not have the authority to determine the case in the first instance. Of course, the exclusive
  primary jurisdiction does not preclude further judicial review of the body’s decision. (Quotes omitted and emphasis in the
  original.) 58
58     SLG Semidey Vázquez v. ASIFAL, 177 D.P.R. 657, 677 (2009).
[27] In observing the express, broad and detailed manner in which the legislator explained himself, we determine *933 that,
with the exception of the remedies authorized by sec. 269 (injunctions), Art. 3 of the Antitrust Act, supra, confers exclusive
primary jurisdiction on the D.A.Co. in the elucidation of any violation of subsection (a) of the article itself, that is, the use of
unfair methods of competition and unfair or deceptive practices or acts in business or trade.


With regard to the determination of the court of instance in the sense that “a private entity such as the plaintiff may file a cause of
action under Article 7 of the Gasoline Control Act," from what we have already explained, we determine that it is clearly
erroneous. Art. 7 of the Gasoline Act, supra, provides for a cause of action against the retailers and not in favor of them. On the
other hand, in addition to the fact that the interpretation of such statute by the primary court was not correct, the truth is that the
appellees never claimed a cause of action under Art. 7 of the Gasoline Act,
rather under Art. 7 of the Antitrust Act, supra. 59
59      See the claim filed by the appellees. Appendix of the Cteriorari Petition, pp. 79–84.
[28] However, in relation to the fact that the cause of action of the appellees can be compensated as a simple or ordinary remedy
for damages and losses under Art. 1802 of the Civil Code, 31 L.P.R.A. sec. 5141, we do not find anything in the law that prevents
it; on the contrary. As the Solicitor General points out in her special appearance, the following arises from the discussion outlined
in the legislative history in relation to the house reports that originated the Antitrust Act:




            With regard to the actions of individuals, for treble damage, these are not authorized with respect to the
            acts prohibited by Article 3, without this being used to affect the right to file an ordinary action for
            damages and losses, if it was appropriate *934 in accordance with the Civil Code or other principles of
            law. (Emphasis added.) 60




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60     Diary of the sessions of the House of Representatives, May 22, 1964, p. 1708.
As we can see, the legislator’s expressions were clear. The Legislative Assembly did not intend that a cause of action such as that
in the case in question would be barred from being compensated as a simple or ordinary remedy for damages and losses under
Art. 1802 of the Civil Code, supra. The opposite is true.

Finally, at the end of their arguments the appellees state that the cause of action in this litigation includes events occurring from
2000 to 2005, a period of time in which Art. 8 of the Gasoline Act, supra, had not been amended to include Art. 4A . Therefore,
the appellees conclude that as such an amendment occurred after the filing of their cause of action, this—the 2005 amendment—
would have a retroactive effect in violation of Art. 3 of our Civil Code. 61 They are incorrect.
61     Art. 3 of the Civil Code establishes the following:
       “The laws will have no retroactive effect, if they do not provide otherwise. Under no circumstances may the retroactive
       effect of a law prejudice the rights acquired under previous legislation.” 31 L.P.R.A. sec. 3.




First, we have already determined, based on the analysis of the amended article and the legislative history of Act No. 157, supra,
that the intention of the Legislative Assembly was that Art. 4A of the Gasoline Act, supra, was to be included under the
jurisdictional scope of Art. 8 of the law itself, from the amendment of 1996. This is how we interpret it.

But, in addition, if we accept the proposal of the appellees in the sense that Art. 8 of the Gasoline Act, supra, did not include in its
jurisdictional scope Art. 4A for the year in which they filed their cause of action, we would still have to resolve that the 2005
amendment would not constitute an amendment with a retroactive effect. By this we mean the following. *935

The inclusion of Art. 4A of the Gasoline Act, supra, to the jurisdictional scope of Art. 8 of the Gasoline Act, supra, by
amendment of 2005, constituted a change in the jurisdictional aspect of this article. That is, since the 2005 amendment, all causes
of action under Art. 4A of the Gasoline Act, supra, fall under the jurisdictional scope of Art. 3 of the Antitrust Act, supra (10
L.P.R.A. sec. 259). As such, the 2005 amendment, in effect, resulted in the fact that private causes of action could no longer be
exercised under this article and that it is the D.A.Co. that was granted exclusive primary jurisdiction.

Since 1905, this Court resolved, interpreting Art. 3 of the Civil Code, supra, that

  ... it is a principle of Spanish law, that the statutes that regulate jurisdiction and procedure are in the public interest, and begin
  to govern retroactively, [or] rather, that they are not considered retroactive in this sense, when they are included under the
  restrictions of this article. (Emphasis added.) 62
62     American Railroad Co. of P.R. v. Hernandez, 8 D.P.R. 516, 520 (1905).
Also in Texas Co. v. Sancho Bonet, Tes., 52 D.P.R. 658, 667(1938), we note that

  ...as stated in 59 Corpus Juris 1173, summarizing the jurisprudence, “... The general rule that the statutes shall only be
  interpreted prospectively and not retrospectively or retroactively, ordinarily is not applicable to statutes affecting the remedy or
  procedure, or, in other words, that general rule is subject to an exception when it is a statute relating to the remedy or
  procedure.” (Emphasis added.)

Thus, considering that the amendment produced by Act No. 74-2005 to Art. 8 of the Gasoline Act, supra, clearly had an effect on
the processes and jurisdiction of the court of instance in causes of action under Art. 4A of the Gasoline Act, supra, such *936
amendment is retroactive in the context that Art. 3 of the Civil Code, supra, prohibits it. 63
63     J.R.T. v. A.E.E., 133 D.P.R. 1, 13, (1993). See also: Texas Co. v. Sancho Bonet, Tes., 52 D.P.R. 658, 667 (1938); R.E.
       Bernier and J.A. Cuevas Segarra, Aprobación e intepretación de las leyes en Puerto Rico [Approval and interpretation of
       the laws in Puerto Rico], 2nd ed., San Juan, Pubs. J.T.S., 1987, Vol. I, Chap. 63.




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                                                                  IV
Due to all of the above, the Resolution issued by the Court of Appeals is revoked and, consequently, the cause of action based on
Art. 4A of the Gasoline Act, supra, before the Court of First Instance, is dismissed, due to lack of jurisdiction.

A judgment in this sense will be issued.

The Presiding Judge Mr. Hernández Denton issued a dissenting opinion, which was joined by the Associate Judge Ms. Rodríguez
Rodríguez.

                                                               --O--

Dissenting opinion issued by the Presiding Judge Mr. Hernández Denton, which was joined by the Associate Judge Ms.
Rodríguez Rodríguez.

Given that neither the Gasoline Producers, Refiners and Distributors-Wholesalers Control Act, Act No. 3 of March 21, 1978, as
amended, 23 L.P.R.A. sec. 1101 et seq. (Gasoline Act), nor the Antitrust and Restriction of Trade Act, Act No. 77 of June 25,
1964, as amended, 10 L.P.R.A. sec. 257 et seq. (Antitrust Act), prevent a market participant from filing an action for damages for
violations of the prohibitions of the aforementioned laws, we dissent from the course followed by a majority of this Court. In
essence, we cannot *937 agree because the outcome of the Court’s Opinion is contrary to the purposes of the antitrust statutes in
dispute.

                                                                  I
The plaintiffs, Aguadilla Paint Center, Inc., CB Gasoline Service Group, and Micada de Puerto Rico, Inc. are retailers or retail
sellers of gasoline imported, distributed, and sold by Esso Standard Oil (Esso), in other words, they are brand retailers. In 2004,
the retailers filed a claim against Esso in which they charged it with incurring in the unlawful practice of operational association
and discrimination of prices and discounts, in contravention of Art. 4A of the Gasoline Act, 23 L.P.R.A. sec. 1104a, and Art. 7 of
the Antitrust Act, 10 L.P.R.A. sec. 263. Likewise, they requested compensation under Art. 1802 of the Civil Code of Puerto Rico,
31 L.P.R.A. sec. 5141. Specifically, the plaintiffs allege that Esso controls the operation of gasoline stations in violation of Art.
4A, because it establishes the cost of the gasoline, the amount of gasoline sold, the frequency with which the gasoline is
purchased, the delivery thereof, the method of payment, the suggested sale price and the rental of the service stations. On the
other hand, the cause of action for violation of Art. 7 of the Antitrust Act is based on the fact that, allegedly, Esso maintains a
price discrimination system in relation to equally situated buyers.

For its part, Esso requested the dismissal alleging, in essence, that these two causes of action can only be filed by the Department
of Justice. Therefore, the plaintiffs lacked active standing.

The Court of First Instance ruled that the motion for dismissal was “inadmissible” and the intermediate appeal venue maintained
that opinion by not issuing the requested order, because it was not in a position to intervene in that procedural stage. *938
Dissatisfied, Esso approached this court. For their part, the plaintiffs, whose arguments were excluded from the Opinion of the
Court, argue that they are aware that there are a series of remedies in the aforementioned statutes that have been entrusted to the
Department of Justice. Specifically, they argue that the preliminary and permanent injunctions recognized in such laws to
paralyze prohibited actions are the exclusive competence of the Secretary of Justice and that is who has active standing to seek
them. However, the plaintiffs do not seek to interfere with those remedies. Their only request is to be allowed to demonstrate that
Esso caused them damages by violating the precepts of both laws by incurring in operational association practices and price
discrimination. Even though they originally requested it in their claim, the plaintiffs argue before us that they do not claim the
treble damages remedy, recognized in the antitrust statutes of the United States and Puerto Rico. Again, they only want to be
allowed to demonstrate how, by engaging in the practices prohibited by the aforementioned statutes, damage was caused to them
that, in some cases, resulted in the bankruptcy of family businesses.

                                                                 II




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                                                      A. Antitrust statutes
The Gasoline Act aims to combat the control of energy product supplies and eliminate the competitive advantages existing in the
gasoline market. Therefore, our Legislative Assembly sought competitive uniformity and implemented prohibitions on
discriminatory and price control practices. A few months later, Act No. 73 of June 23, 1978 (23 L.P.R.A. sec. 1131 et seq.) (Law
73) was approved, for the purpose of declaring the gasoline industry—in all its facets—as having the status of being in the public
interest. *939

In turn, Law 73, supra, implemented a series of prohibitions on lease and sublease agreements, and other types of association
between wholesalers and retailers. In addition, it established that wholesalers are required to submit to the Department of Justice’s
Antitrust Affairs Office (O.A.M.) a copy of all their contracts with retailers. Likewise, Law 73 provided that it recognized the
existence of the Antitrust Act and that nothing in the former would contravene the latter. That is, the Legislative Assembly was
aware of the Antitrust Act and its operation.

In harmony with the above, Art. 4A of the Gasoline Act, 23 L.P.R.A. sec. 1104a, provides that




            no... distributor-wholesaler may, by agreement... directly operate a gasoline retail service station in a
            manner that prevents its complete operational separation. No... distributor-wholesaler may, by agreement
            ... directly impose, require, fix or limit the profit margin and/or retail price of gasoline... at the retail
            service station.



Likewise, Art. 8 of the Gasoline Act, 23 L.P.R.A. sec. 1108, provides that “any violation of sec. 1102, 1102a, 1104, 1104a, 1105
and 1105a, of this title shall constitute an unfair or deceptive practice or act and shall be subject to the provisions of sec. 257 et
seq., of Title 10.” (Emphasis added.) The latter on sec. 257 et seq. of Title 10 refers to the Antitrust Act.

On the other hand, the Antitrust Affairs Office of the Department of Justice has a series of remedies and powers to monitor
compliance with the Antitrust Act. It should be noted that all sections of that law referred to by the Opinion of this Court provide
that the O.A.M. “may” perform certain acts. *940

On the other hand, Art. 7 of the Antitrust Act provides, where relevant, that:



            (a) It shall be illegal for any person, directly or indirectly, to discriminate in price between different buyers
            of commercial things of the same grade and quality, when those things are sold for use, consumption or
            resale in Puerto Rico, and where the effect of such discrimination may be to substantially reduce
            competition or tend to create a monopoly on any line of commerce in Puerto Rico or affect, destroy or
            prevent competition with any person who has granted or knowingly received the benefit of such
            discrimination, or any customer of one of these. 10 L.P.R.A. sec. 263.



Finally, Art. 12 of the Antitrust Act provides:



            (a) Any person who is injured in their business or property by another person, due to acts, or attempted
            acts, prohibited or declared illegal by the provisions of this chapter, except for those of Sections 259 and
            261 of this title, may sue because of such acts before the Court of First Instance and shall be entitled to



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            recover three (3) times the amount of the damages and losses experienced, plus the costs of the proceeding
            and a reasonable amount for attorney’s fees. (Emphasis added.) 10 L.P.R.A. sec. 268.


As this last article excludes the actions under 10 L.P.R.A. sec. 259, today this Venue concludes that not just any person may file
that action, rather the O.A.M. will be the only body entitled in accordance with that provision of the Antitrust Act. Therefore, it
orders the dismissal of the causes of action under the Gasoline Act and the Antitrust Act, although it allows the case to continue
with regard to the allegations of damages according to Art. 1802 of the Civil Code, supra.

As we will see later, that analysis is contrary to what is expressed in Pressure Vessels P.R. v. Empire Gas P.R., 137 D.P.R. 497
(1994). There, we established the origin and encompassing purposes of Art. 2 of the Antitrust Act, *941 10 L.P.R.A. sec. 258. It
seeks to avoid any act, contract or conspiracy to unreasonably restrain business or trade in Puerto Rico. To this end, our
Legislative Assembly adopted the same text as Sec. 1 of the Sherman Act, 15 U.S.C.A. sec. 1. See: Pressure Vessels, supra;
Northern Pac. R. Co. v. United States, 356 U.S. 1, 4 (1958).

In addition, we established that both the text of our article and federal doctrine agree that there are three requirements that must be
established to demonstrate a violation of this provision: (1) there must be a contract, combination or conspiracy between two or
more entities, (2) which unreasonably restricts business or trade (3) in Puerto Rico. Pressure Vessels P.R. v. Empire Gas P.R.,
supra, p. 509. Finally, in the aforementioned case, we resolved that a plaintiff may bring evidence to demonstrate the
unreasonable nature of certain contracts based on their substantially adverse effect on free competition, this as a vehicle to prove
that, “as a result of the violation of the law, the plaintiff has suffered damage." Id., p. 520.

                                                  B. Grant of regulatory power
On June 23, 1978, the Legislative Assembly passed two laws that concern us in relation to the current dispute. The first is Act No.
72, which had the purpose of adding to Art. 3 of the Antitrust Act, supra, a provision “in order to authorize the Antitrust Affairs
Office to file and process complaints for violations of this article in the Department of Consumer Affairs," “to authorize said
Department to resolve said complaints and impose the penalties provided herein” and “to establish the procedural process for the
judicial review of said complaints." See Act No. 72 of June 23, 1978 (1978 Puerto Rico Laws 256–257). In addition, that law
clearly establishes that what was desired was “to provide an additional forum to *942 the existing ones where unfair acts or
methods in business and trade can be reviewed." (Emphasis added.) Id., page 257.

In turn, the second approved law, Act No. 73, was established with the purpose of “authorizing the Departments of Justice, Trade
and Consumer Affairs, the Planning Board, the Administration of Regulations and Permits, and the Public Service Commission to
adopt and implement the regulations necessary to put into effect the purposes and objectives of this law.” 1978 Laws of Puerto
Rico 259. The Statement of Reasons of this law provides that “government intervention in its exercise of the State’s Reasoning
Power is necessary to avoid dislocation in the integrity, functionality and competition that must prevail in the gasoline market in
Puerto Rico, an industry vital to the best interests of the citizens and the economic dynamics of the country.” Id., page 260. Later,
that same law prescribes in Art. 5 that “nothing herein provided or enacted by regulation or otherwise, in accordance with the
provisions of this law, shall be interpreted as creating an exemption or conferring immunity as to the applicability of the
provisions of Act No. 77 of June 25, 1964, as amended.” Id., page 264.

This being the case, the Legislative Assembly wanted to add an administrative remedy with the purpose of adding tools to the
antitrust fight. Nonetheless, nothing herein provided on the administrative powers and procedure was intended to eliminate the
remedies recognized by the Antitrust Act, as well provided for in Art. 5 of Act No. 73, supra.

That legislative action is entirely consistent with the 1970 amendment to the Antitrust Act. By means of Act No. 67 of May 30,
1970, an amendment was made to Art. 3 of the Antitrust Act, supra, which provides that “without [text cut-off] *943 authorized
in Article 13 [which deals with the remedy of injunction], the Antitrust Affairs Office, by means of rules and regulations enacted
... may proscribe specific acts or practices..." (Scholiums omitted.) Act No. 67 of May 30, 1970 (1970 Puerto Rico Laws 185).




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Therefore, Art. 3 of the Antitrust Act, supra, as amended, simply recognizes the administrative power to regulate unlawful
practices and provides a venue before the Department of Consumer Affairs to examine violations of the statutes discussed herein.

                                                               III
On the basis of the foregoing, we disagree with the result of the majority opinion. We consider that nothing in the statutes we
have discussed prevents the plaintiffs’ active standing and that, despite the fact that, according to Art. 12 of the Antitrust Act,
supra, Art. 3 is excluded, the plaintiffs’ action in no way contravenes the legislative delegation of power to regulate, which is
granted in that Art. 3. In summary, the claimants should be allowed to prove a case of damages for violations of the specific
provisions of the statutes discussed herein. As follows.

The Gasoline Act was adopted following the passage of the Antitrust Act. Likewise, the former expresses that the Legislative
Assembly was aware of the provisions of the latter, at the time of approving it. The Gasoline Act states in its Art. 8 that any
violation of several of its articles, including Art. 4A, “shall constitute an unfair [or] deceptive practice or act and shall be subject
to the provisions of sec. 257 et seq. of Title 10.” 23 L.P.R.A. sec. 1108.

When we examine sec. 257 et seq. of Title 10, that is, the Antitrust Act, we find that the Civil Code of Puerto Rico, supra, asks
us: what ale [text cut-off] Art. *944 12 recognizes a cause of action to “any person who is harmed in their businesses or properties
by another person, by reason of acts, or attempted acts, prohibited or declared illegal by the provisions of this chapter, except
those of sections 259 and 261..." 10 L.P.R.A. sec. 268.

In harmony with the legislative purposes of our statutes and the federal statutes on which local legislation is based, that cause of
action is entirely independent of the legislative power to regulate that was conferred on the administrative agencies by Art. 3 of
the Antitrust Act, supra.

This is important because, according to the Court’s Opinion, the practices that violate Art. 8 of the Gasoline Act, supra, would
only be subject to action in accordance with the aforementioned Art. 3 of the Antitrust Act, which provides that “[t]he unfair
methods of competition, as well as unfair or deceptive practices or acts in business or trade, are hereby declared illegal.” 10
L.P.R.A. sec. 259. That is, because Art. 8 of the Gasoline Act declares “unfair and deceptive acts” to be prohibited in said law and
that, as Art. 3 of the Antitrust Act is the one that prohibits “unfair and deceptive acts," and this, in turn, is excluded from Art. 12
of the Antitrust Act that recognizes the treble damages action, then the plaintiffs do not have that cause of action available for
violations of the Gasoline Act.

That textual interpretation—which the petitioner proposes and which this Court fully adopts—is entirely contrary to the purposes
of both laws. In addition, the items claimed by the plaintiffs should not be construed as the only items of those laws that allow an
action for damages. While that interpretation made by the Opinion of this Court allows the plaintiffs to continue with their cause
of action in damages in accordance with Art. 1802 of the Code *945 [text cut-off] -gations could be filed by the plaintiffs to
demonstrate that it was the prohibited practices of the defendant that caused the damages they seek to indemnify, if the causes of
action under the Antitrust Act and the Gasoline Act have been dismissed?

We believe that a different interpretation could have been reached. Even more so in light of the fact that the Court’s own Opinion
recognizes the direct origin of our antitrust statutes from their federal analogs.

In the United States, private antitrust actions play a critical role in the antitrust regime. Antitrust Laws and Trade Regulation,
Chap. 160, Sec. 160.01, page 160-2 (Mathew Reader). “In enacting the antitrust laws, the US Congress was convinced that
‘private antitrust litigation is one of the surest weapons for effective antitrust enforcement’ and that private suits are an
important element of the Nation's antitrust enforcement' scheme .... The Supreme Court has labeled ‘the private action as a vital
means of enforcing the antitrust policy of the United States' and as an ‘important weapon of antitrust enforcement.’ ” (Emphasis
added and scholiums omitted.) Id.

Therefore, our interpretation is that the alleged unlawful action of the respondents could be prohibited by the Antitrust Act and
the plaintiffs thus could prove it in accordance with our opinion in Pressure Vessels P.R. v. Empire Gas P.R., supra, which



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essentially allows a market participant to claim damages for a prohibited act under the antitrust statute.

In fact, under federal law, the treble damages remedy is available in Sec. 4 of the Clayton Act. The text of that section is
extremely simple and simply recognizes a cause of action to any person affected by any act prohibited by an antitrust law. 15
U.S.C.A. sec. 15. To obtain that remedy, the plaintiff only has to prove that the damage was caused by an [text cut-off] acCivil
[sic] of Puerto Rico, supra, we can ask ourselves: what allegation [text cut-off] *946 antimonopoly. Antitrust Laws and Trade
Regulation Chap. 160, Sec. 161.02, p. 161-9 (Mathew Bender) (“Thus, in antitrust cases, it is not sufficient simply to demonstrate
an injury, even injury directly caused ‘by the defendant. The injury will not be considered antitrust injury unless it was caused by
reason of a violation of the antitrust laws' ”). This demonstrates that Congress wanted to allow market participants to file a
damage action for the mere fact of another person having performed an antitrust practice.

Therefore, we would have concluded that the claim filed by the appellants could continue. With its decision, this Court puts on
hold an important element of the antitrust fight, in particular regarding the fuel distribution business in Puerto Rico. It is sufficient
to look back over decades to remember the undesirable practices we experienced in the Country during the oil crisis of the 1970s.
Today, turning our back on the public policy of the United States, the base on which we formulate our statutes related to this
matter, this Court binds the hands and closes the doors of justice to those who claim to have suffered damages that will now be
more difficult to demonstrate.

From the federal regulations described above, it is evident that, since the beginning of the last century, legislation provided that
competitors would play a central role in the fight against the illicit control of markets, by submitting actions to recover the
damage caused by monopolistic actions. We do not see why Puerto Rican gasoline market participants cannot do the same, when
our legislation is also intended to empower those affected with standing to claim remedies for unfair practices.

                                                                   IV
As an epilogue, this Court’s decision is issued *947 at a time when the Antitrust Affairs Office’ ability to advance the legislative
purposes is in question. From the information published by the Department of Justice regarding its budget for the current fiscal
year, it arises that, since 2009, the Office has lost almost forty percent of its staff, it currently has only four attorneys, and, during
the same period, it has had fifteen percent of its budget cut. See Department of Justice, Approved Budget for 2012, available at:
http:// www.pr.gov/presupuesto/aprobado—2012/justicia.htm.

In sum, we would have allowed the litigation to continue on its merits rather than settle it summarily, without allowing the
plaintiff to establish its case. The dismissal of private actions against the illicit control of markets in our jurisdiction is contrary to
both the intent and spirit of the Antitrust Act and the Gasoline Act, and deprives gasoline retailers of a very important instrument
to vindicate their rights in response to unfair wholesaler practices.

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